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                       IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF CONNECTICUT

NICOLE WADE ET AL.,                                  :               No. 3:21-cv-00924-JAM
          Plaintiff,                                 :
                                                     :
               v.                                    :
                                                     :
UNIVERSITY OF CONNECTICUT                            :
BOARD OF TRUSTEES,                                   :
          Defendant.                                 :               AUGUST 2, 2021

                     DEFENDANT’S OPPOSITION TO PLAINTIFF’S
                      MOTION FOR PRELIMINARY INJUNCTION

       The plaintiffs, three students at the University of Connecticut, (“Plaintiffs”), ask this

Court for the extraordinary remedy of a preliminary injunction enjoining a vaccine policy, (“the

Vaccine Policy”), recently enacted by the University of Connecticut Board of Trustees,

(“UConn” or “Board”). That policy is the culmination of an extensive deliberative process and is

one tool among many that UConn has put in place to protect the health and safety of returning

students and ensure that university life can continue in the face of the ever-changing COVID-19

pandemic.

       The Court should respect UConn’s policy decision and deny Plaintiffs’ request for

preliminary relief. As a threshold matter, the Court does not have jurisdiction to consider

Plaintiffs’ claims. UConn has filed a Motion to Dismiss on subject matter jurisdiction grounds

arguing that, because UConn, including the Board of Trustees, is an arm of the state, it is entitled

to Eleventh Amendment immunity; and that Plaintiffs lack standing, as two of the individual

plaintiffs already sought and received an exemption from the vaccine requirement, while the

third plaintiff did not seek an exemption and cannot now be heard to challenge the policy given

that deliberate choice. (See Exhibit A, Daugherty Decl.) However, even if the Court denies that

motion and finds that it has jurisdiction, Plaintiffs’ claims are foreclosed by longstanding and

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binding precedents from both the Supreme Court and Second Circuit, and Plaintiffs have no

likelihood of success on them. Plaintiffs also cannot establish irreparable harm or that the

balancing of the equities support the extraordinary relief they seek. For these reasons the Court

should deny the motion for preliminary injunction.

I.      FACTUAL BACKGROUND

        A. COVID-19

     “The severity of the COVID-19 pandemic should, by now, need no elaboration.” Merrill v.

People First, ___ U.S. __, 208 L.Ed.2d 244, 245 (2020) (Sotomayor, J., dissenting from order

granting stay); see also Bay United Pentecostal Church v. Newsom, __ U.S. __, 140 S. Ct. 1613,

1613 (2020) (Roberts, C.J., concurring) (describing pandemic as “extraordinary health

emergency”). COVID-19 is an infectious disease caused by the novel coronavirus that primarily

spreads through respiratory droplets, viral particles suspended in the air, and touching mucosal

membranes with contaminated hands.1 People in close proximity or direct contact with a carrier

“are at greatest risk of infection.” Id. But there is also evidence that respiratory droplets can

linger in the air for “minutes to hours,” infecting people at greater distances even after the carrier

has left. Id. Moreover, carriers who are not showing symptoms and who therefore do not know

they are infected “can still spread the virus to other people.”2 Initial presentation of an infection

ranges from no symptoms at all (asymptomatic) to severe illness and death; and even after

recovery, various long-term health problems may linger.3          The United States is once again

seeing a rise in COVID-19 cases, hospitalizations, and deaths. As of July 22, 2022, 35% of U.S.

counties are experiencing high levels of community transmission. COVID-19 cases are on the

rise in nearly 90% of U.S. jurisdictions, and we are seeing outbreaks in parts of the country that

1
  Ex. B. How Coronavirus Spreads | CDC
2
  Ex. C. COVID-19: Considerations for Wearing Masks | CDC
3
  Ex. D Symptoms of COVID-19 | CDC

                                                    2
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have low vaccination coverage. These worrisome trends are due, in part, to the rapid spread of

the highly transmissible B.1.617.2 variant, (“Delta Variant”). An increase in the number of cases

will put more strain on healthcare resources and could lead to more hospitalizations and deaths.4

        B. UCONN

    UConn is a public research university, with five campuses providing education to over

32,000 undergraduate and graduate students.5 The flagship campus in Storrs, Connecticut, is

home to over 12,500 residential students. Ex. A, ₱ 4. Most residence halls require students to

share close living quarters with up to forty (40) other students, including sharing restrooms,

kitchens, common areas, and laundry facilities. Id. The main campus in Storrs provides dining

services to 10,329 students. Id. Students eating in dining halls eat in common areas unmasked,

sitting close to one another. Id. The CDC has acknowledged that congregate settings, such as

residence halls, have challenges preventing the spread of COVID-19 because the residents often

gather together closely for social, leisure, and recreational activities, shared dining, and/or use of

shared equipment, such as kitchen appliances, laundry facilities, stairwells, and elevators”.6

    The Connecticut General Assembly endowed the Board with the responsibility “to make

rules for the government of the university and … determine the general policies of the

university….” Conn. Gen. Stat. Section 10a-104(a).           The Board also has authority to “establish

policies for the university system and for the individual institutions and campuses under its

jurisdiction….” Id. Pursuant to this authority, the Board has passed policies to ensure that the

university provides a safe and healthy environment for all students.

    C. UConn’s Response to the Pandemic


4
  Ex. E COVID Data Tracker Weekly Review | CDC
5
  Ex. F INS-008-Fact-Sheet-011620-FY20.pdf (uconn.edu)
6
  Ex. G https://www.cdc.gov/coronavirus/2019-ncov/community/shared-congregate-house/guidance-shared-
congregate-housing.html

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        On March 10, 2020, the Governor declared a public health and civil preparedness

emergency to combat the COVID-19 pandemic.7                     Since that time, UConn has taken every

possible measure to keep its community safe during the pandemic. Ex. A, ₱ 6. UConn directed

residential students not to return to campus after March 13, 2020. Id. During the 2020-21

academic year, consistent with guidance from the Governor’s Office, State of Connecticut

Department of Public Health, the Center for Disease Control, and infectious disease specialists at

the UConn Medical Center, UConn implemented a plan to allow the university to continue to

operate on a reduced scale while minimizing the risk to the health and safety of all persons in the

UConn community.          Id.    Without a vaccine available, measures to protect the community

included mandating masks and social distancing, transitioning to online classes, conducting

routine COVID 19 testing, limiting attendance at events, implementing quarantines and contact

tracing protocols, developing waste water testing, setting aside beds for isolation and quarantine on

our residential campuses, providing separate dining arrangements, and assisting students needing

academic accommodation while they are undergoing quarantine or isolation. Id. Even with the

mitigation measures in place, over the course of the 2020-21 academic year, the Storrs campus

treated over 1,700 students as COVID-19 cases and quarantined over 3,000 students.                            Id.

Further, without a vaccine option, UConn operated at only thirty-six percent (36%) of its residential

capacity during the 2020-21 academic year due to the risks of COVID-19. Id. at ₱ 7.

        D.       Vaccines and CDC Guidance

        The CDC has reported that available COVID-19 vaccines are the most effective way to

prevent the incidence and spread of the disease.8              In making this recommendation, the CDC



7
  Ex. H https://portal.ct.gov/-/media/Office-of-the-Governor/News/20200310-declaration-of-civil-preparedness-and-
public-health-emergency.pdf
8
  Ex. I COVID-19 Vaccines Work | CDC

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relies on real world studies that have documented the effectiveness of the vaccine.9            Since late

2020, the CDC has issued guidance, reports and data demonstrating that the vaccines are safe

with a very low risk of side effects.10 As recently as July 27, 2021, it reissued its statement

encouraging vaccines given the rapid rise in the extremely contagious Delta Variant.11              While

The CDC has not ignored reports of adverse side effects and are continuing to monitor and assess

the safety and efficacy of the vaccines, it continues to advise citizens that vaccination is the most

effective way to stay safe as the risks of COVID-19 infection far outweigh any possible risk of

side effects..12

        In the last few months, vaccine mandates have become a tool to defeat the pandemic. In

recent days, the state of California announced vaccine mandates for state workers.13              On July

26, 2021, the U.S. Department of Veterans Affairs issued a mandate that all of its medical

employees receive the vaccine in order to continue working.14 On July 29, 2021, citing the

highly contagious Delta Variant, President Biden announced that federal employees must present

proof of vaccination status or be subject to strict safety measures.

        Currently, each of the vaccines available to persons in the United States have received

Emergency Use Authorization (“EUA”) from the United States Food and Drug Administration

(“FDA”). The EUA is an expedited pathway to approval, one deemed necessary due to the

severity of the pandemic. See 85 Fed. Reg. 7316, 7316-17; 85 Fed. Reg. 18250, 18250-51.

Despite the faster route to approval, products that receive EUA still are required to adhere to


9
 Ex. J CDC Real-World Study Confirms Protective Benefits of mRNA COVID-19 Vaccines | CDC Online
Newsroom | CDC
10
   Ex. K Benefits of Getting a COVID-19 Vaccine | CDC; Ensuring COVID-19 Vaccine Safety in the US | CDC
11
   Ex. L Interim Public Health Recommendations for Fully Vaccinated People | CDC
12
   Ex. M Selected Adverse Events Reported after COVID-19 Vaccination | CDC
13
   Ex. NCalifornia Implements First-in-the-Nation Measures to Encourage State Employees and Health Care
Workers to Get Vaccinated | California Governor; Andrew Cuomo Says New York Will Mandate Vaccines For
State Workers : NPR
14
   Ex. O VA mandates COVID-19 vaccines among its medical employees including VHA facilities staff

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specific safety, efficacy and manufacturing criteria, 21 U.S.C. Section 360bbb-3(e)(1)(A)(ii)(I)-

(III). The Department of Justice (“DOJ”) recently issued guidance to President Biden stating

that the EUA status of Covid-19 vaccines does not prohibit public and private entities from

mandating those vaccines.15

        E.       UConn’s Vaccine Policy

     Beginning in early 2021, as vaccines became available, UConn carefully considered

implementing a vaccine policy that would better protect the health and safety of the community and

allow it to operate at a higher capacity to meet the needs of students. UConn consulted with

infectious disease specialists at UConn Health, medical providers in the Student Health and

Wellness (“SHaW”) Center, and relied on guidance from the CDC regarding the efficacy and

safety of COVID-19 vaccines as it contemplated its options. Given the CDC’s guidance that

vaccination is both safe and effective, UConn determined that a vaccine policy, in combination

with other mitigation measures, would best protect the UConn community and allow it to resume

near normal operations in areas of campus most impacted by COVID-19, including residential

living and in-person learning. Ex. A, ₱ 8.

     On June 4, 2021, UConn approved a policy requiring students to be vaccinated before

returning to campus in August of 2021, (the “Vaccine Policy”). See Exhibit A. The Vaccine Policy

provides that all UConn students who wish to attend any on-campus activity in person must either

submit proof to UConn that they have been fully vaccinated against COVID-19 or apply for and be

granted an exemption. Id. The Vaccine policy does not mandate vaccination of any student

against his or her will. Id. Any student who does not wish to be vaccinated may apply for an




15
 Ex. P Whether Section 564 of the Food, Drug, and Cosmetic Act Prohibits Entities from Requiring the Use of a
Vaccine Subject to an Emergency Use Authorization (justice.gov)

                                                       6
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exemption or choose not to attend UConn in person at this time. Id. As of July 29, 2021, nearly

90% of UConn residential students have reported that they are vaccinated. Ex. A, ₱ 12.

    The Vaccine Policy permits students to apply for either medical or non-medical exemptions.

To request either exemption, students complete the appropriate request form and submit it online

through the SHaW Patient Portal. The policy explains the process for obtaining exemptions and

provides hyperlinks for students to easily access the medical and non-medical exemption request

forms. Ex. A, ₱ 13.

    Requests for medical exemptions are reviewed and approved by medical providers at Shaw. A

signed statement indicating a specific medical contraindication from the student’s medical provider

is required to obtain a medical exemption. Id. at ₱ 14. Non-medical exemption requests are

reviewed by Eleanor Daugherty, Dean of Students and Associate Vice President of Student

Affairs at UConn. In reviewing each student’s non-medical exemption request form, she considers:

(a) whether the student is enrolled; (b) whether the student will be living on-campus in a

residence hall; (c) whether the student genuinely wants or needs an exemption (e.g., an

international student mistakenly believes that because he/she has not yet been vaccinated he/she

must request an exemption—UConn would vaccinate such students upon arrival on campus so no

exemption would be necessary); and (d) the potential impact on the health and safety of the

requesting student’s campus cohort, such as his/her residence hall. Id. at ₱ 15. UConn’s

objective is to accommodate as many requests as possible while balancing the need to protect the

health and safety of the UConn community. Id. at ₱ 16.

    As of July 22, 2021, UConn had received 55 requests for medical exemptions through the

SHaW Patient Portal. Id. at ₱ 17. As of July 23, 2021, Dean Daugherty had received 771 requests

for non-medical exemptions and granted 504. The remainder had not yet been granted or denied.



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    Students who receive exemptions may be required to take additional preventative measures

to mitigate the risks of spreading COVID-19, including, but not limited to: participating in

asymptomatic, surveillance testing; wearing masks in locations where vaccinated students may

not be required to do so; providing re-entry testing before arrival on campus; observing periods

of isolation, quarantine or modified quarantine when there is a confirmed close contact with a

person who has tested positive for COVID-19 or when the student him/herself has tested

positive. Id. at ₱₱ 19-24.

    Students who do not comply with the policy by either failing to report vaccination status or

request an exemption are subject to registration holds, inability to use the Recreation Center, and

are unable to sign up for a residential move-in slot. Id. at ₱ 25. Students who violate this policy

may be referred to UConn’s Office of Community Standards as is consistent with student

violations of any other policy applicable to them. Id. at ₱ 26.

       F.      Plaintiffs’ Exemption Status

    Plaintiff Nicole Wade alleges that she is a student enrolled in the Allied Health Sciences

Department. She has not sought any exemption from the Vaccine Policy, nor has she uploaded

proof of vaccination. Ex. A, ₱₱ 28-29. Plaintiff Amy Disalvatore alleges that she is the parent

of a minor who is an incoming freshman for the fall 2021 semester. On June 15, 2021 Plaintiff

Disalvatore submitted a request for a non-medical exemption for her minor child alleging that

she and her minor child have “fear and apprehension” about the COVID vaccine given the lack

of research on the potential side effects. Plaintiff Disalvatore’s exemption request was granted

on July 23, 2021. Id. at ₱₱ 30-31. On July 3, 2021, Plaintiff Dylan Barkasy submitted a request

for a non-medical exemption citing concerns about potential side-effects, particularly given his




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family’s health history. Plaintiff Barkasy’s exemption request was granted on July 23, 2021. Id.

at ₱ 32.

II.      PROCEDURAL BACKGROUND

       On or about July 6, 2021, Plaintiffs filed a complaint seeking declaratory and injunctive

relief in this court. ECF 1. In Counts I and II of the complaint, Plaintiffs allege that the Vaccine

Policy violated both the procedural and substantive due process protections of the Fourteenth

Amendment. As to the procedural due process claim, Plaintiffs appear to allege that, should they

choose not to be vaccinated, they will lose the right to attend UConn without the procedural

protections to which they are entitled under the Fourteenth Amendment. As to the substantive

due process claim, Plaintiffs appear to allege that the Vaccine Policy deprives them of their right

to refuse medical treatment. In Count III, Plaintiffs first allege that the Vaccine Policy violates

federal law because it denies them the right to informed consent before submitting to a vaccine.

Second, they allege that the Vaccine Policy violates state law because Uconn did not have the

necessary statutory authority to issue the policy. In Count IV, Plaintiffs allege that Uconn

violated 42 U.S.C. Section 1983 by depriving them of their liberty interest and property interests

as set forth in Counts I and II. Along with the complaint, Plaintiffs filed an Emergency Motion

for Preliminary Injunction. ECF 2. In that motion, they allege that there is an immediate need

for injunctive relief because they are at risk of suffering loss of their bodily autonomy, liberty

and due process rights. On July 30, 2021, Uconn filed a motion to dismiss (“Motion to Dismiss”)

the complaint in its entirety.

III.     ARGUMENT

         The Emergency Motion for Preliminary Injunction must be denied for several reasons.

First, as fully set forth in the Motion to Dismiss, ECF 16, the Court lacks subject matter



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jurisdiction over the complaint in its entirety because the state is protected by Eleventh

Amendment immunity and Plaintiffs lack standing to bring any of the claims. As such, the

complaint should be dismissed.

       Second, even if this court were to find that it has subject matter jurisdiction, Plaintiffs

have failed to establish any of the requirements necessary to entitle them to preliminary

injunctive relief. They fail to demonstrate a substantial likelihood of success on the merits of

any of the claims presented. Further, they fail to establish that they will suffer irreparable harm

if the motion is denied. Finally, they fail to establish that the balance of equities tips in their

favor, and that the injunctive relief they seek is in the public interest. For all these reasons, more

fully set forth herein, this court must deny the Emergency Motion for Preliminary Injunction.

       A.      STANDARD FOR A PRELIMINARY INJUNCTION

       Preliminary injunctive relief “is an extraordinary and drastic remedy.” Moore v. Consol.

Edison Co. of N.Y., Inc., 409 F.3d 506, 510 (2d Cir. 2005). As “one of the most drastic tools in

the arsenal of judicial remedies,” Onosamba-Ohindo v. Barr, 2020 WL 5226495, at *21

(W.D.N.Y. Sept. 2, 2020), quoting Hanson Tr. PLC v. ML SCM Acquisition, Inc., 781 F.2d 264,

273 (2d Cir. 1986), it is “never awarded as of right,” Winter v. Natural Resources Defense

Council, Inc., 555 U.S. 7, 24 (2008), or “as a routine matter.” JSG Trading Corp. v. Tray-Wrap,

Inc., 917 F.2d 75, 80 (2d Cir. 1990). Injunctive relief is used only where “the legal rights [of the

plaintiff] at issue are ‘indisputably clear’ and even then, ‘sparingly and only in the most critical

and exigent circumstances.’” S. Bay United Pentecostal Church v. Newsom, 140 S. Ct. 1613,

1613 (2020) (Roberts, C.J. concurring).

       To obtain such relief in the context of this case, it is not enough for Plaintiffs to show

they are likely to succeed on the merits. Because they seek to change the status quo by



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suspending an existing state policy, Plaintiffs must instead show a higher “‘clear’ or ‘substantial’

likelihood of success on the merits—as opposed to just a likelihood of success on the merits . . .

.” Amato v. Elicker, 460 F. Supp. 3d 202, 211 (D. Conn. 2020), quoting N. Am. Soccer League,

LLC v. United States Soccer Fed’n, Inc., 883 F.3d 32, 37 (2d Cir. 2018)). They also must “make

a strong showing of irreparable harm;” establish that the balance of equities tips in their favor,

and that the injunctive relief they seek is in the public interest. Yang v. Kosinski, 960 F.3d 119,

127 (2d Cir. 2020), citing Mastrovincenzo v. City of New York, 435 F.3d 78, 89 (2d Cir. 2006).

Plaintiffs have failed to meet this burden.

B.     PLAINTIFFS HAVE NOT SATISFIED ANY OF THE REQUIREMENTS FOR
       THE ISSUANCE OF A PRELIMINARY INJUNCTION

       1.        Plaintiffs Have Not Presented A Factual Or Evidentiary Record To Support
                 Their Claims

       To obtain the extraordinary remedy of a preliminary injunction, Plaintiffs must, “by a

clear showing, carr[y] the burden of persuasion.” Moore v. Consol. Edison Co. of New York,

Inc., 409 F.3d 506, 510 (2d Cir. 2005), quoting Mazurek v. Armstrong, 520 U.S. 968, 972

(1997)).      That includes the burden to present a solid factual record supported by actual

evidence—whether in the form of affidavit or testimony—that supports their claimed entitlement

to relief. Mere allegations in an unverified complaint are therefore not a sufficient basis upon

which the Court can enjoin a duly enacted state policy like that at issue here. See Amato, 460 F.

Supp. 3d at 214 n.6, citing Societe Comptoir De L’Industrie Cotonniere, Etablissements Boussac

v. Alexander’s Dep't Stores, Inc., 190 F. Supp. 594, 601 (S.D.N.Y. 1961), aff’d, 299 F.2d 33 (2d

Cir. 1962).




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       Plaintiffs have not carried this burden. The complaint is unverified, and they have

submitted no affidavits or other admissible evidence to support their claims. The Court should

deny the motion on that basis alone.

       2.      Plaintiffs Have Not Established A Sufficient Likelihood Of Success On The
               Merits

       Even if the Court is inclined to consider Plaintiffs’ motion despite their failure to present

a factual record to support it, their claims lack merit and are unlikely to succeed for a number of

reasons.

               a.)     The Court Lacks Subject Matter Jurisdiction over this Lawsuit

       As UConn explained in its motion to dismiss, ECF 16, the Court lacks subject matter

jurisdiction over this lawsuit because (1) the Plaintiffs’ claims are barred by the Eleventh

Amendment because they brought them against UConn, specifically the Board of Trustees, an

arm of the state; and (2) none of the three Plaintiffs have standing to challenge UConn’s

vaccination policy—two have obtained non-health exemptions, and one never sought an

exemption. UConn incorporates those arguments as if fully set forth herein.

               b.)     Plaintiffs’ Procedural Due Process Claim Lacks Merit

       Plaintiffs’ have no likelihood of success on their procedural due process claim for several

reasons.

       As an initial matter, Plaintiffs have inadequately briefed this claim. Their analysis is

limited to: (1) a conclusory and abstract citation to Danso v. University of Connecticut, 50 Conn.

Supp. 256 (2007), for the proposition that students have a protected liberty interest in continuing

their education; (2) irrelevant complaints about harms Plaintiffs fear if they are not able to attend

UConn this year; and (3) a conclusory and speculative assertion that “[t]he lack of any

procedure, combined with the complete lack of clarity in the policy itself, demonstrates that

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plaintiffs are likely to succeed on the procedural due process grounds . . . .” Pl. PI Br. at 16.

None of that establishes that the Vaccine Policy actually deprives Plaintiffs of their ability to

continue their education, whether now or in the future and whether at UConn or somewhere else.

And it certainly does not establish or explain how any such deprivation was achieved without

constitutionally adequate process. Because the claim has been inadequately briefed, the Court

should reject it.

        Moreover, contrary to Plaintiffs’ conclusory and unsupported assertions, the Vaccine

Policy does not violate procedural due process, even if Plaintiffs could establish (which they

have not) that it infringes on a protected property interest. As discussed above, UConn put in

place a straightforward and easy to use exemption process whereby students could seek an

exemption before returning to school simply by filling out a short form online. Although the

exemption process is by design and necessity broad and flexible, see Ex. A, ¶¶ 15-16, UConn has

applied it—and will continue to apply it—in a fair and timely manner that respects students

wishes not to be vaccinated to the fullest extent possible while balancing the health and safety of

others on campus. Id., ¶ 16. That is amply demonstrated by the fact that, as of July 23, 2021,

UConn had received 771 requests for non-medical exemptions, and had granted 504 of them.

Id., ¶ 18. UConn has not yet granted or denied the remaining requests—they remain pending.

Id. Importantly, that includes exemption requests from Plaintiffs Disalvatore and Barksay, both

of whom sought and received a non-medical exemption under the procedures provided. Id., ¶¶

30-32. Having used that administrative process to obtain the very same relief they seek in this

case, those plaintiffs cannot be heard to complain that the process they received was somehow

constitutionally inadequate.




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       Nor can Plaintiff Wade make such a claim. She did not even seek an exemption from the

vaccine requirement, id., ¶¶ 28-29, and a procedural due process claim will not lie where the

plaintiff chooses not to invoke the very procedures she claims are inadequate.             See, e.g.,

Nenninger v. Port Jefferson, 509 F. App'x 36, 39 n.2 (2d Cir. 2013) (holding that, “[h]aving

failed to avail himself of [the remedies available to him], Nenninger cannot now be heard

to complain of a denial of procedural due process”); Riverhead Park Corp. v. Cardinale, No. 07-

CV-4133 (ADS)(ARL), 2013 U.S. Dist. LEXIS 45498, at *33 (E.D.N.Y. Mar. 28, 2013)

(holding that “where a plaintiff was free to [invoke the state procedures] but did not, the plaintiff

cannot now be heard to complain of a denial of procedural due process”) (quotation marks

omitted); Grossman v. Schwarz, No. 84 Civ. 3323 (CBM), 1986 U.S. Dist. LEXIS 30812, at *13

(S.D.N.Y. Jan. 6, 1986) (holding that “Plaintiffs cannot complain that due process has been

denied them when they have rejected the state procedure that is available to them”). That is

especially true when, as here, the procedures plainly are adequate, have been successfully used

by hundreds of other students to obtain the same relief that Plaintiffs seek, and could (and almost

certainly would) have afforded Plaintiff Wade that same relief had she sought it.

       Finally, these procedures cannot be regarded as constitutionally inadequate in light of the

extraordinary public health crisis presented by the COVID-19 pandemic. See Francis v. Fiacco,

942 F.3d 126, 142 (2d Cir. 2019) (“[i]n determining what process is due, we recognize that

due process is flexible and calls for such procedural protections as the particular situation

demands”). “[D]eprivation of property to protect the public health and safety is [one] of the

oldest examples of permissible summary action.” Hodel v. Va. Surface Mining & Reclamation

Ass'n, 452 U.S. 264, 300 (1981). Thus, “[d]uring the COVID-19 pandemic, district courts across

the country have denied procedural due process claims relating to state governments' COVID-19



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policies.” Hernandez v. Grisham, No. CIV 20-0942 JB\GBW, 2020 U.S. Dist. LEXIS 238477,

at *159-60 (D.N.M. Dec. 18, 2020) (collecting cases). Because the procedures UConn put in

place would be adequate under normal circumstances, they are certainly adequate during the time

of COVID-19.

                c)      Plaintiffs’ Substantive Due Process Claim Lacks Merit

        Plaintiffs have no likelihood of success on their substantive due process claim, which is

without merit. First, as already determined by the Second Circuit in Phillips, Plaintiffs’ claim is

foreclosed by the Supreme Court’s decision in Jacobson. Second, even if Jacobson does not

control, the Vaccine Policy survives standard Fourteenth Amendment constitutional review.

Because the right to refuse a vaccine has never been recognized as a fundamental right, the

policy is subject only to rational basis review, which is easily satisfied; alternatively, even if

subject to strict scrutiny, it would satisfy that test.

                        i.       Jacobson forecloses the substantive due process claim.

        The Second Circuit has definitively held that substantive due process challenges to

vaccine mandates issued in the face of an epidemic are foreclosed by the Supreme Court's

decision in Jacobson v. Commonwealth of Massachusetts, 197 U.S. 11, 25 S. Ct. 358, 49 L. Ed.

643 (1905). See Phillips v. City of New York, 775 F.3d 538, 542-43 (2d Cir. 2015). In Jacobson,

the plaintiff brought a substantive due process challenge to a Massachusetts law that made it a

crime to refuse to be vaccinated for smallpox alleging that it interfered with his right “to care for

his own body and health in such way as to him seems best…” Jacobson, 197 U.S. at 26.

Rejecting the claim, the Supreme Court held that mandatory vaccination was within the State's

police power and did not violate due process. Jacobson, 197 U.S. at 25-27; see Zucht v. King,

260 U.S. 174, 176, 43 S. Ct. 24, 67 L. Ed. 194, 20 Ohio L. Rep. 452 (1922) ("Jacobson . . .



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settled that it is within the police power of a state to provide for compulsory vaccination.”) The

Court reasoned that "the liberty secured by the Constitution . . . does not import an absolute right

in each person to be, at all times and in all circumstances, wholly freed from restraint."

Jacobson, 197 U.S. at 26. Under Jacobson, courts are authorized to review only whether "a

statute purporting to have been enacted to protect the public health, the public morals, or the

public safety, has no real or substantial relation to those objects, or is, beyond all question, a

plain, palpable invasion of rights secured by the fundamental law."16 Jacobson, 197 U.S. at 28,

31 (citations omitted); see also DiMartile v. Cuomo, 1:20-CV-0859, 478 F. Supp. 3d 372, 2020

U.S. Dist. LEXIS 141384, 2020 WL 4558711, at *8 (N.D.N.Y. Aug. 7, 2020) (discussing the

police power in relation to the COVID-19 pandemic).

       In Phillips, the Second Circuit affirmed that Jacobson was still controlling law in cases

involving substantive due process challenges to a State’s exercise of its police powers in a public



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           The overwhelming majority of courts resolving constitutional challenges to COVID-19-
related measures employ Jacobson. See, e.g., Bill & Ted's Riviera, Inc. v. Cuomo, 1:20-CV-1001
(FJS/TWD), 2020 U.S. Dist. LEXIS 188763, 2020 WL 6043991, at *3-6 (N.D.N.Y. Oct. 13,
2020) (denying injunctive relief aimed at COVID-19 gathering restrictions under Jacobson); Luke's
Catering Serv., LLC v. Cuomo, 20-CV-1086S, 2020 U.S. Dist. LEXIS 165907, 2020 WL 5425008, at
*5-7 (W.D.N.Y. Sept. 10, 2020) (upholding gathering restriction under Jacobson); Martin v. Warren,
20-CV-6538 CJS, 482 F. Supp. 3d 51, 2020 U.S. Dist. LEXIS 154979, 2020 WL 5035612, at *19
(W.D.N.Y. Aug. 26, 2020) (applying Jacobson in the course of denying request to enjoin public-
gathering restriction partially intended to prevent the spread of COVID-19); Page v. Cuomo, 1:20-
CV-732, 478 F. Supp. 3d 355, 2020 U.S. Dist. LEXIS 183769, 2020 WL 4589329, at *8 (N.D.N.Y. Aug.
11, 2020) (applying Jacobson and noting that "courts across the country have nearly uniformly relied
on Jacobson's framework to analyze emergency public health measures put in place to curb the
spread of coronavirus") (collecting cases); McCarthy v. Cuomo, 20-CV-2124 (ARR), 2020 U.S. Dist.
LEXIS 107195, 2020 WL 3286530, at *3 (E.D.N.Y. June 18, 2020) (listing [**23] COVID-19 cases
employing Jacobson standard).
         This includes multiple circuit courts of appeals. See League of Indep. Fitness Facilities &
Trainers, 814 F. App'x at 127-28 (applying Jacobson and finding that "the police power retained by
the states empowers state officials to address pandemics such as COVID-19 largely without
interference from the courts"); Elim Romanian Pentecostal Church v. Pritzker, No. 20-1811, 2020
U.S. App. LEXIS 19049, 2020 WL 2517093, at *1 (7th Cir. May 16, 2020) (per curiam)
(citing Jacobson); In re Rutledge, 956 F.3d 1018, 1028 (8th Cir. 2020) (faulting district court for
failing to apply Jacobson analysis to Governor's COVID-19-related Executive Order); In re Abbott,
954 F.3d at 786 (referring to Jacobson as "the controlling Supreme Court precedent that squarely
governs judicial review of rights-challenges to emergency public health measures").

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health emergency. Phillips, 775 F.3d at 542-43. In that case, the plaintiffs claimed that New

York’s vaccine mandate requiring vaccination as a condition of attendance at public schools

violated the children’s substantive due process rights under the Fourteenth Amendment. The

Court rejected the claim, concluding that it was “foreclosed by” Jacobson. Id., 542; see also id.

(“Plaintiffs’ substantive due process challenge is therefore no more compelling than Jacobson’s

was more than a century ago”); Caviezel v. Great Neck Pub. Schs., 500 F. App'x 16, 19 (2d

Cir. 2012) (summary order) (rejecting substantive due process challenge to vaccination mandate

based on Jacobson).

       Jacobson and Phillips are dispositive. Plaintiffs’ substantive due process challenge to the

Vaccine Policy is materially identical to the challenges rejected in those cases. In fact, as

Phillips recognizes, Plaintiffs’ due process challenge in this case is, if anything, even weaker

than the one rejected in Jacobson because the law upheld in Jacobson fully required vaccination,

whereas the Vaccine Policy merely makes it a condition for attending on-campus activities in

person. See Phillips, 775 F.3d at 542 n.5 (distinguishing between vaccination law upheld in

Jacobson, which required “all persons over age twenty-one be vaccinated for small pox and the

criminal prosecution of the plaintiff for refusing to submit to vaccination,” and New York’s

mandate which “requires only that children who are not otherwise exempted be vaccinated in

order to attend school”) (emphasis in original); Doe v. Zucker, No. 1:20-cv-840 (BKS/CFH),

2021 U.S. Dist. LEXIS 28937, at *69-70 (N.D.N.Y. Feb. 17, 2021) (mandatory vaccination as

condition for attending school does not implicate right to privacy under substantive due process

clause because “the parent may forgo vaccination and homeschool their child”). Based on these

cases alone, Plaintiffs cannot show a likelihood of success on the merits if this claim.




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       Plaintiffs argue that Jacobson is not controlling authority in this case because UConn

exceeded its statutory authority when it enacted the Vaccine Policy. Pl. Br., p. 14, 17. As

UConn explained in its motion to dismiss (Doc. 16-1, pp. 4-5), this claim is foreclosed by

Pennhurst State Sch. & Hosp. v. Halderman, 465 U.S. 89, 106 (1984), which held that claims

against the state based upon state law are barred by the Eleventh Amendment because federal

courts do not have authority to declare the states in violation of their own laws.

       Even if the Court could consider this argument, it fails on its merits. Plaintiffs base their

argument on Conn. Gen. Stat. § 19a-131e. Pl. Br., p. 15.            Section 19a-131e enables the

Governor to authorize the Connecticut Department of Public Health to impose vaccine

requirements on the general population (or segments thereof) during a public health emergency.

Nothing in that statute affects or limits UConn’s authority to govern the conduct of its students

within the confines of its campuses in order to protect their health and safety.

       UConn’s authority over such matters is set forth in Conn. Gen. Stat. § 10a-104(a), which

provides in relevant part that UConn “shall: (1) Make rules for the government of the university

and shall determine the general policies of the university . . . .” The Connecticut Supreme Court

has observed that that statute was “clearly written in the broadest possible terms, evincing an

obvious legislative intent to clothe the board of trustees with sole jurisdiction over the university

in all phases.” Conn. State Emps. Asso. v. Bd. of Trs., 165 Conn. 757, 761 (1974). It is

inconceivable that the broad statutory authority the legislature conveyed to UConn over “general

policies” does not include the authority to require vaccinations to ensure the health and safety of

student communities during an unprecedented pandemic.

       UConn’s authority to issue the mandate is no different than the Massachusetts’s

legislature’s authority in Jacobson. As such, nothing about the fact that it was UConn, rather



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than the Governor or the Department of Public Health, that enacted the Vaccine Policy allows

this Court to ignore Jacobson.

       Next, Plaintiffs argue that Jacobson is not applicable here because, unlike in Jacobson,

the science here does not support UConn’s view about the safety and efficacy of the COVID-19

vaccines. Plaintiffs make a number of allegations in their Complaint that the vaccines are

dangerous and unnecessary. Compl., ¶¶ 52-66. They echo these same arguments in their brief.

Pl. Br., pp. 9-13. Whatever “evidence” Plaintiffs attempt to produce to bolster these claims, it

could not alter the results here. This Court cannot second-guess UConn’s policy judgments

about how best to protect the health and safety of its students during a pandemic where, as in this

case, those judgments are fully consistent with prevailing scientific recommendations, as

reflected in CDC guidance.

       Jacobson is instructive here. As support for his claim that Massachusetts’ law violated

his substantive due process rights, the defendant sought to present expert testimony showing that

the smallpox vaccines were ineffective and harmful. Jacobson, 197 U.S. at 23-24. The Supreme

Court held that this proposed evidence had no bearing:

               [The defendant’s evidence] seem[s] to have had no purpose except
               to state the general theory of those of the medical profession who
               attach little or no value to vaccination as a means of preventing the
               spread of smallpox or who think that vaccination causes other
               diseases of the body. . . . We must assume that when the statute in
               question was passed, the legislature of Massachusetts was not
               unaware of these opposing theories, and was compelled, of
               necessity, to choose between them. . . . It is no part of the function
               of a court or a jury to determine which one of two modes was
               likely to be the most effective for the protection of the public
               against disease. That was for the legislative department to
               determine in the light of all the information it had or could obtain. .
               . . The state legislature proceeded upon the theory which
               recognized vaccination as at least an effective if not the best
               known way in which to meet and suppress the evils of a smallpox
               epidemic that imperiled an entire population. Upon what sound

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              principles as to the relations existing between the different
              departments of government can the court review this action of the
              legislature?

Id., 30-31 (emphasis added).

       Thus, the Second Circuit held in Phillips that merely presenting evidence of a contrarian

view about the merits of a chosen method of disease control does not permit the courts to second

guess that method. “Plaintiffs argue that a growing body of scientific evidence demonstrates that

vaccines cause more harm to society than good, but as Jacobson makes clear, that is a

determination for the legislature, not the individual objectors.” Phillips, 775 F.3d at 542; see

also In re Abbott, 954 F.3d 772, 784-85 (5th Cir. 2020) (“Jacobson disclaimed any judicial

power to second-guess the state's policy choices in crafting emergency public health measures”

or “the wisdom or efficacy of the measures”); Marshall v. United States, 414 U.S. 417, 427

(1974) (noting that “medical uncertainties afford little basis for judicial responses,” and that

when officials “undertake[] to act in areas fraught with medical and scientific uncertainties,”

their latitude “must be especially broad”); Collins v. Texas, 223 U.S. 288, 297-298 (1912)

(declaring “right of the state to adopt a policy even upon medical matters concerning which there

is difference of opinion and dispute"); Bimber's Delwood, Inc. v. James, 496 F. Supp. 3d 760,

773 (W.D.N.Y. 2020) (“[t]his limited review [under Jacobson] does not permit courts to pass

judgment on the ‘wisdom or efficacy’ of the emergency measures implemented”). Plaintiffs’

claim reduces to a mere dispute over the science surrounding the COVID-19 vaccines. And like

the small pox vaccines in Jacobson, the overwhelming consensus is that COVID-19 vaccines are

safe and effective. According to the CDC, the more people who are vaccinated the better; many

millions of people have safely been vaccinated; and vaccination remains the most effective

means of eliminating the pandemic.



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       Furthermore, under Jacobson, the fact that UConn has made a choice about a matter over

which there is scientific agreement entitles that choice to more, not less, deference from the

courts. See S. Bay United Pentecostal Church v. Newsom, 140 S. Ct. 1613, 1613-14 (2020)

(Roberts, C.J., concurring) (“[w]hen [state] officials ‘undertake[] to act in areas fraught with

medical and scientific uncertainties,” their latitude “must be especially broad”); Conn. Citizens

Def. League, Inc. v. Lamont, No. 3:20-cv-646 (JAM), 465 F. Supp. 3d 56, 2020 U.S. Dist.

LEXIS 99872, 2020 WL 3055983, at *11 (D. Conn. June 8, 2020) ("[C]ourts owe great

deference to the protective measures ordered by government officials in response to the COVID-

19 crisis, not simply because the virus has lethal consequences but also because the virus acts in

unknown ways that engender uncertainty about what scope of protective measures are

warranted."). See also S. Bay United Pentecostal Church v. Newsom, No. 20A136, 141 S. Ct.

716, 209 L. Ed. 2d 22, 2021 U.S. LEXIS 758, 2021 WL 406258, at *1 (Feb. 5, 2021) (Roberts,

J., concurring) (Federal courts owe significant deference to politically accountable officials with

the “background, competence, and expertise to assess public health.") This is true even if the

State's choices prove wrong: The possibility that the belief may be wrong, and that science may

yet show it to be wrong, is not conclusive; for the State has the right to take steps to prevent the

spread of contagious diseases.

       And the fact that the policy at issue was enacted by UConn, a public university, rather

than a legislature, makes no difference. In rejecting an identical request to enjoin Indiana

University’s mandatory COVID-19 vaccination policy, the District Court, citing Phillips,

observed: “Overall, the students' arguments amount to disputes over the most reliable science.

But when reasonable minds can differ as to the best course of action—for instance, addressing

symptomatic versus asymptomatic virus spread or any number of issues here—the court doesn't



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intervene so long as the university's process is rational in trying to achieve public health.”

Klassan v. the Trustees of Indiana, 2021 U.S. Dist. LEXIS 133300, at *103.

       Because the Vaccine Policy fully accords with CDC guidance for pandemic control, it

cannot be regarded as irrational, regardless of what “evidence” Plaintiffs produce in support of

their contrarian views about vaccinations. UConn policymakers were not unaware of these anti-

vaccine views when formulating the policy. Thus, considering any such evidence would “invite

the court . . . to go over the whole ground gone over by [policymakers] when [they] enacted the

[law] in question.” Jacobson, 197 U.S. at 36. This “would practically strip the [policymakers]

of their function to care for the public health and the public safety when endangered by

epidemics of disease” and place it in the hands of the courts. Id., 37.

       Having failed to present any sustainable reason why Jacobson does not apply to the facts

of this case, Phillips dictates that Plaintiffs’ substantive due process claim is foreclosed from

review and fails.

                      ii.   Even if Jacobson does not foreclose review, the Vaccine Policy
               survives under either the rational basis or strict scrutiny level of review.

       Should this court decide that Jacobson and Phillips do not foreclose review of Plaintiffs’

substantive due process claim, the Vaccine Policy survives standard constitutional scrutiny under

either the rational basis or strict scrutiny test. Since Jacobson, courts apply a tiered system of

review to substantive due process claims under the Fourteenth Amendment. "[T]he level of

scrutiny" to which a governmental regulation is subject "turns on the nature of the right at

issue." Id. Generally, "[w]here the right infringed is fundamental, strict scrutiny is applied."

Leebaert v. Harrington, 332 F.3d 134, 140 (2d Cir. 2003). To survive review, the "challenged

regulation must be narrowly tailored to promote a compelling Government interest" and "must

use the least restrictive means to achieve its ends." Evergreen Ass'n, Inc. v. City of New York,

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740 F.3d 233, 246 (2d Cir. 2014) (citation omitted). In contrast, "[w]here the claimed right is not

fundamental," rational basis review is applied, and "the governmental regulation need only be

reasonably related to a legitimate state objective." Immediato, 73 F.3d at 461 (citing Reno v.

Flores, 507 U.S. 292, 303-06, 113 S. Ct. 1439, 123 L. Ed. 2d 1 (1993)).

        Because the right to refuse a vaccine during a pandemic is not a fundamental

constitutional right, rational review applies and the Vaccine Policy easily satisfies this test.

Further, even if this court finds that the right to refuse a vaccine is fundamental, subjecting the

policy to strict scrutiny review, it passes that test as well.

                       (a.)   Rational basis is the appropriate standard of review in this
                case because the right to refuse a vaccine is not a fundamental right.

        In order to determine if a liberty interest is “fundamental”, the “analysis must begin with

a careful description of the asserted right, for '[t]he doctrine of judicial self-restraint requires us

to exercise the utmost care whenever we are asked to break new ground in this field.'" Reno v.

Flores, 507 U.S. 292, 302, 113 S. Ct. 1439, 123 L. Ed. 2d 1 (1993) (quoting Collins v. Harker

Heights, 503 U.S. 115, 125, 112 S. Ct. 1061, 117 L. Ed. 2d 261 (1992)). Armed with a careful

description, the court must next determine whether that right is “deeply rooted in this Nation's

history and tradition” and “implicit in the concept of ordered liberty,” such that it can be

considered a “fundamental right.'" Glucksberg, 521 U.S. at 721.

        Relying on Cruzan v. Director, Missouri Dept. of Health, Plaintiffs describe the right at

issue in this case as the right to refuse unwanted medical treatment. Cruzan, 497 U.S. 261, 279,

110 S. Ct. 2841, 111 L. Ed. 2d 224 (1990). Pl. Br. At 17. Certainly, the Supreme Court has

suggested that individuals have such a constitutionally protected liberty interest. In Cruzan, the

Court held that a competent individual had a constitutional right to refuse unwanted lifesaving

hydration and nutrition, Cruzan, 497 U.S. at 279.           In Washington v. Glucksberg, the Court

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recognized that an individual had a liberty interest in refusing unwanted lifesaving medical

treatment, though not a fundamental right to assisted suicide. Glucksberg, 521 U.S. 702, 728,

117 S. Ct. 2258, 138 L. Ed. 772 (1997). No court, however, has held that the right to refuse a

vaccine during a pandemic falls within this right and that it is fundamental.

        The requirement of a “careful description” of the asserted liberty interest is significant

here.    See Glucksberg, 521 U.S. at 720-21.                  See also Chavez, 538 U.S. at 775-

76 (reaffirming Glucksberg's requirement       of        a   careful   description   of the   asserted

fundamental liberty interest); Blouin ex rel. Estate of Pouliot v. Spitzer, 356 F.3d 348, 359-61 (2d

Cir. 2004) (discussing Cruzan and Glucksberg); Jennis v. Rood, 488 F. Supp. 2d 172, 185-87

(N.D.N.Y. 2007) (invoking Glucksberg and Chavez to deny plaintiff's due process claim). In

Glucksberg, the Court warned of the consequence of broadly-defined liberty interests: "By

extending constitutional protection to an asserted right or liberty interest, [the Supreme Court], to

a great extent, place[s] the matter outside the arena of public debate and legislative action." Id. at

720; see also Chavez v. Martinez, 538 U.S. 760, 775, 123 S. Ct. 1994, 155 L. Ed. 2d 984

(2003) ("[W]e have expressed our reluctance to expand the doctrine of substantive due process,

in large part because guideposts for responsible decisionmaking in this unchartered area are

scarce and open-ended."); Giordano v. Conn. Valley Hosp., 2008 U.S. Dist. LEXIS 98338, *35.

With that in mind, then, rather than defining the right at issue in this case as a general interest in

refusing unwanted medical treatment, a more "careful description" of the right at stake is the

right to refuse a vaccine in the midst of a global pandemic.

        The court must next determine whether that right is “deeply rooted in this Nation's

history and tradition” and “implicit in the concept of ordered liberty,” such that it can be

considered a “fundamental right.'" Glucksberg, 521 U.S. at 721. In this case, Plaintiffs have



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failed to point to any law, history or tradition in our country identifying the right to refuse

vaccination during a pandemic as a fundamental right.          In fact, the progeny of Jacobson

establishes that, for over one hundred years, our county has espoused the belief that our states,

pursuant to their police power, may mandate vaccines in order to protect the health and safety of

members of the public from epidemics and contagious disease and that such mandates are subject

only to the deferential review set forth in Jacobson or, at most, a rational basis standard of

review. See, e.g., Prince v. Massachusetts, 321 U.S. 158, 166-67, 64 S. Ct. 438, 88 L. Ed. 645

(1944) (parent "cannot claim freedom from compulsory vaccination for the child more than for

himself on religious grounds" and "[t]he right to practice religion freely does not include liberty

to expose the community or the child to communicable disease or the latter to ill health or

death"); Zucht, 260 U.S. at 176-77; Jacobson, 197 U.S. at 30-31; Phillips v. City of New York,

775 F.3d 538, 542-43 (2d Cir. 2015); Workman v. Mingo Cnty. Bd. of Educ., 419 F. Appx. 348,

355-56 (4th Cir. 2011); W.D. v. Rockland Cnty.,      F. Supp.3d , 2021 U.S. Dist. LEXIS 33515,

74 (S.D.N.Y. Feb. 22, 2021); Doe v. Zucker,     F. Supp.3d    , 2021 U.S. Dist. LEXIS 28937, 111

(N.D.N.Y. Feb. 17, 2021); Connecticut Citizens Defense League, Inc. v. Lamont, 465 F. Supp.3d

56, 72 (D. Conn. 2020); Middleton v. Pan, 2016 U.S. Dist. LEXIS 197627, 20 (C.D. Cal. Dec.

15, 2016); George v. Kankakee Cmty. Coll., 2014 U.S. Dist. LEXIS 161379, 8-9 (C.D. Ill. Oct.

27, 2014), recommendation adopted, 2014 U.S. Dist. LEXIS 160737, 1-2; Boone v. Boozman,

217 F. Supp.2d 938, 954 (E.D. Ark. 2002). Cruzan itself implicitly acknowledged that the right

to refuse a vaccine is not a fundamental one when it affirmed that the court in Jacobson

properly    “balanced    an    individual's   liberty   interest   in   declining   an   unwanted

smallpox vaccine against the State's interest in preventing disease.” Cruzan, 497 U.S. at 278.




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The language implicitly affirms that no fundamental interest was at stake to trigger a higher level

of review.

         In Klaassen, a district court reached the same conclusion. The court found that “[g]iven

over a century's worth of rulings saying there is no greater right to refuse a vaccination than what

the Constitution recognizes as a significant liberty, the court declines the students' invitation to

extend substantive due process to recognize more than what already and historically exists.”

Klaassen v. Trustees of Indiana University, 2021 U. S. Dist. LEXIS 133300 *63.                                      See

also Glucksberg, 521 U.S. at 721; Harper, 494 U.S. at 221-22; Prince, 321 U.S. at 166-

67; Zucht, 260 U.S. at 176-77; Jacobson, 197 U.S. at 30-31.” The court pointed to a significant

difference between the right to refuse lifesaving hydration and nutrition identified in Cruzan and

the right to refuse a vaccine during a pandemic. While the right in Cruzan was “limited to an

individual's choice related to the refusal of lifesaving subsistence or medical treatment—with no

ramifications to the physical health of others”, “[v]accines address a collective enemy, not just an

individual one. Indeed, ‘the elimination of communicable diseases through vaccination [is] one

of the greatest achievements of public health in the 20th century,’ A vaccine is implemented as

a matter of public health, and historically hasn't been constitutionally deterred from state

mandate.” Klassen, at *50-51.

         While the right to refuse a vaccine, even during a pandemic, is a liberty interest protected

by the Fourteenth Amendment, it is not a fundamental right. Therefore, the Vaccine Policy is

subject to rational basis review.17




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   It should be noted that, while the plaintiffs claim that the right infringed is the right to be free from unwanted
medical treatment, Plaintiffs are not being coerced into receiving a vaccine. Arguably, the right at stake is the right
to attend a public university. Infringements on that right are clearly not entitled to strict scrutiny review.


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        Contrary to Plaintiffs’ argument, the Supreme Court’s decision in Roman Catholic

Diocese is entirely consistent with this position. Roman Catholic Diocese involved a Free

Exercise claim under the First Amendment, rather than a substantive due process challenge.

Applying established free exercise jurisprudence, the Court held that the executive orders at issue

were subject to strict scrutiny (which they did not meet) because they were not “neutral” and of

“generally applicability”. Roman Catholic Diocese, 141 S. Ct. at 66. Therefore, strict scrutiny

applied. Id.

        This is no way conflicts with Jacobson or a rational basis standard of review. Indeed, as

Justice Gorsuch explained in this concurring opinion in Roman Catholic Diocese, the two

decisions are easily reconcilable: “Rational basis review is the test this Court normally applies

to Fourteenth Amendment challenges, so long as they do not involve suspect classifications

based    on    race   or     some   other   ground, or   a   claim   of   fundamental    right. Put

differently, Jacobson didn’t seek to depart from normal legal rules during a pandemic, and it

supplies no precedent for doing so. Instead, Jacobson applied what would become the traditional

legal test associated with the right at issue….” Roman Catholic Diocese, 141 S.Ct. at 70

(Gorsuch, J., concurring).

        The District Court in Klaassen agreed.        “That [Roman Catholic Diocese] imposed

heightened scrutiny of the government’s interference with the free exercise of religion – a

fundamental right under the First Amendment – was presciently contemplated a century

beforehand by Jacobson: a court should intervene if a state imposes a regulation that is ‘beyond

all question, a plain, palpable invasion of rights secured by the fundamental law.’ Klaassen at

*45.




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       Because the right to refuse a vaccine is nothing “more than a significant liberty interest

under the Fourteenth Amendment,” id. at *50, it is only entitled to rational basis review.

                       (b.)    The Vaccine Policy survives rational basis review.

       “Legislative acts that do not interfere with fundamental rights or single out suspect

classifications carry with them a strong presumption of constitutionality and must be upheld if

'rationally related to a legitimate state interest.'" City of Cleburne v. Cleburne Living Center, 473

U.S. 432, 440, 105 S. Ct. 3249, 87 L. Ed. 2d 313 (1985). In order to meet this burden, Plaintiffs

must "discredit any conceivable basis which could be advanced to support the challenged

provision, regardless of whether that basis has foundation in the record, . . . or actually

motivated [Defendants]." Beatie, 123 F.3d at 713.

       Here, the Vaccine Policy is reasonably related to a legitimate state objective — curbing

the spread of the COVID-19 virus in the UConn community. The Second Circuit has

acknowledged that "stemming the spread of COVID-19 is unquestionably a compelling

[governmental] interest." Agudath Isr. v. Cuomo, 983 F.3d 620, 633 (2d. Cir. 2020) (citation,

quotation marks, and alteration marks omitted). UConn reasonably believes the Vaccine Policy

best protects the UConn community and allows UConn to resume near normal operations in

areas of campus most impacted by COVID-19, including residential living and in-person

learning. It arrived at this decision after carefully considering available data and guidance from

the CDC regarding the efficacy and safety of the COVID-19 vaccines and consulting with its

own infectious disease specialists and medical providers in the SHaW Center. Ex. A, ¶¶ 8-10.

Making a policy decision based on information and recommendations from the nation’s leading

institution in the area of infectious disease and advice from experts in the field of infectious

disease and medical services for university students is evidence that the Vaccine Policy is



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reasonably related to its ultimate goal of protecting the lives and health of the members of the

UConn community.

            Plaintiffs point to scientific and medical data to argue that the vaccines are not safe and,

therefore, the policy cannot pass rational basis review. Such disputes regarding the scientific

basis for the Vaccine Policy are simply not enough to state a plausible clam that it is not

rationally related to a legitimate government interest. See, e.g., Hopkins Hawley LLC v. Cuomo,

No. 20-CV-10932 (PAC), 2021 U.S. Dist. LEXIS 24580, 2021 WL 465437, at *7 (S.D.N.Y. Feb.

9, 2021) (reasoning plaintiffs averments that COVID-19 policy "went against the grain of

scientific proof" did not satisfy the high bar for rational basis review). Plaintiffs also argue that

the CDC has not recommended that schools “mandate” the vaccine. Pl. Brief at 5-6.                        But the

Vaccine Policy is not inconsistent with CDC recommendations.                           The CDC recommends

institutions of higher learning “can return to full capacity in-person learning, without requiring or

recommending masking or physical distancing for people who are full vaccinated.”18                          The

CDC’s guidance to universities is that “[v]vaccination is the leading prevention strategy to

protect individuals from COVID-19 disease and end the COVID-19 pandemic.” Id.

            Plaintiffs also argue that the fact that the faculty are not required to be vaccinated defeats

a       rational     basis     argument       as    well.         However,        rational-basis review tolerates

overinclusive classifications, underinclusive ones, and other imperfect means-ends fits. Heller v.

Doe, 509 U.S. 312, 319-320, 113 S. Ct. 2637, 125 L. Ed. 2d 257 (1993); Gregory v. Ashcroft,

501 U.S. 452, 473, 111 S. Ct. 2395, 115 L. Ed. 2d 410 (1991); Vance v. Bradley, 440 U.S. 93,

107-09, 99 S. Ct. 939, 59 L. Ed. 2d 171 (1979). Therefore, even if the plaintiffs believe that the

faculty should have been included, the fact that they were not is not sufficient to render the

policy unreasonable. Further, as with every aspect of crisis management during this pandemic, it

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     Ex. Q Considerations for Institutions of Higher Education (IHEs) (cdc.gov)

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is not a foregone conclusion that faculty and staff will not be subject to such a mandate in the

future. Decisions are being made in a constantly changing environment. The fact that the

faculty and staff are not required to be vaccinated under this version of the policy, does not

preclude the possibility that they will be covered by a revised or separate policy down the road.

                             (c.)  Even if this court applies strict scrutiny review, the
               Vaccine Policy meets that test.

       Should the court find that Plaintiffs’ right to refuse a vaccine is a fundamental right

entitled to strict scrutiny, the Vaccine Policy still passes review. Under that test, the Vaccine

Policy is constitutional only if it is "'narrowly tailored' to serve a 'compelling' state

interest." Roman Cath. Diocese, 141 S. Ct. at 67 (quoting Lukumi, 508 U.S. at 546). As the

Supreme Court observed, "[s]temming the spread of COVID-19 is unquestionably a compelling

interest." Id. The question is thus whether the Vaccine Policy is narrowly tailored to address that

public-health concern. It unquestionably is.

       “To meet the ‘narrowly tailored’ requirement, courts ask whether the policy at issue was

‘the least restrictive means of achieving’ the government’s compelling interest.” W.D. v.

Rockland Cty., 2021 U.S. Dist. LEXIS 33515, at *82 (S.D.N.Y. Feb. 22, 2021) (quoting Thomas

v. Review Bd. Of Ind. Employment Sec. Div., 450 U.S. 707, 718 (1981)). UConn determined that

its compelling interest in mitigating the spread of COVID-19, a highly communicable disease,

required a vaccination policy that applies broadly to its student population. In fact, in light of

this compelling interest, UConn would have been justified in excluding from campuses all

unvaccinated students who had not obtained exemptions for health reasons (and perhaps them as

well). Therefore, by providing a robust procedure for obtaining non-health exemptions,

UConn’s policy is drawn even more narrowly that it needs to be to satisfy strict scrutiny. See

Phillips, at 543 (“[b]ecause the State could bar [the plaintiffs’] children from school altogether, a

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fortiori, the State’s more limited exclusion during an outbreak of a vaccine-preventable disease is

clearly constitutional”).Given the high risk presented by the Delta Variant and the effectiveness

of the vaccines, combined with the option to seek an exemption from the requirement, the

Vaccine Policy is narrowly tailored to serve the compelling interest in protecting the UConn

community during a deadly pandemic.

         Additionally, without the Vaccine Policy, UConn would have had to restrict its

operations as it did in the 2020-21 academic year, especially given the Delta Variant. This

would have denied many students the opportunity for in person learning, housing

accommodations, research, and clinical work necessary to complete their educations.             By

implementing the Vaccine Policy, UConn chose the least restrictive means to accomplish the

goal of protecting the health and safety of the community while also allowing the university to

fulfill the mission for which it was created.

         Because the Vaccine Policy would pass either rational basis or strict scrutiny review, the

plaintiffs cannot demonstrate that they are likely to prevail on their substantive due process

claim.

         e)The Informed Consent requirements of 21 U.S.C. § 360bbb-3(e), Do Not Apply To
         The Vaccine Policy, And Even If They Did The Vaccine’s Policy Does Not Require
         Vaccination Without Informed Consent

         Although it is not clear from their Complaint, in their motion for preliminary injunction,

Plaintiffs appear to seek relief on the ground that the Vaccine Policy violates the informed

consent requirement of 21 U.S.C. § 360bbb-3(e). See Pl. PI Br. at 19. Any such claim lacks

merit. On its face § 360bbb-3(e) “confers certain powers and responsibilities to the Secretary of

Health and Human Services in an emergency.” Bridges v. Hous. Methodist Hosp., No. H-21-

1774, 2021 U.S. Dist. LEXIS 110382, at *5-6 (S.D. Tex. June 12, 2021). It does not, however,



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“expand[] []or restrict[] the responsibilities” of educational institutions like UCONN or “confer a

private opportunity to sue the government . . . .” Id. In any event, the Vaccine Policy does not

preclude whoever gives a student a vaccine from informing the student of his or “option to

accept or refuse administration of the product,” and it certainly does not prevent students from

making that ultimate choice. 21 U.S.C. § 360bbb-3(e)(1)(ii)(III). To the contrary, at all times

students remain free to refuse the vaccine if they desire. The fact that doing so may have

consequences for the conditions of their continued education at UConn does not violate the

informed consent requirement of § 360bbb-3(e).

        Plaintiffs also appear to allege that the fact that the vaccines have been approved for

emergency use precludes any entity, including public universities, from mandating them. This

argument lacks merit especially given a recently released DOJ opinion advising President Biden

that the EUA status of the COVID 19 vaccines does not restrict any entity, public or private,

from requiring those vaccines.19 “Section 564(e)(1)(A)(ii)(III) of the Food, Drug, and Cosmetic

Act concerns only the provision of information to potential vaccine recipients and does not

prohibit public or private entities from imposing vaccination requirements for a vaccine that is

subject to an emergency use authorization.” Id. The EUA status of the vaccines does not

prohibit UConn from mandating that students who choose to attend UConn are vaccinated.

        f.)The Vaccine Policy Is Not Unconstitutionally Vague

        Plaintiffs argue that the Vaccine Policy is unconstitutionally vague because it fails to

specify “what a ‘nonmedical’ exemption is, or who qualifies,” or what exactly the sanctions will

be for students who do not comply. Pl. Br., p. 20. The Court should reject this argument for

multiple reasons. First, it has been inadequately briefed. Plaintiffs offer no legal support or


19
  Whether Section 564 of the Food, Drug, and Cosmetic Act Prohibits Entities from Requiring the Use of a Vaccine
Subject to an Emergency Use Authorization (justice.gov) (Exhibit N.)

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analysis in support of their claim, beyond merely quoting the Supreme Court’s abstract

observation in Lanzetta v. New Jersey, 306 U.S. 451, 453 (1939), that “all [must] be informed as

to what the state commands or forbids.” But that case involved a vagueness challenge to a

criminal statute, which are “subjected to stricter vagueness review” than statutes that impose

civil penalties. Advance Pharm., Inc. v. United States, 391 F.3d 377, 396 (2d Cir. 2004). The

Plaintiffs offer no explanation or analysis for why the constitutional vagueness requirements are

even applicable to requirements imposed by a public institution as a condition for enrollment,

much less why those standards have not been met in this case. Accordingly, the Court should

disregard this claim as inadequately briefed.

       In any case, the Vaccine Policy is not unconstitutionally vague. Because it is not a

criminal or quasi-criminal statute, it is “deemed unconstitutionally vague only if it commands

compliance in terms so vague and indefinite as really to be no rule or standard at all.” Id., 396.

The policy states quite clearly what is required: All UConn students “who participate in any on-

campus activities in person for any reason” “are required to be fully vaccinated against COVID-

19,” and “are required to report vaccination compliance to [UConn].” Policy, p. 2. There is no

ambiguity here. To participate in any on-campus activity, every student must submit adequate

proof of vaccination, or obtain a medical or non-medical exemption.

       The fact that the policy does not describe the standard by which UConn determines when

to grant exemptions from the vaccination requirements is irrelevant. Unconstitutional vagueness

comes into play only when the requirements for compliance are insufficiently clear. Any

ambiguity in describing the standard for granting exemptions does not change the fact that the

requirements themselves are abundantly clear and definite. Moreover, any imprecision in this

area is by necessity. “The degree of statutory imprecision that due process will tolerate varies



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with the nature of the enactment and the correlative needs for notice and protection form unequal

enforcement.” Advance Pharm., Inc., 391 F.3d 377 at 396. The Vaccine Policy was designed as

a response to the ever-changing COVID-19 pandemic in an environment (college campuses)

where the risk of an outbreak is high. As a result, the policy is necessarily described in broad

terms, giving discretion to UConn personnel to decide whether to grant non-medical exemptions

based on the student’s specific circumstances and any public health concerns that may

(unpredictably) arise. Thus, any failure to delineate a specific standard for adjudicating non-

medical exemptions does not give rise to a vagueness issue.

                g.)The Board Is Not A Person For Purposes Of 42 U.S.C. § 1983, And That
                Statute Does Not Confer Substantive Rights In Any Event

         Plaintiffs have pled a separate Count alleging violations of 42 U.S.C. § 1983. See

Compl., Count IV. In addition to the grounds for dismissal discussed above, any such claim

lacks merit for the additional reason that the Board is not a person for purposes of Section 1983

and cannot be sued under that statute. Gaby v. Bd. of Trs., 348 F.3d 62, 63 (2d Cir. 2003).

Moreover, because all of the Plaintiffs’ aforementioned claims fail, so too does any Section 1983

claim.    It is well settled that Section 1983 does not create substantive rights but “merely

provide[s] remedies for deprivations of rights established elsewhere.” Oklahoma City v. Tuttle,

471 U.S. 808, 816 (1985).

      3.     Plaintiffs Have Not Established That They Will Be Irreparably Harmed
Absent A Preliminary Injunction

         A showing of irreparable harm “is the single most important prerequisite for the issuance

of injunctive relief.” FEI Hong Kong Co. Ltd. v. GlobalFoundries, Inc., 2020 WL 1444956, at

*2 (S.D.N.Y. Mar. 25, 2020) (“FEI”), citing Faiveley Transp. Malmo AB v. Wabtec Corp., 559

F. 3d 110, 118 (2d Cir. 2009). The moving party must therefore “first demonstrate that such



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injury is likely before the other requirements for the issuance of an injunction will be

considered.’” Rodriguez ex rel. Rodriguez v. DeBuono, 175 F.3d 227, 234 (2d Cir. 1999). “In

the context of a plaintiff's showing of likely irreparable injury, ‘[l]ikelihood sets, of course, a

higher standard than possibility.’” Joshi v. Trustees of Columbia Univ. in City of New York,

2020 WL 5125435, at *4 (S.D.N.Y. Aug. 31, 2020), quoting JSG Trading Corp. v. Tray-Wrap,

Inc., 917 F.2d 75, 79 (2d Cir. 1990). The plaintiff “must demonstrate that absent a preliminary

injunction [he or she] will suffer an injury that is neither remote nor speculative, but actual and

imminent, and one that cannot be remedied if a court waits until the end of trial to resolve the

harm.” Raia v. Pompeo, 2020 WL 1921573, at *3 (E.D.N.Y. Apr. 21, 2020), quoting Faiveley,

559 F.3d at 118. This standard is especially high where the injunction would upend the existing

status quo, as such injunctions “should issue ‘only upon a clear showing that the moving party is

entitled to the relief requested, or where extreme or very serious damage will result from a denial

of preliminary relief.’” Jones v. Wolf, 2020 WL 1643857, at *2 (W.D.N.Y. Apr. 2, 2020),

quoting Tom Doherty, 60 F.3d at 34); see also N. Am. Soccer League, LLC, 883 F.3d at 37. And

that higher standard is “especially appropriate when a preliminary injunction is sought against

government.” D.D. ex rel. V.D. v. New York City Bd. of Educ., 465 F.3d 503, 510 (2d Cir. 2006),

opinion amended on denial of reh’g, 480 F.3d 138 (2d Cir. 2007).

       Here, the only purported irreparable harm that Plaintiffs identify is their claim that “they

will be forced to either take a vaccine that they neither want to, nor under federal and state law

can be mandated to take, or they will be forced to miss out on their education, which could

include financial losses.” Pl. PI. Br. at 20-21. Plaintiffs provide no legal authority or analysis to

demonstrate why those alleged harms are irreparable, and they cannot do so.




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        First, the injuries caused by this purported Hobson’s choice are not real, especially for

Plaintiffs Disalvatore and Barksay. Both of those individuals sought and received exemptions.

Having done so, they do not have to “miss out on their education” at UConn or submit to a

vaccine that they do not want. They are therefore not suffering any injury at all, much less an

injury that is irreparable.20

        Second, to the extent Plaintiff Wade is suffering a cognizable injury because she elected

not to seek an exemption, Plaintiffs have not established that she has or will suffer an injury,

much less one that is irreparable. Indeed, even assuming that Plaintiff Wade’s choice will

preclude her from attending UConn this year, Plaintiffs provide no concrete factual allegations—

much less evidence—to demonstrate whether and what “financial losses” they think Plaintiff

Wade “could” incur as a result. Further, Plaintiff Wade is free to enroll in a different university

or college that does not require vaccines, and Plaintiffs likewise make no showing that Plaintiff

Wade is unable to do that or that doing so will cause her a cognizable legal injury. To the extent

Plaintiffs may seek to avoid that conclusion by arguing that Plaintiff Wade will be injured by any

delay in seeking an education at a different institution, any such harm is not irreparable and can

be adequately compensated through a claim for money damages filed with the Claims

Commissioner.      Phillips v. Marsh, 687 F.2d 620, 622 (2d Cir. 1982); Hodges v. Bd. of

Supervisors of La. State Univ., No. 20-1456, 2020 U.S. Dist. LEXIS 153949, at *7-13 (E.D. La.

Aug. 25, 2020) (collecting cases); see Conn. Gen. Stat. § 4-141 et seq.

               4.       The Equities And Public Interest Do Not Support A Preliminary
        Injunction


20Plaintiffs do not challenge or claim to be harmed by the additional health and safety measures that
Plaintiffs Disalvatore and Barksay will have to comply with after their exemption. But even if they
did, having to comply with those measures also does not constitute an irreparable injury. Klaassen
v. Trs. of Ind. Univ., No. 1:21-CV-238 DRL, 2021 U.S. Dist. LEXIS 133300, at *1116 (N.D. Ind. July
18, 2021)

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       “Whenever a request for a preliminary injunction implicates public interests, a court

should give some consideration to the balance of such interests in deciding whether a plaintiff’s

threatened irreparable injury and probability of success on the merits warrants injunctive relief.”

Brody v. Vill. of Port Chester, 261 F.3d 288, 290 (2d Cir. 2001). “Otherwise a claim that

appears meritorious at a preliminary stage but is ultimately determined to be unsuccessful will

have precipitated court action that might needlessly have injured the public interest.”             Id.

Plaintiff bears the burden to establish that the balance of the equities and the public interest

weigh in favor of the relief he demands. See, e.g., Metro. Taxicab Bd. of Trade v. City of New

York, 615 F.3d 152, 156 (2d Cir. 2010). “Where the government is the opposing party,” these

two factors “merge.” Jones, 2020 WL 1643857, at *13.

       The balance here weighs heavily against granting Plaintiffs’ Motion. Indeed, there are

few—if any—circumstances where the state’s side of the balance would be stronger. “[T]here is

no question that limiting the spread of COVID-19 and protecting at-risk individuals from

exposure to the virus are critically important public policies.” U.S. v. Donziger, 2020 WL

5152162, at *2 (S.D.N.Y. Aug. 31, 2020). The Vaccine Policy is specifically designed and

intended to advance that critical public purpose by “limit[ing] the spread” of the disease. S. Bay,

140 S.Ct. 1613 (Roberts, C.J., concurring in denial of application for injunctive relief). “Our

Constitution principally entrusts ‘[t]he safety and the health of the people’ to the politically

accountable officials of the States ‘to guard and protect.’” Id., quoting Jacobson, 197 U.S. at 38;

see also Belknap v. Leary, 427 F.2d 496, 498-99 (2d Cir. 1970) (vacating a TRO directed to local

officials “as an abuse of discretion,” in part because responsibility “for protecting the people” in

the exercise of the rights at issue “rests in the first instance on” the local officials). “The precise

question of” what restrictions are necessary in a given state “is a dynamic and fact-intensive



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matter subject to reasonable disagreement” and “‘fraught with medical and scientific

uncertainties.’” S. Bay, 140 S.Ct. 1613 (Roberts, C.J., concurring in denial of application for

injunctive relief), quoting Marshall v. United States, 414 U.S. 417, 427 (1974). Where it is not

clear that the Constitution’s “broad limits” have been “exceeded,” policies like that here “should

not be subject to second-guessing by an ‘unelected federal judiciary,’ which lacks the

background, competence, and expertise to assess public health and is not accountable to the

people.” Id., quoting Garcia v. San Antonio Metropolitan Transit Authority, 469 U.S. 528, 545

(1985).

          Importantly, “[t]hat is especially true where, as here, a party seeks emergency relief in an

interlocutory posture, while local officials are actively shaping their response to changing facts

on the ground.” Id. Under those circumstances, the risk that Plaintiffs’ claim will “ultimately

[be] determined to be unsuccessful [but] will have precipitated court action that might needlessly

have injured the public interest” militates strongly against granting preliminary relief. That is

particularly true where a litigant’s claims of harm do not “remotely compare to the injury to the”

state and its people that may come from hindering the state’s “efforts to” respond to this deadly

disease. Brody, 261 F.3d at 290–91 (quotation marks omitted.

          In this case, two of the plaintiffs will suffer no harm. Plaintiffs DiSalvatore and Barkasy

have been granted exemptions. Plaintiff Wade has not availed herself of the opportunity to apply

for an exemption. Further, even without an exemption, no-one is forcing her to receive a

vaccine. She has the option of not attending UConn while this policy in in place. Though she

may have to forego a semester of school or transfer somewhere else, she has options. The lack

of harm to be suffered by the Plaintiffs pales in comparison to the harm to the public should this

court enjoin the Vaccine Policy.



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       Should the Vaccine Policy be enjoined, UConn will be deprived of one of the most

effective tools available to fight the pandemic. And such deprivation would occur at the time

when the campus, no less our country, is possibly facing the worst of this pandemic in the form

of the Delta Variant. To deny UConn the right to enforce the Vaccine Policy, consistent with

CDC guidance, essentially, leaves the UConn community far less protected than it could be.

Furthermore, it cannot be ignored that Plaintiffs "’are not asking to be allowed to make a self-

contained choice to risk only their own health’ in making this decision—their decision

necessarily bears on the health of other students, faculty, and staff.” Klaassen, 2021 U.S. Dist.

LEXIS 133300, * 117Id. On this record, the balance of harms tilts heavily in favor of UConn.

       Furthermore, and as explained herein, the court isn't a policymaker: that role is left to the

States. On multiple occasions, the Supreme Court has "recognized the role of the States as

laboratories for devising solutions to difficult legal problems." Arizona State Legislature v.

Arizona Independent Redistricting Commission, 576 U.S. 787, 817, 135 S. Ct. 2652, 192 L. Ed.

2d 704 (2015) (quoting Oregon v. Ice, 555 U.S. 160, 171, 129 S. Ct. 711, 172 L. Ed. 2d 517

(2009)); United States v. Lopez, 514 U.S. 549, 581, 115 S. Ct. 1624, 131 L. Ed. 2d 626

(1995) (Kennedy, J., concurring) ("States may perform their role as laboratories for

experimentation to devise various solutions where the best solution is far from clear"); New State

Ice Co. v. Liebmann, 285 U.S. 262, 311, 52 S. Ct. 371, 76 L. Ed. 747 (1932) (Brandeis, J.,

dissenting) ("It is one of the happy incidents of the federal system that a single courageous state

may, if its citizens choose, serve as a laboratory; and try novel social and economic experiments

without risk to the rest of the country."). Enabling the state university to work through these

problems    reasonably    fosters   public   health    and    safety   in   areas    of   scientific

uncertainty. See Gonzales, 550 U.S. at 163 (citing Jacobson, 197 U.S. at 30-31) (the law gives



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"wide discretion to pass legislation in areas where there is medical and scientific

uncertainty"); Cassell, 990 F.3d at 549 ("scientific uncertainty surrounding the pandemic further

cautions against enjoining state coronavirus responses unless absolutely necessary"); see

also Cuomo, 141 S. Ct. at 68 ("Members of this Court are not public health experts").

        To be sure, if the students had shown a likelihood that the university was unreasonably

infringing on their fundamental constitutional rights, enjoining that violation might be in the

public interest. See Joelner v. Village of Washington Park, 378 F.3d 613, 620 (7th Cir.

2004) ("upholding constitutional rights serves the public interest") (quoting Newsom v.

Albermarle Cnty. Sch. Bd., 354 F.3d 249, 261 (4th Cir. 2003)); Ind. Fine Wine & Spirits, LLC v.

Cook, 459 F. Supp.3d 1157, 1171 (S.D. Ind. 2020) (same). But this concern doesn't apply here

because the students have such a low likelihood of success.

        In short, the balance of harms and the public interest favor UConn. Plaintiffs and the

public both benefit from ensuring public health and safety. Jones, 2020 WL 1643857, at *13,

citing Grand River Enterprises Six Nations, Ltd. v. Pryor, 425 F.3d 158, 169 (2d Cir. 2005). The

balance of the equities and the public interest weigh heavily against granting this motion, and

Plaintiffs cite no authority to the contrary.

IV.     CONCLUSION

        For all of the foregoing reasons, the Court should deny Plaintiff’s motion for a

preliminary injunction.




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                                                     Respectfully submitted,

                                                     DEFENDANT, UNIVERSITY OF
                                                     CONNECTICUT BOARD OF TRUSTEES


                                                     WILLIAM TONG
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                                CERTIFICATE OF SERVICE

       I hereby certify that on August 2, 2021, a copy of the foregoing was electronically filed.

Notice of this filing will be sent by e-mail to all parties by operation of the Court’s electronic

filing system. Parties may access this filing through the Court’s system.




                                                     /s/ Mary K. Lenehan
                                                     Mary K. Lenehan
                                                     Assistant Attorney General




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                                      EXHIBIT A



                        THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF CONNECTICUT


NICOLE WADE, AMY DISALVATORE,
DYLAN BARKASY                                         CIVIL ACTION NO. 3:21-CV-924(JAM)

 Plaintiffs,

      v.

UNIVERSITY OF CONNECTICUT
BOARD OF TRUSTEES
 Defendant                                            mLY 30, 2021

                      DECLARATION OF ELEANOR DAUGHERTY

I, Eleanor JB Daugherty, EdD, hereby declare as follows:

1. I submit this Declaration in support of Defendant University of Connecticut Board of

    Trustees ("UConn" or "the Board") in Wade v. University ofConnecticutz. No. 3:21-cv-

    00924 (JAM). I have compiled the information in the statements below through personal

    knowledge or on the basis of documents I have reviewed. I also have familiarized myself

    with the allegations in Plaintiffs' Complaint and Motions for Preliminary Injunction in this

    case in order to understand how the relief sought by Plaintiffs will impact the students

    emolled at the UConn. ECF ## 1 and 2.

2. I am the Dean of Students and Associate Vice President of Student Affairs at UConn. I

    have held this position since August 1, 2014. In this role, I am responsible for student

    health and wellbeing, residential life, conduct, and crisis management. Since the COVID-19

    health emergency was announced in March 2020, I have served on UConn's Executive

    Policy Group and specifically advised and developed mitigation and operational plans for

    student life on our campuses.    I have served in this or similar roles over the course of the

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   last 25 years at several universities including the University of Chicago and Columbia

   University.

3. UConn's COVID-19 pandemic planning and policies related to student life, in which I have

   had a leadership role since early 2020, have been recognized in state, regional and national

   media. I believe it is a fair characterization to say UConn has been a leader among higher

   education institutions on how to respond to and adapt to the pandemic in a thoughtful and

   science-based way.

      I.       Overview ofUConn's Response to COVID-19

4. UConn is the state's flagship university. UConn has campuses in Storrs, Stamford, Avery

   Point, Hartford, and Waterbury. The campuses in Storrs and Stamford offer residential

   housing to over 12,500 students. The residence halls house between 15 and 725 students.

   Most residence halls require students to share close living quarters with up to 40 other

   students, including sharing restrooms, kitchens, common areas, and laundry facilities. The

   main campus in Storrs provides dining services to 10,239 students when fully operational.

   Students eating in dining halls eat in common areas unmasked and in close proximity to one

   another. The CDC has acknowledged congregate setting, such as residence halls, as having

   "challenges with social distancing to prevent the spread of COVID-19. Shared housing

   residents often gather together closely for social, leisure, and recreational activities, shared

   dining, and/or use of shared equipment, such as kitchen appliances, laundry facilities,

   stairwells, and elevators". See: https://www.cdc.gov/coronavirns/2019-

   ncov/community/shared-congregate-house/guidance-shared-congregate-housing.html

5. The Governor declared a public health and civil preparedness emergencies to combat the

   COVID-19 pandemic on March 10, 2020. https://portal.ct.gov/-/media/Office-of-the­
                                               -2-
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   Govemor/News/20200310-declaration-of-civil-preparedness-and-public-health­

   emergency.pdf

6. Since March 10, 2020, UConn has engaged in a thorough and proactive approach to keep

   the UConn community safe during the pandemic. UConn directed residential students not to

   return to campus after March 13, 2020. During the 2020-21 academic year, consistent with

   guidance from the Governor's Office, State of Connecticut Department of Public Health, the

   Center for Disease Control, and infectious disease specialists at the UConn Medical Center,

   UConn implemented a plan to allow the educational and research missions of the students

   and faculty to continue while minimizing the risk to the health and safety of all persons in

   the UConn community. Without a vaccine available, measures to protect the community

   included mandating masks and social distancing, transitioning to online classes, conducting

   routine COVID 19 testing, limiting attendance at events, implementing quarantines and

   contact tracing protocols, developing waste water testing, setting aside beds for isolation and

   quarantine on our residential campuses, providing separate dining arrangements, and assisting

   students needing academic accommodation while they are undergoing quarantine or isolation.

   Over the course of the 2020-21 academic year, the Storrs campus treated over 1,700

   students as COVID-19 cases and quarantined over 3,000 students while operating at a

   fraction of its residential capacity.

7. Even with all the mitigation measures in place, without a vaccine option, UConn operated at

   only 36% of its residential capacity during the 2020-21 academic year due to the risks of

   COVID-19.

8. With the approval and availability of vaccines beginning in the Spring of 2021, UConn

   carefully considered implementing a vaccine policy that would better protect the health and
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   safety of the community while also allow it to operate at a higher capacity to meet the needs of

   students. In reaching its decision, UConn consulted with UConn Medical infectious disease

   specialist, medical providers in Student Health and Wellness ("SHaW")� and relied on

   guidance from the CDC and other respected medical institutions reporting the results of

   studies regarding the efficacy of the COVID-19 vaccines. The CDC has stated that

   vaccination against COVID-19 is "effective against COVID-19, including serious outcomes

   of severe disease, hospitalization, and death". Since late 2020, the CDC has issued guidance,

   reports and data demonstrating that the vaccines are safe with a very low risk of side effects.

   Benefits of Getting a COVID-19 Vaccine I CDC; Ensuring COVID-19 Vaccine Safety in the

   US I CDC. Given the efficacy and safety of the vaccines, UConn determined that the

   vaccine policy, in combination with other mitigation measures, would best protect the

   UConn community and allow it to resume near normal operations in areas of campus most

   impacted by COVID-19, including residential living and in-person learning.

9. The recent rise in COVID-19 cases attributable to the Delta variant provides new and

   increasing justification for mandating vaccines for students given that research has shown that

   the vaccine is effective in reducing transmission of this variant. HAN Archive - 00447 I

   Health Alert Network (HAN) (cdc.gov)

10. On June 4, 2021, UConn's Board of Trustees approved a policy requiring students to be

   vaccinated before returning to campus in August, 2021, (the "Policy"). A true and accurate

   copy of the Policy is attached hereto as See Exhibit A. The Policy is also available at

   https://policy.uconn.edu/2021/06/04/covid-19-immunization-record-reguirement-for­

   students/ .

      II.        The Policy and Exemption process
                                               -4-
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11. The Policy provides that all UConn students who attend any on-campus activity must either

   submit proof to UConn that they have been fully vaccinated against COVID-19 or apply for

   and be granted an exemption.

12. As of this date, nearly 90% of UConn residential students have reported that they are

   vaccinated.

13. The Policy permits students to apply for either medical or non-medical exemptions. To request

   either exemption, students complete the appropriate request form and submit it online through

   the SHaW Patient Portal. The Policy explains the process for obtaining exemptions and

   provides hyperlinks for students to easily access the medical and non-medical exemption

   request forms. Any non-medical exemption requests submitted after the deadline are reviewed

   on a case-by-case basis.

14. Requests for medical exemptions are reviewed and approved by medical providers at SHaW.

   A signed statement indicating a specific medical contraindication from the student's medical

   provider is required to obtain a medical exemption.

15. I am responsible for reviewing requests for non-medical exemptions. I review each student's

   exemption request form to determine: (a) whether the student is emolled; (b) whether the

   student will be living on-campus in a residence hall; (c) whether the student genuinely wants

   or needs an exemption ( e.g., an international student mistakenly believes that because he/she

   has not yet been vaccinated he/she must request an exemption-UConn would vaccinate such

   students upon arrival on campus so no exemption would be necessary); and (d) the potential

   impact on the health and safety of the requesting student's campus cohort, such as his/her

   residence hall.



                                               -5-
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16. The goal as I review each request is to accommodate as many requests as possible while

   balancing the need to protect the health and safety of the UConn community.

17. As of July 22, 2021, UConn has received 55 requests for medical exemption through the

   SHaW Patient Portal.

18. As of July 23, 2021, I have received 771 requests for non-medical exemptions. I have granted

   504 of those requests. I have not yet granted or denied the remaining requests. They remain

   pending.

      III.    Students Who Receive Exemptions Will Be Required to Take Additional
              Preventative Measures

19. Students who receive exemptions may be required to take additional preventative measures

   to mitigate the risks of spreading COVID-19.

20. Students who receive exemptions may be subjected to additional asymptomatic, surveillance

   testing, defined as testing for active infection in the absence of symptoms at a yet-to-be

   defined regular testing interval, for example weekly.

21. Students who receive exemptions may be required to wear masks in locations where

   vaccinated students may not be required to do so.

22. Students who receive exemptions will be required to provide re-entry testing. Re-entry

   testing is proof of a COVID-19 test shortly before arrival on campus

23. Students who receive exemptions and who have a confirmed close contact with a person

   who has tested positive for COVID-19 may be required to observe a period of isolation,

   quarantine or modified quarantine.




                                              -6-
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24. All students, both vaccinated and exempt, who test positive or are presumed positive for

   COVID-19 will be required to observe a period of isolation, quarantine or modified

   quarantine.

      IV.     Students Who Do Not Upload Proof of Vaccination or Seek an Exemption

25. Students who fail to report their vaccinations status or request an exemption are subject to

   registration holds, inability to use the Recreation Center, and are unable to sign up for a

   residential move-in slot. See e.g. https://reslife.uconn.edu/wp­

   content/uploads/sites/1534/2021/03/Spring-2021-THSP-revised-3. l l.21.pdf.

26. Students who violate the Policy may be referred to UConn's Office of Community

   Standards as is consistent with student violations of any other policy applicable to them.

      V.      Facts Related to the Plaintiffs

27. I reviewed the complaint filed by Nicole Wade, Amy Disalvatore, and Dylan Barkasy.

      Nicole Wade

28. Nicole Wade alleges that she is a student enrolled in the Allied Health Sciences Department.

29. She has not sought any exemption from the Policy, nor has she uploaded proof of

   vaccination.

      Amy Disalvatore

30. Amy Disalvatore alleges that she is the parent of a minor who is an incoming freshman for

   the fall 2021 semester.

31. Ms. Disalvatore sought a non-medical exemption on June 15, 2021, alleging that she and her

   minor child have "fear and apprehension" about the COVID vaccine, given the lack of

   research on the potential side effects. Ms. Disalvatore's exemption request was granted on



                                                -7-
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    July 23, 2021. True and accurate copies of the request and notification are attached hereto as

    Exhibit B.

      Dylan Barkasy

32. Dylan Barkasy requested a non-medical exemption on July 3, 2021, citing concerns about

    potential side-effects, particularly given his family's health history. Mr. Barkasy's

    exemption request was granted on July## , 2021. True and accurate copies of the request and

    notification are attached hereto as Exhibit C.




     Pursuant to 28 U.S.C. § 1746, I, Eleanor JB Daugherty, state under penalty of perjury that

     the foregoing declaration is true and accurate to the best of my knowledge, information and

     belief.


Executed: July 30, 2021
                                              E)eano'r Daugherty, E{clD
                                              .Associate Vice President and Dean of Students
                                              University of Connecticut




                                                 -8-
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                                      CONNECTICUT NOTARY ACKNOWLEDGEMENT

 State of Connecticut

 County of Hartford                                 ss. Hartford



 On this the 30th day of July, 2021, before me, Diane Malone, the undersigned officer, personally
 appeared Eleanor Daugherty, known to me or satisfactorily proven to the person whose name is
 subscribed to the within instrument and acknowledged that she executed the same for the purposes
 therein contained.



 In witness whereof I hereunto set my hand.




 (Signature of Notary)

 Date Commission Expires:         /i:))3//;J.J
J> w hf_ VCJ(\ ({oJ\ l   �I a_,{() Yl-f
 (Printed Name of Notary)
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                        EXHIBIT A
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UCONN

Policies & Procedures



 COVID-19 Immunization Record Requirement for Students

  Title:                                  COVID-19 Immunization Record Requirement for Students

  Policy Owner:                           Division of Student Affairs

  Applies to:                             All University Students on any UConn Campus

  Campus Applicability:                   All UConn campuses

  Effective Date:                         June 4, 2021

  For More Information, Contact           Student Health and Wellness Services (SHaW)

  Contact Information:                   b.ttP-s://studenthealth.uconn.edu/

  Official Website:                       b.ttP-s://uconn.edu/



 PURPOSE

 To promote the health and safety of the University community and to reduce the risk of transmission of
 COVID-19 among University students, consistent with federal, state and local efforts to minimize outbreaks of
 COVID-19.

 APPLIES TO

 All University students at the Storrs and regional campuses who participate in any on- campus activities in
 person for any reason.

 POLICY STATEMENT

 All UConn students are required to be fully vaccinated against COVID-19. Students are required to report
 vaccination compliance to the University.

 International students shall be considered in compliance with the COVID-19 vaccine requirement if they have
 been vaccinated with a COVID-19 vaccine that has either been authorized for use in the United States by the
 Food and Drug Administration (FDA) or been authorized for use outside of the United States by the World
 Health Organization (WHO). International students must present proof of vaccination in the form of a copy
 of the WHO Certificate of Vaccination (WHO Vaccine Booklet) or documentation to include a statement signed
 by a healthcare provider/organization authorized to administer the vaccination attesting to the dates and
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name of COVID-19 vaccination given. All documentation must be submitted in English or accompanied by a
certified translation at the student's expense. International students who have received COVID-19 vaccines
not authorized by the FDA or WHO will be managed on a case-by-case basis.

Students who receive an exemption from the COVID-19 vaccination requirement or who are not fully
vaccinated prior to the beginning of the Fall 2021 semester will be required to comply with preventative
measures as deemed necessary by the University. Such measures may include, but not be limited to, a
period of modified quarantine, surveillance testing, and mask-wearing.

Exemptions from this policy will be permitted under certain circumstances. To request an exemption, a
student must complete the form found here for medical exemRtions and here for non-medical exemRtions.

The University is authorized to enact rules and/or procedures necessary to effectuate this policy.

ENFORCEMENT

Failure to comply with this policy may result in loss of privileges and/or sanctions.

This policy and any attendant procedures and/or rules may be amended as necessary based on factors such
as the progress of the COVID-19 pandemic and guidance from governmental authorities.

POLICY HISTORY

Policy created: 06/04/2021 (Approved by the Board of Trustees)



This entry was posted in Academic and Student Life, Office of the VP for Student Affairs, Rules, Students.


+- Previous



  Frequently Viewed
  By-Laws of the University of Connecticut

  By-Laws, Rules and Regulations of the University Senate

  Information Security Policy Manual

  Policy Against Discrimination, Harassment and Related Interpersonal Violence




Reportline
The University welcomes and encourages good-faith reporting of compliance concerns and/or seeking advice
regarding compliance issues. Visit https://compliance.uconn.edu/reporting-concerns/reporting-overview/ for
more information.
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                        EXHIBITB
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June 15, 2021

To Whom It May Concern:

On behalf of my son who is still a minor, I am requesting an exemption from the
Covid-19 vaccination currently being mandated for UConn students. -
DiSalvatore is an incoming freshman and at this time I do not wish to vaccinate him
due to apprehension and fear. I am requesting an exemption until more time has
passed and there is more research supporting the need for it and refuting and
dangerous short- or long-term effects from getting it.

He is healthy and in a low-risk population. It is currently allowed under Emergency
Use only, leaving he and I fearful of what negative effects could occur.

I'm asking that our concerns regarding the vaccine be considered and that he will be
granted exemption.

Kindest regards,
Amy DiSalvatore
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From: DOS - Dean of Students
Sent: Friday, July 23, 2021 5:15 PM
To:                                 disalvatore@uconn.edu>
Subject: Non-Medical COVID-19 Vaccination Exemption


Dear- DiSalvatore:


You have been granted a non-medical COVID-19 vaccination exemption.


Individuals who are not fully vaccinated against the SARS-CoV-2 virus are at increased risk of
contracting and transmitting COVID-19. The following preventive measures are required to reduce
this risk:


Residential Students
       •        Pre-arrival testing 3 -5 days prior to arrival on campus (student responsibility)
                  o Upload your test results at myhealth.uconn.edu.
         •       Arrival testing. Information will be provided in a separate communication from
SHAW.
         •       Modified quarantine for 7 days after arrival on campus with repeat testing on day 5-
7
             •   Wearing masks or face coverings in all indoor settings
             •   Surveillance testing weekly. Information will be provided in a separate
                 communication from SHAW.
         •       Medical quarantine after contact with a suspected or confirmed case of COVID-19
         •       Isolation for presumed or confirmed cases of COVID-19


Non-Residential Students
       •        Pre-arrival testing 3-5 days prior to arrival on campus (student responsibility)
         •       Modified quarantine for the first 7 days of your on campus presence with repeat
                 testing recommended on day 5-7
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        •       Wearing masks or face coverings in all indoor settings
        •       Surveillance testing. Information will be provided in a separate communication
               from SHAW.
        •       Medical quarantine after contact with a suspected or confirmed case of COVID-19
        •       Isolation for presumed or confirmed cases of COVID-19

In the case of an outbreak of COVID-19 on any of our campuses, individuals who are not vaccinated
against the SARS-CoV-2 virus may be excluded from the affected campus until the outbreak is
declared over.

These preventive measures are necessary to protect individuals who are unvaccinated and the larger
UConn community.




Eleanor JB Daugherty, Ed.D.
Associate VP for Student Affairs & Dean of Students
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                        EXHIBIT C
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Dylan Barkasy                                                                           University   or Connecticut
                                                                                     Studcnl llcalth and Wellness
                                                                                     I li ldn May Williams Building
                                                                                  234 Olenbrook Road, Unit 40 1 1
                                                                                           Storrs. CT 06269-40 1 1


RE: COYID-19 Vaccine Exemption Request - D y lan Barlrnsy (287 1 490)                                J uly 3 , 202 1


To whom it may concern,
My name is Dylan Barkasy, and 1 will be a sophomore at UConn this upcoming foll semester l am appreciative
and grateful for all the experiences and opportunities UConn has given me. I am asking respectfully for an
exemption from the University of Connecticut's COVID- 1 9 requirement for the 202 1 -2022 school year.
My objections i nclude:
        ! f l were to have a severe reaction/debilitation/death my family or I would have no legal or financial
        recourse against the vaccine manufacturer.
    ·   The vaccine has only been approved for Emergency Use Authorization and hasn' t gorn.: through !he
        rigorous testing and cli nical trials required to receive FDA approval.
    ·   The side effects/risks of the COVID - 1 9 vaccine are still ongoing rmd not ful ly known at this lime.
    -   There have been many cases particularly among young men, of Myocarditis as well as Pericarditis
        which make me very apprehensive due to my medical history which includes:
                 � numerous environmental and contact al lergies
                 -Vocal Cord Dysfunction (\vhich from time to time has affected me pretty dramatical ly, similar
                 to a severe asthma attack)
        1 am also concerned about my family's medical h istory and its relation to the some of the vaccine's
        known side effects. Some o f my family's health h istory includes:
                 -enlarged heart
                 -deep vein thrombosis
I am unwil l i ng to risk my health knowing that some of the side effects (reported by VAERS Vaccine Adverse
Event Reporting System) may inc l ude symptoms/conditions that my family has a history of.
It is for these reasons that I am requesting to be exempt from the University or Connecticut' s COV !D- ! 9
Vaccine Mandate. Thank you for your consideration of my concerns and p lease foe! free to reach out, i f
necessary.
Kindest Regards,


      rfX
1.JrL
Dylan Barkasy �
       Case 3:21-cv-00924-JAM Document 17 Filed 08/02/21 Page 61 of 234




From: DOS - Dean of Students
Sent: Friday, July 23, 2021 5:15 PM
To: Barkasy, Dylan <dylan.barkasy@uconn.edu>
Subject: Non-Medical COVID-19 Vaccination Exemption


Dear Dylan Barkasy:


You have been granted a non-medical COVID-19 vaccination exemption.


Individuals who are not fully vaccinated against the SARS-CoV-2 virus are at increased risk of
contracting and transmitting COVID-19. The following preventive measures are required to reduce
this risk:


Residential Students
         •      Pre-arrival testing 3 -5 days prior to arrival on campus (student responsibility)
                 o    Upload your test results at myhealth.uconn.edu.
         •      Arrival testing. Information will be provided in a separate communication from
SHAW.
         •      Modified quarantine for 7 days after arrival on campus with repeat testing on day 5-
7
         •      Wearing masks or face coverings in all indoor settings
         •      Surveillance testing weekly. Information will be provided in a separate
                communication from SHAW.
         •      Medical quarantine after contact with a suspected or confirmed case of COVID-19
         •      Isolation for presumed or confirmed cases of COVID-19


Non-Residential Students
         •      Pre-arrival testing 3-5 days prior to arrival on campus (student responsibility)
         •      Modified quarantine for the first 7 days of your on campus presence with repeat
                testing recommended on day 5-7
     Case 3:21-cv-00924-JAM Document 17 Filed 08/02/21 Page 62 of 234



        •        Wearing masks or face coverings in all indoor settings
        •        Surveillance testing. Information will be provided in a separate communication
                 from SHAW.
        •        Medical quarantine after contact with a suspected or confirmed case of COVID-19
        •        Isolation for presumed or confirmed cases of COVID-19


In the case of an outbreak of COVID-19 on any of our campuses, individuals who are not vaccinated
against the SARS-CoV-2 virus may be excluded from the affected campus until the outbreak is
declared over.


These preventive measures are necessary to protect individuals who are unvaccinated and the larger
UConn community.




Eleanor J B Daugherty, Ed.D.
Associate VP for Student Affairs & Dean of Students
How Coronavirus Spreads I Case
                          CDC      3:21-cv-00924-JAM Document 17 Filed 08/02/21 Page 63 of 234
                                                      EXHIBIT B




         UPDATE
         Getti ng vacci nated p revents severe i l l ness, hospital izations, and death. U nvaccinated people shou ld
         get vaccinated and conti nue masking u ntil they a re ful ly vaccinated . With the Delta va ria nt, thi s i s more
         u rgent than ever. CDC has u pdated guidance for fu l ly vaccinated people based on new evi dence on
         the Delta variant.




    o Back to COVID- 1 9 Home



     H ow COVI D-19 S p read s
    Updated J u ly 14, 2021

    I.   Languages



    P rint



    COVI D-1 9 spreads when an i nfected person b reathes out d roplets and very sma l l particles that contai n the
    vi rus. These d roplets and particles can be breathed in by other people or land on their eyes, noses, or
    mouth. In some circ u msta nces, they may contam inate su rfaces they touch. People who a re closer than 6
    feet from the infected person a re most l i kely to get i nfected.

    COVI D-19 is spread in three main ways:

         111   B reathing i n a i r when close to an i nfected person who i s exhal i ng small d roplets and particles that
               contai n the virus.
         • H aving these small d roplets and particles that contain vi rus land on the eyes, nose, o r mouth,
               especia l ly through splashes a nd sprays l i ke a coug h or sneeze.
               Touching eyes, nose, or mouth with hands that have the vi rus on them.

https://www.cdc.gov/coronavirus/20 19-ncov/prevent-getting-sick/how-covid-spreads.html[S/2/202 1 I 0:2 1 :29 AM]
How Coronavirus Spreads ICase
                         CDC       3:21-cv-00924-JAM Document 17 Filed 08/02/21 Page 64 of 234

        •


    Protect Yourself and Others
    Anyone i nfected with COVI D-19 can spread it, even if they do NOT have sym ptoms.



    What You Need to Know
        •    If you a re not fu l ly vacci nated and 2 or older, you should wea r a mask i n indoor pu blic p laces.
        • I n a reas with high n u mbers of COVI D-19 cases, consider wearing a mask i n c rowded outdoor settings
            and for activities with close contact with others who a re not fu lly vaccinated .
        • Otherwise, you do not need to wea r a mask i n outdoor setti ngs.

    Learn more a bout what you can do to protect yourself and others and what you can do after you 've been
    fu l ly vaccinated .



    COVID- 1 9 and Animals
    COVI D-1 9 can spread from people to animals in some situations. Pet cats and dogs can someti mes
    become i nfected after close contact with people with C OVI D-19. Lea rn what you should d o if you have
    pets.



    Food and Water

    Food
    There is no evidence to suggest that handling food or consuming food is associated with COVI D-
    19. Fol low    food safety guidelines when hand l i n g and cleaning fresh produce. Do not wash prod uce with
    soap, bleach, sanitizer, alcohol, disi nfectant or any other chemical.



    Drinking Water
    There is also no cu rrent evidence that people can get COVI D-19 by d ri n king water. The COVI D-19 vi rus has
    not been detected in d ri n ki ng water. Conventional water treatment method s that use fi ltration and
    disi nfection, such as those i n most m u nicipal d ri n king water systems, shou ld remove or kill the vi rus that



https://www.cdc.gov/coronavirus/20 1 9-ncov/prevent-getting-sick/how-covid-spreads.html[8/2/202 1 I 0:21 :29 AM]
How Coronavirus Spreads I Case
                          CDC      3:21-cv-00924-JAM Document 17 Filed 08/02/21 Page 65 of 234

    causes COVI D -19.



    Natural Bodies of Water (Lakes, Oceans, Rivers)
    There a re no scientific reports of the virus that cau ses COVI D-19 spread ing to people through the water in
    lakes, oceans, rivers, or other natu ra l bodies of water.



    Wastewater
    Genetic material from has been found i n u ntreated wastewater. There is l ittle evidence of i nfectious vi rus i n
    wastewater, a n d no i nformation to date that a nyone h a s become sick with COVI D-19 because o f exposu re
    to wastewater. Wastewater treatment plants use chemical a nd other disi nfection p rocesses to remove and
    deg rade many viruses and bacteria. COVI D-19 i s inactivated by the disi nfection methods used i n
    wastewatertreatment.



        More I nformation

        Scientific Brief: SARS-CoV-2 and Potential Ai rborne Transmission


        ASL Video Series: How does COVI D-19 S pread?




                                                                                                                             Top of Page


        □                   □
                                                                                                                  Last Updated July 14, 2021


           You r Health


    I    About COVI D-19


             Protect Yourself


             Tra nsmission




https://www.cdc.gov/coronavirus/20 19-ncov/prevent-getting-sick/how-covid-spreads.html[8/2/202 1 I 0:21 :29 AM]
How Coronavirus Spreads I Case
                          CDC       3:21-cv-00924-JAM Document 17 Filed 08/02/21 Page 66 of 234


           What's this?




       U.S. Department of Health & Human Services
       U SA.gov
       CDC Website Exit Disclaimer




https://www.cdc.gov/coronavirus/20 1 9-ncov/prevent-getting-sick/how-covid-spreads.html[S/2/202 1 1 0: 2 1 :29 AM]
How Coronavirus Spreads ICase
                         CDC       3:21-cv-00924-JAM Document 17 Filed 08/02/21 Page 67 of 234

       LANGUAG E ASSISTANCE

       Espanol

       □□□□
       Tieng Viet

       □□□
       Tagalog

       PycCKv1111

       ctJ,J_pl l

       Kreyol Ayisyen

       Fran�ais

       Polski

       Portug ues

       Ita liano

       Deutsch

       □□□
       uwJLo

       English




https://www.cdc.gov/coronavirus/20 1 9-ncov/prevent-getting-sick/how-covid-spreads.html[8/2/2021 1 0:21 :29 AM]
                          Case
COVID- 19: Considerations for      3:21-cv-00924-JAM
                              Wearing Masks I CDC                      Document 17 Filed 08/02/21 Page 68 of 234



                                                                         EXH I B I T C
                                                                                                                           -


       Ei@�Ili)- m W                                                                                                      • --




    u Back to COVID- 1 9 Home


    G u id a nce for Wea ri ng M asks
    Help Slow the Spread of COVI D-19

    Updated Apr. 19, 2021

    I ..   Langu ages
                . .


    Print




        What you need to know
               • When you wea r a mask, you protect others as wel l as you rself. Masks work best when everyone
                        wears one.
               • A mask is N OT a su bstitute for social d istancing. Masks should stil l be worn in addition to staying
                 at least 6 feet a part, especially when indoors a round people who don't l ive in you r household.
               • Masks shou ld completely cover the nose and mouth and fit snugly against the sides of face
                        without gaps.
               • Masks shou ld be worn any time you are traveling on a plane, bus, train, or other form of public
                        transportation traveling i nto, within, or out of the U nited States a nd i n U.S. tra nsportation h u bs
                        such as airports and stations.
               • People age 2 a nd older should wea r masks i n public settings and when a round people who
                        don't live in their household.
                        Wea r a mask i nside you r home if someone you live with is sick with symptoms of COVID-19 or


https://www.cdc.gov/coronavirus/2019-ncov/prevent-getting-sick/cloth-face-cover-guidance.html[8/2/202 1 10:2 1 : 54 AM]
                          Case
COVID-19: Considerations for      3:21-cv-00924-JAM
                             Wearing Masks I CDC                       Document 17 Filed 08/02/21 Page 69 of 234

            •
                has tested positive for COVI D-19.
            • Wash you r hands with soa p and water for at least 20 seconds or use hand sanitizer with at least
              60% a lcohol after touching or removing you r mask.
            • Masks may not be necessa ry when you a re outside by you rself away from others, or with people
              who live in you r household. However, some a reas may h ave mask mandates while out in public,
              so please check the ru les in you r local area (such as in you r city, cou nty, or state) . Add itional ly,
                check whether a ny federa l mask mandates a pply to where you will be going.
            • CDC contin ues to study the effectiveness of different types of masks and u pdate our
              recommendations as new scientific evidence becomes available. The most recent scientific brief
                is availa ble here: Scientific Brief- Community Use of C loth Masks to Control the Spread of SARS­
                CoV-2 I C DC
            • C DC recently conducted a study i n a laboratory that tested the performance of d ifferent mask
                combinations.
            • There a re severa l easy methods to i mprove the performan ce of you r mask. Visit C DC's I mprove
              the Fit and Filtration of You r Mask to Reduce the S pread of COVI D-19 webpage to learn more.




    Evidence for Effectiveness of Mask:s                                                                         O n This Page


                                                                                                                 Evidence for Effectiveness of
    Your mask helps protect those around you                                                                     Masks

    COVI D-19 spreads mainly from person to person through respiratory
                                                                                                                 Who Should Wea r A M ask?
    d roplets. Respiratory d roplets travel into the air when you coug h,
    sneeze, ta lk, shout, or sing. These d roplets ca n then land in the mouths                                  Types of masks
    or noses of people who a re nea r you or they may breathe these
    d roplets i n .                                                                                              Other Types of Face
                                                                                                                 P rotection
    Masks a re a simple ba rrier to h e l p prevent you r respiratory d roplets
    from reaching others. Stud ies show that masks redu ce the spray of                                          Situations where wea ring a
    d roplets when worn over the nose a nd mouth.                                                                mask may not be possible

    You should wea r a mask, even if you do not feel sick. This is beca u se                                     Certa in groups of people
    several stud ies have fou n d that people with COVI D-19 who never                                           who may find it difficult to
    develop symptoms (asymptomatic) and those who a re not yet showing                                           wear a mask
    symptoms (pre-sym ptomatic) can still spread the virus to other people.
    Wea ring a mask helps protect those around you, in case you a re
    i nfected but not showing symptoms.


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     It is especial ly important to wea r a mask when you are i ndoors with people you do not l ive with a nd when
    you are u nable to stay at least 6 feet apart since COVI D-19 spreads m a i n ly a mong people who a re in dill..e
     contact with one a nother.



    Your mask offers some protection to you
    A cloth mask also offers some protection to you too. How wel l it protects you from breathing i n the virus
    l i kely depends on the fa brics used and how you r mask is made (such a s the type of fabric, the n u m ber of
     l ayers of fa bric, and how wel l the mask fits). CDC is currently studyin g these factors.



    Who should or should not wear a mask
     Masks should be worn:

        • By people 2 yea rs of age and older
        • Any time you a re i n a public setting
        • Any time you a re traveling on a plane, bus,
             trai n, or other form of public transpo rtation
             traveling into, within, or out of the U n ited
             States a nd in U .S. tra nsportation h u bs such as
             airports and stations
        • When you are a round people who do not l ive
             with you, includ ing inside you r home or i nside
             someone else's home
        • I nside you r home if someone you l ive with is sick with sympto ms of COVI D-19 or has tested positive for
          COVI D-19

    C DC recogn izes there a re specific insta nces when wea rin g a mask may not be feasible. In these i n stances,
    consider adaptation s a nd a lternatives.

    The fol lowi ng catego ries of people are exempt from the req uirement to wea r a mask:

        • A child u nder the age of 2 years;
        • A person with a disability who cannot wea r a mask, or can not safely wea r a mask, for reason s related to
            the d isability;
        • A person for whom wea ring a mask would c reate a risk to workplace health, safety, or job d uty as
            determined by the workplace risk assessment




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    Types of masks
    Some masks work better than others to help slow the spread of the virus that causes COVID-19. Note: N95
    respirators approved by CDC's National Institute for Occupational Safety and Health (N IOSH) should be
    prioritized for healthcare personnel.

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    Medical procedure masks
    (sometimes referred to as
    surgica l masks or disposable face
    masks)




    Masks that fit properly (snugly
    a round the nose a nd chin with
    no large gaps a round the sides
    of the face)




    Masks made with breathable
    fabric (such as cotton)




    Masks made with tightly woven

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    fa bric (i.e., fa brics that do not let
    light pass through when held up
    to a light source)




    Masks with two or three layers




    Masks with i nner filter pockets




    Masks that do not fit properly
    (large ga ps, too loose or too
    tig ht)




    Masks made from materials that
    are hard to breathe through
    (such as plastic or leather)




    Masks made from fa bric that is
    loosely woven or knitted, such as


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    fabrics that let l ig ht pass through




     Masks with one layer




    M asks with exhalation va lves or
    vents



                   ®

    Wea ring a sca rf/ski mask



        C l oth masks
        More effective fabrics for cloth masks are

            • Tig htly woven fa brics, such as cotton a n d cotton blends
           • B reathable
           • Two or th ree fa bric layers

        Less effective fabrics for cloth masks are

            • Loosely woven fa brics, such as loose knit fabrics
            • S i ngle layer

        C DC is cu rrently studying the effectiveness of various cloth mask m aterials. Refer to o u r Scientific B rief:
        Com mu nity Use of C l oth Mas ks to Control the Spread of SARS- CoV- 2 I C DC for more information .


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        M ed ica l proced u re masks
        (someti mes referred to a s S u rg ica l
        Masks o r Disposa ble Face Ma s ks)
        Medica l procedure masks are sing le-use masks that are not made
        of cloth and are not designed to be washed or laundered. They
        are sold online and through large retail stores. These are not the
        same as other medical masks.

        You may prefer using medical proced ure masks in situations
        where your mask is likely to get wet or di rty. As with cloth masks,
        make sure your medical procedure mask fits close to your face
        without large side gaps and completely covers your nose and
        mouth. Bring extra medical procedure masks with you in case you
        need to change out a dirty or wet mask.




        M a sks with exh a l ation va lves or
        ve nts
       CDC does not recom mend using masks with exhalation valves or
       vents. The hole in the material may al low your respiratory droplets
       to escape and reach others. Research on the effectiveness of these
       types of masks is ongoing.




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        N IOS H -a pp roved N 9 5 respi rators
        N 9 5 respirators a re critica l su pplies that should b e prioritized for
        healthca re workers a nd other medica l first responders to prevent
        su pply shortages.




        C lea r masks o r cloth masks with a
        clea r plastic panel
        Clear masks or cloth masks with a clear plastic panel are a n
        a lternative type of mask for people who i nteract with

            • People who a re deaf or hard of hearing
            • You ng children or students learn i ng to read
            • Students lea rning a new lang uage
            • People with disabilities
            • People who need to see the proper shape of the mouth
                for making appropriate vowel sou nds (for exa m ple, when
                singing)




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        If you use this type of mask, make s u re

            • You can breathe easily
           • Excess moisture does not collect on the i nside of the mask
           • You remove the mask before sleeping, since the plastic part cou ld form a seal arou nd you r
                mouth a n d nose a n d make it hard to breathe

        The FDA recently a pproved a transparent □ [186 KB, 3 Pages] c medica l mask. These tra nspa rent
        medical masks should be reserved for use by hea lthca re workers and patients who requ i re them.



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        There a re severa l easy methods to i m prove the performance of you r mask. Visit C DC's I mprove the Fit
        and Filtration of Your Mask to Reduce the Spread of COVI D-1 9 webpage to learn more. You ca n a l so
        learn more by read ing about a C DC study conducted i n a la boratory that tested the performance of
        d ifferent mask combinations.


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        Other Types of Face P rotection
        C DC does not recom mend c-_ using face shields or gogg les a s a
        substitute for masks. Goggles or other eye protection may be used
        i n addition to a mask. Do NOT put a plastic face shield (or a mask)
        on newborns or i nfa nts.

        Face shields and goggles a re prim a rily used to protect the eyes of
        the person wea ring it. Goggles do not cover the nose a n d mouth.
        Face shields a re n ot as effective at protecting you or the people
        around you from respiratory droplets. Face shields have l a rge
        gaps below and a longside the face, where you r respiratory
        d roplets may escape and reach others around you and wil l not
        protect you from respiratory d roplets from others. However,
        wea ring a mask may not be feasible i n every situation for some
        people.




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        Face shields a nd g og g les
        For exam ple, people who interact with those who are deaf or hea ring impa i red may fi nd that a face
        shield is better than a mask when com m u n icating. If you m u st wear a face sh ield i n stead of a mask:

           • Choose a face shield that wraps around the sides of you r face and extends below you r chin or a
                hooded face shield . This is based on the l i mited availa ble data that suggest these types of face


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                shields a re better at preventing spray of respiratory d roplets.
           • Wash you r hands after removing the face shield. Avoid touching you r eyes, nose, a nd mouth
               when removi ng it.
           • C lean and disinfect reusable face shields accord i ng to the manufactu rer's instructions or by
               fol lowi ng C DC face shield cleaning i nstructions. If you use a disposa ble face shield, wea r it once
                and th row it away according to the m a nufactu rer's i nstructions.


        M ask a d a ptations a nd a lternatives
        C DC recog n izes that wearing masks may not be possible i n every situation or for some people. Those
       who ca nnot wea r a mask a re u rged to prioritize virtual engagement when possible. For in-person
        activities, we have provided a few exam ples of what you ca n do to make wearing a mask more feasible
        and how to reduce the spread of COVID-19 if you can not wea r a mask.


        S ituations where wea ring a mask may not be possi ble
           • Make s u re to maintai n physical d ista nce from others when you ca nnot wea r a mask.

        Dining

           • C DC recom mends wearing a mask while d i ni ng i n a restau rant, pa rticul a rly i ndoors a n d when
                speaking with restau rant workers and servers, except when actively eati ng or d rinking. The risk of
                COVI D-19 spread increases in a restaurant or bar setting a s i nteractions within .6Je.e.t of others
                i ncrease. Ma sks may reduce the risk of COVI D-19 spread when worn in a ny of these risk
                scena rios.

       Water activities

           • Do not wea r a mask when doing activities that may get you r mask wet, l i ke swim m i ng at the
                beach or pool . A wet mask c a n make it d ifficult to breathe a n d may not work as wel l when wet.

        High intensity activities

           • Masks shoul d a lways be used i n public settings, but if you a re u nable to wear a mask because of
                d ifficu lty breathing d u ring high intensity activities, choose a location with g reater ventil ation a n d
                a i r excha nge (for instance, outdoors versus indoors) and where you c a n keep at least 6 feet of
                d ista nce from others during the activity. If such a location is not available, opt for low-intensity
                activities such as wa lking or yoga that a l l ow for mask wea ring.
           •    If you are able to wea r a mask, remove you r mask if it gets moist from sweat and replace it with
                a clean mask.
           • Opt for a n activity that does not require using mouth g u a rds or hel mets. Wearing a mask with
               these types of protective equipment is not safe if it makes it hard to breathe.



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            • Su pervise children who are wea ring a mask while playing sports.




        Certa i n g rou ps of people who may fi nd it d ifficu lt to wear a
        mask
        Some children 2 years and older, and people of any age with certain disabilities

        Appropriate and consistent use of masks may be challenging for some child ren a nd for people of any
        age with certa i n disabilities/ including people who have high sensitivity to materials on their faces1
        d ifficulty u n derstanding why wea ring a mask is protective (such as those with a n i ntel lectual disabil ity) 1 or
        those who have problems controlling their behavior.

        When determining if children and people with certain disabilities should wear a mask, assess
        their ability to:

            • Use a mask correctly
            • Avoid frequent touching of the mask and their face
            • Limit sucking/ d rool i ng/ or having excess saliva on the mask
            • Remove the mask without assistance

        Those caring for children and people with certain disabilities who may need assistance with
        wearing masks should

           • Ask their hea lthca re provider for advice a bout the person you a re ca ring for wea ring a mask. If
                they a re u na ble to wea r a mask/ ask their healthca re provider about alternative ways of red ucing
                transmission risk
           • Ensure proper mask size and fi1
           • Remove their mask before sleeping/ na pping 1 when they may fa l l asleep (such as i n a ca r seat or
                stroller)/ a nd in situations when contin u a l supervision is not possible
           • Consider p rioritizing wearing a mask i n p ublic settings and when around people who don 1t l ive i n
                you r household 1 pa rticu l a rly when i ndoors. Masks may not be necessary when you a n d the
                person you a re cari ng for a re outside and away from others1 or with other people who live i n the
                same household . However/ some loca lities may h ave mask m a ndates while out i n public a nd
                these mandates should always be fol lowed.

        M asks shou ld not be worn by:

           • Child u nder 2 years of age
           • A person with a d isability who can not wea r a mask1 or ca n not safely wea r a mask1 for reasons



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                related to the d isabi lity
           • A person for whom wearing a mask wou l d create a risk to workplace health, safety, or job d uty
                as determi ned by the workplace risk assessment

        People who a re deaf or hard of hearing, and those who wi l l interact with people who are
        hearing im paired

        If you interact with people who rely on reading l i ps, you may have difficulty comm u n icating while
        wearing a mask.

           • Consider wea ring a clear mask or a cloth mask with a clea r panel
           • If you are n ot able to get a clear mask, consider using written comm u nication, closed captioning,
                or decreasing backg round noise to make com m u nication possible while wea ring a mask that
                blocks lips

        People with certai n underlyi ng medical conditions

        Most people with u nderlying medical conditions can a nd shou ld wear masks.

           • If you have respiratory conditions and a re concerned a bout wearing a mask safely, d iscuss with
               you r healthcare provider the benefits and potential risks of wea ring a mask.
           • If you have asthma, you can wea r a mask. Discuss with you r hea lthcare provider if you have a ny
                concerns a bout wearing a mask.

        Outdoor workers

        If you work in a setting where masks cou ld increase the risk of heat-related i l l ness or cause safety
        concerns (for exam ple, straps getting caught i n machi nery) :

           • Discuss with a n occupational safety and health p rofessional what mask wou ld be suitable.
           • P rioritize wearing masks i ndoors and when i n close contact with other people, like d u ri ng g roup
               travel or shift meetings. Some loca lities may req u i re wea ring masks in public while outdoors, a n d
               these requ i rements shou ld b e fol lowed.
           • I n cold weather, wear masks u nder wi nter gea r such as scarves and ski masks. If masks become
               wet from breathing or snow, replace them with d ry ones. Keep one or more backups for this
                pu rpose.

       What to do if you find wearing a mask u ncomforta ble?

           • It may hel p to practice wearing a mask at home for short periods to get used to the
               fee l i ng and try d ifferent styles and fa brics recom mended a bove.
           • Try rel axation techn iques such as breathing i n a n d out deeply or listening to soothing
                m usic while wearing a face mask, which can hel p to keep you ca l m .

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         M a sk u se a nd ca rbon d ioxid e
        Wea ring a mask does not raise the carbon d ioxide (CO2) level in the air you breathe

        A cloth mask does not provide an airtig ht fit across the face. The CO2 com pletely escapes into the a i r
        throug h t h e cloth m a s k when you breathe out or tal k. CO2 molecu les are small enou g h to easily pass
        throug h a ny cloth mask material. In contrast, the respiratory d roplets that ca rry the virus that ca uses
        COVID-19 a re much larger than CO2, so they cannot pass as easily throu g h a p roperly designed a nd
        properly worn cloth mask.


        Cold Weather
            • I n cold weather, masks may become wet from b reathing, snow, or other precipitation. Change a
              mask when it becomes wet. A wet mask is harder to b reathe through, is less efficient at
              p reventing you r respiratory d roplets from reaching others, and a llows for more respiratory
                d roplets to escape a round the edges of the mask. It is especia l ly important to have one o r more
                replacement masks during cold weather. If you r reusable mask becomes wet, put it in a sea led
                plastic bag until you can wash it.
            • Sca rves and other headwea r such as ski masks and balaclavas used for wa rmth a re usually made
              of loosely knit fa brics that a re not suitable for u se as masks to prevent COVI D-19 transmission.
              They can be worn over a mask.
            • If you wea r glasses, find a mask that fits closely over you r nose or has a nose wire to help reduce
              fogging. Consider using a n a ntifogging spray that is made for eyeglasses.



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    People with beards
    Certain types of facial hair, l ike bea rds, can make mask fitting d ifficult. People
    with beards ca n

        • S have their bea rds.
        • Trim their beards close to the face.
        • Use a mask fitter or brace.
        • Wea r one d isposable mask u nderneath a cloth mask that has m u ltiple
          layers of fabric. The second mask shou ld push the edges of the inner mask
          snugly against the face a nd bea rd .




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https://www.cdc.gov/coronavirus/20 19-ncov/prevent-getting-sick/cloth-face-cover-guidance.html[8/2/202 1 I 0:2 1 : 54 AM]
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COVID- 19: Considerations for      3:21-cv-00924-JAM
                              Wearing Masks I CDC                     Document 17 Filed 08/02/21 Page 83 of 234

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                                                  ! ·   •




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            2021; doi:10.1080/02786826.2020.1862409

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                                                                                                                             Last Updated Apr. 19, 2021


           You r Hea lth

         About COVI D-19

         Varia nts of the Virus

         Symptoms

         Testing

         P revent Getting S ick

         If You A re Sick


         Different G roups of People

         Daily Activities & Going Out


         Travel



    I    Archive


             Guidance for Wearing Masks
                                                                                                                                                  col la pse




https://www.cdc.gov/coronavirus/2019-ncov/prevent-getting-sick/cloth-face-cover-guidance.html[8/2/2021 I 0:2 1 :54 AM]
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COVID-19: Considerations for      3:21-cv-00924-JAM
                             Wearing Masks I CDC                       Document 17 Filed 08/02/21 Page 84 of 234




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       CDC Website Exit Disclaimer
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       LANGUAGE ASSISTANCE

       Espanol

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       Fran<;ais

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        ®DJ�Iffl- m�                                                                                ■ --
        UPDATE
        Getting vaccinated prevents severe i l l ness, hospitalizations, and death. U nvaccinated people should get
        vaccinated and conti nue masking until they are fu l ly vacci nated. With the Delta varia nt, this i s more
        u rgent than ever. CDC has u pdated guida nce for fu lly vaccinated people based on new evidence on
        the Delta va riant.




         Back to COVID- 1 9 Home


    Sym ptoms
    Updated Feb. 22, 2021

    I   languages



    Print




    Watch for Symptoms
    People with COVI D-19 have had a wide ra nge of symptoms reported - ranging from mild symptom s to
    severe i l l ness. Symptoms may a ppear 2-14 days after exposure to the virus. Anyone can have mild to severe
    symptoms. People with these sym ptoms may have COVI D-19:

        • Fever or chi l l s
        • Cough
        • Shortness of b reath o r difficulty breathing
        • Fati gue
        • M uscle or body aches


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Symptoms of COVID-1 9 I CDC                          3:21-cv-00924-JAM Document 17 Filed 08/02/21 Page 87 of 234

        • Headache
        • New loss of taste or smell
        • Sore throat
        • Congestion or ru nny nose
        • Nausea or vom iting
        • Diarrhea

    This list does not include a l l possi ble symptoms. C DC wi l l continue to u pdate this list as we learn more
    about COVI D-1 9. Older adu lts and people who have severe u nderlyi ng medical conditions l ike heart or l u ng
    disease or diabetes seem to be at higher risk for developing more serious complications from COVI D-19
    i l l ness.




         Fee l i ng Sick?

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    When to Seek Emergency Medical Attention
         Look for emergency wa rning signs* for COVI D-19. If someone is showing a ny of these signs, seek
        emergency medical care immediately:


        • Trouble breathing
        • Persistent pain or pressure in the chest
        • New confusion
        • I nability to wake or stay awake
        • Pa le, gray, or blue-colored skin, l ips, or nail beds, depending on skin tone

    *This list is not a l l possible symptoms. Please ca l l you r medical provider for a ny other symptoms that are
    severe or concerning to you .

    C a l l 911 or call ahead to you r loca l emergency facility: Notify the operator that you a re seeki ng care for
    someone who has or may have COVI D-1 9.


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        If You Are Sick
         >   C heck symptoms with Coronavirus Self-Checker

         >   Get tested

         > What to do if you a re sick

         >   I so late if you a re sick

         >   When to quaranti ne

         >   H ow to care for someone who is sick




    Difference between COVID- 1 9 & Flu
    I nfluenza (Flu) and COVI D-19 a re both contagious respiratory i l l nesses, but they are caused by different
    viruses. COVID-19 is caused by i nfection with a new coronavirus (cal led SARS-CoV-2), and flu i s caused by
    infectio n with i nfluenza vi ruses.

    COVI D-19 seems to spread more easily than flu and cau ses more serious i l l nesses in some people. It can
    also take longer before people show symptom s and people can be contagiou s for longer. More
    i nformation a bout differences between flu and COVI D-19 i s available i n the different sections below.

    Because some of the symptom s of flu and COVI D-19 are similar, it m ay be hard to tell the difference
    between them based on symptoms alone, and testing may be needed to help confi rm a diagnosis.

    While more is lea rned every day a bout COVI D-19 and the virus that causes it, there is sti l l a lot that is
    u nknown . This page compares COVI D-19 and flu, given the best ava i lable information to date.




       Handouts & Videos




https://www.cdc.gov/coronavirus/20 l 9-ncov/symptoms-testing/symptoms.html[8/2/202 l 1 0:22:2 1 AM]
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Symptoms of COVID-1 9 I CDC       3:21-cv-00924-JAM Document 17 Filed 08/02/21 Page 89 of 234


    I


                                                                   Symptoms of COVI D-19                   Symptoms o
        Symptoms of COVI D-19                                      (Video)                                 ASL (Video)
        (PDF)                                                     Symptoms can include fever, cough and
                                                                  shortness of breath.
                                                                                                           American Sign Langua�
                                                                                                           symptoms.
        Patients with COVI D-19 have
        experienced mild to severe respiratory
        ill ness.

                                                                        - =



        More I nformation

        People a t I ncreased Risk

        Healthcare P rofessionals




                                                                                                          Last Updated Feb. 22, 2021


           You r Health

         About COVI D-19

         Varia nts of the Virus

    I    Symptoms



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             Coronavirus Self- Checker


         Testi ng

         P revent Getting Sick

         If You Are Sick

         Different Groups of People

         Daily Activities & Goi ng Out

         Travel

         Archive




           □ Get Email U pdates
          To receive email u pdates about COVI D-19, enter you r email address:


            Email Add ress
          What's this?




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       LANGUAGE ASSISTANCE

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       Polski

       Portugues

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       English




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COVID Data Tracker Weekly      3:21-cv-00924-JAM
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                                                                     EXHIBIT E




    - COV I D DATA T R AC K E R Ull E E K LV R E VIEUll ------
    □ Back to COVID- 19 Home


    Wee kly Review
    Print


    I nterpretive S u mmary for J u ly 30, 2021



    Don't Run Down the Shot Clock
    COVI D-19 cases, hospita lizations, and d eaths a re once
    again increasing in nearly all states, fueled by the
    B.1.617.2 (De,lta) variant, which is much more
    contag ious than past versions of the virus. The hig hest
    spread of cases a nd severe outcomes is happening in
    places with low vaccination rates. Althoug h COVI D-19
    vaccination is the most effective p revention measure,
    vaccination rates across the United States have varied.

    COVI D-19 vaccines a re very effective, but no vaccine is
    perfect. In some instances, fu l ly vaccinated people wil l get
    COVI D -1 9 and may be contagious. These a re cal led "vaccine
    breakth roug h cases. " A new C DC study finds that B.1.617.2
    (Delta) can l ead to b reakth rough i nfections. This means that
    while vaccinated people a re m uch less l i kely to get sick, it
    wi l l sti l l happen i n some cases. As the nu mber of people
    who a re vaccinated goes u p, the nu m ber of breakth roug h
    cases is a lso expected to i ncrease, even a s t h e vaccines



https://www.cdc.gov/coronavirus/20 1 9-ncov/covid-data/covidview/index.html[8/2/202 1 I 0:23 :04 AM]
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    remain hig h ly effective.

    United States Levels of Community
    Transmission by County as of J uly 27,
    2021




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    Vaccines help protect people from getting COVID-19 o r from getting severely i l l from it. U nvacci nated
    people shou ld get vaccinated and conti nue masking. C DC also recommends that fu l ly vaccinated people
    wear masks in public i ndoor setti ngs in areas of su bstantial or high transmission. With the 8.1 . 617.2 (Delta)
    variant rapidly spreading throug hout the cou ntry, this is more u rgent than ever. To fi nd a vaccine provider
    near you, visit Vacci nes.gov or you r state or local public health depa rtment website. If you o r someone you
    know i s hesitant about COVI D -19 vacci nation, C DC has i nformation and a nswers to frequently asked
    q uestions to help them i nform thei r decision.


        Note to readers: On J u ly 27, 2021, CDC a n nou nced u pdated G u idance for COVI D-19 P revention
        Strategies. Among strategies to p revent COVI D-19, CDC recommends all u nvaccinated people wear
        masks in public i ndoor settings. Based on e merging evidence of the B.1.617.2 (Delta) variant, CDC also
        recommends that fu l ly vaccinated people wear masks i n public indoor setti ngs in a reas of su bsta ntia l
        or hig h tra nsmission. T o see t h e level o f com m u n ity transmission i n you r cou nty, visit COV I D Data
        Tracker.




        Reported Cases
       The current 7-day movi ng average of daily
        new cases (66,606) increased 64.1% com pared
       with the p revious 7-day movi ng average
       (40, 5 97). The cu rrent 7-day movi ng average is
       73.8% lower than the pea k observed on
       January 10, 2021 (2 54,063) and is 480.1%


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        higher tha n the lowest value observed o n
       J u ne 19, 2021 (11,483). A total o f 34,722,631
       COVID-19 cases have been reported as of J u ly
       28.



        34,722,631
        Total Cases
        Reported

        66, 606
        Cu rrent 7- Day
        Average*


        40,597
        Prior 7-Day
        Average

        +64.1%
        Change i n 7- Day
        Average si nce
        P rior Week




    *Historical cases are excluded from daily new cases and
    7-day average calculations u ntil they are incorporated
    into the dataset for the applicable date. Of 77,785
    historical cases reported retroactively, 2,086 were
    reported in the current week a nd 1,469 were reported in
    the prior week.




    Daily Trends in COVID-19 Cases in the U nited
    States Reported to CDC

    -7- Day moving average

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       SARS-CoV-2
       Va ria nts
       M u ltiple variants of the vi rus that causes
       COVI D -1 9 a re circulating g lobal ly, including
       withi n the United States. C urrently, fou r
       variants a re classified as a variant of concern
       (VOC). N owcast estimates* of SARS-CoV-2
       cases caused by these voes for the two
       weeks ending J uly 17 a re summarized here.
       N ational ly, the proportion of cases attributed
       to B.1.617.2 (Delta) is pred icted to i ncrease to
       82.2%; B.1.1.7 (Al pha) proportion is predicted
       to decrease to 9.0%; P.1 (Gam ma) proportion
       is predi cted to decrease to 3.8%; and B.1 .351
       (Beta) i s predicted to remain steady at 0.1%.
        Nowcast esti mates predict that B.1 .617.2
       (Delta) wil l continue to be the predominant
       l i neage circulating i n all H H S regions and be
       more than 70% in nine H H S regions. B.1.1.7
       (Alpha) is predicted to be less than or equal to
       21% i n a l l H H S reg ions. P.1 (Gamma) is


https://www.cdc.gov/coronavirus/20 1 9-ncov/covid-data/covidview/index.html[8/2/2021 I 0:23 :04 AM]
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        predicted to be less than 9% i n all H H S
        regi ons; and B.1 . 351 (Beta) i s predicted to be
        less tha n or equal to 0.2% i n all H H S reg ions.


    *The median time from specimen collection to sequence
    data reporting is about 3 weeks. As a result, weighted
    estimates for the most recent few weeks may be u nstable
    or unavaila ble. CDC's Nowcast is a data projection tool
    that helps fil l this gap by generating timely estimates of
    varia nt proportions for variants that are circulating in the
    United States. View N owcast estimates on C DC's COVI D
    Data Tracker website on the Variant Proportion s page.




    SARS-CoV-2 Va ria nts Circu lati ng i n the U nited
    States




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        Testing
       The percentage of COVI D-19 NAATs (nucleic
        acid a mplification tests) that a re positive
        (percent positivity) has i ncreased from the
        p revious week. The 7-day average of percent
        positivity from tests is now 7.8%. The 7-day
        average number of tests reported for J u ly 1 6 -
       J u l 22 was 698,611 u p 14.5% from 610, 004 for
       the prior 7 days.




           698,611
           7-Day Average
           Tests Reported


           7.8%
           7-Day Average
           % Positivity


           6.0%
           Previous 7- Day
           Average %
           Positivity


           +31 .0%
           Change in 7- Day
           Average %
           Positivity since
           Prior Week




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    COVI D-19 NAAT Laboratory Test 7-day Percent
    Positivity by State/Territory




                                                 Territories


                                        7-day Percent Positivity
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       Vacci nations
       The U . S . COVI D-19 Vaccination Prog ram
        beg a n Decem ber 14, 2020. As of J uly 29, 344.1
       million vacci ne d oses h ave been administered .
       Overa l l, about 189.9 million people, or 57.2%
       of the total U.S. population, have received at
        least one dose of vaccine. About 163.9 million
        people, or 49.4% of the total U.S. population,
       h ave been fully vacci nated.* As of J uly 29, the
       7-day average n u m ber of administered
       vacci ne doses reported (by date of C DC
       report) to CDC per day was 61 5,404, a 16.15%
       i ncrease from the previous week.

       C DC's COVID Data Tracker Vaccination
       Demographic Trends ta b shows vacci nation
       trends by age g roup. As of J u ly 29, 89.7% of


https://www.cdc.gov/coronavirus/20 1 9-ncov/covid-data/covidview/index.html[8/2/202 1 10:23: 04 AM]
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       people ages 65 or o lder have received at least
       one d ose of vaccine and 79.9% are ful ly
       vacci nated . Over two-thirds (69.4%) of people
       ages 18 or older h ave received at least one
       dose of vacci ne a nd 60.3% a re fu l ly
       vaccin ated . For people ages 12 or older,
       66.9% have received at least one dose of
       vacci ne a nd 57.7% a re ful ly vaccinated.



        344,071,595
        Vaccines
        Administered



        1 89,945,907
        People who
        received at least
        one dose


        1 63,868,91 6
        People who are
        fully vaccinated*


        57.2%
        Percentage of the
        US population
        that has received
        at least one dose


        49.4%
        Percentage of the
        US population
        that has been ful ly
        vacci nated*




https://www.cdc.gov/coronavirus/20 1 9-ncov/covid-data/covidview/index.html[S/2/202 1 1 0:23:04 AM]
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        + 0.8
        Percentage point
        increase from last
        wee k


        +0.6
        Percentage point
        increase from last
        week


    *People a r e considered ful ly vaccinated 2 weeks after
    their second dose in a 2 -dose series (such as the Pfizer or
    Moderna vaccines), o r 2 weeks after a singl e-dose vaccine
    (such as Johnson & Johnson's Janssen vaccine) .




    Daily Change in the Total Number of
    Administered Doses Reported to C DC by the
    d ate of CDC Report, United States



    -7- Day movi ng average




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        H ospita l izations
        New Hospita l Ad missions
       The current 7-day average for J uly 21-J uly 27
       was 5,475. This i s a 46.3% i ncrease from the
       prior 7-day average (3,742) from J u ly 14-J u ly
       20. The 7-day movi ng average for new
       admissions has consistently increased si nce
       J u ne 25, 2021 .



        2,381,644
        Total New
        Admissions

        5 ,47 5
        Cu rrent 7- Day
        Average



        3,742
        Prior 7-Day


https://www.cdc.gov/coronavirus/201 9-ncov/covid-data/covidview/index.html[8/2/202 J I 0:23 :04 AM]
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        Average

        + 46.3%
        Change in 7- Day
        Average




    The start of consistent reporting of hospital admissions
    data was August 1, 2020.




    Daily Trends in N um ber of New COVI D-19
    H ospita l Ad m issio ns i n the U n ited States

     New Admissions of Patients with Confirmed COVID-19, United States
                         August 01, 2020 - July 26, 2021
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        New admissions a re pulled from a 10 a m EST
        snapshot of the H H S Unified Hospital Timeseries
        Dataset. Due to potential reporting delays, data
        from the most recent 7 days, as noted in the figu re
        above with the grey bar, should be interpreted with
        caution. Small shifts in historic data may also occur
        due to changes in the CMS Provider of Services file,
        which is used to identify the cohort of included
        hospitals.



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       COVI D-N ET:
       Trends i n
       H ospital izations i n Ad u lts
       Ages 1 8-49 Years
       C DC's Coronavi rus D isease 201 9-Associated
        H ospital ization Su rvei l l a nce Network (COVI D­
        N ET) shows that hospital ization rates a re
        i n creasing i n younger adults. While adu lts
       ages 65 years a nd older are m ost at-risk,
       you nger adults a re also at risk for COVI D-19-
       associated hospitalizations. Rates of
        hospital ization rem a i n low when c o mpared to
        p revious m o nths of the pandemic, but
        preli m i nary data show that weekly rates of
       COVI D-1 9-associated hospita l izations have
        i nc reased significantly for adults ages 18 to 49
       years. Compared to J u n e 26, 2021, weekly
        rates i n adults ages 18-49 yea rs for the week
       ending J u ly 10, 2021 have i ncreased by nearly
       40%. These are the first increases i n rates of
       COVI D-1 9-associated hospitalizations seen i n
       this age g ro u p si nce A pril 202 1 .




    Trends in Rates of COVI D-19-Associated
    Hospitalizations in Adults Ages 1 8-49 Years

       ,o




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    The Coronavirus Disease 2019 (COVI D-19)-Associate. ,d
    Hospita lization Surveillance Network (COVI D-N ET) is an
    additional source for hospitalization d ata col lected
    through a network of more than 250 acute-care hospitals
    in 14 states (representing -10% of the U.S. population).
    Detailed data on patient demogra phics, including
    race/ethnicity, u nderlying medical conditions, medical
    interventions, and cl inical outcomes, are standardized
    case reporting form.

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        Deaths
       The current 7-day moving average of new
       deaths (296) has i ncreased 33.3% compared
       with the previous 7-day movi ng average
       (222). The cu rrent 7-day movi ng average is
       91 .8% lower tha n the pea k observed on
       January 13, 2021 (3,625) and is 77.1% higher
       than the lowest value observed on J uly 10,
       2021 (1 67). As of J u ly 28, a total of 609,853
       COVI D-19 deaths have been reported.



        609,853
        Total Deaths
        Reported

        296
        Cu rrent 7- Day
        Average*




https://www.cdc.gov/coronavirus/20 1 9-ncov/covid-data/covidview/index.html[S/2/202 1 1 0:23 :04 AM]
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        222
        Prior 7-Day
        Average

        + 33.3%
        C hange in 7- Day
        Average Since
        Prior Week


    *Historical deaths are excluded from the daily new deaths
    and 7-day average calculations u ntil they are
    incorporated i nto the dataset by their a pplicable date. Of
    6,143 historical deaths reported retroactively, 26 were
    reported in the current week a nd 8 were reported in the
    prior week.




    Daily Trends i n N u m ber of COVI D -1 9 Deaths i n
    the U n ited States Reported t o CDC

    ,,..,,,7- Day movi ng average




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        Recent C DC
        COVI D-19 Publications
            1 . G u idance for I mplementi ng COVI D-19 Prevention Strategies in the Context of Varyi ng
                Commu n ity Transmissi o n Level s and Vaccination Coverage
           2. SARS-CoV-2 I nfection in Public School District E mployees Fol lowi ng a District-Wide
                Vacci nation Progra m - Phi lade lphia Cou nty, Pen nsylvania, March 21-Apri l 23, 2021
            3. Disparities in COVID-19 Vaccination Coverage Among Health Care Personnel Working i n
                Long-Term Care Facil ities, by J o b Category, N ational Hea lthcare Safety Network - United
                States, March 2021
           4. O utbreak of SARS-CoV-2 I nfections, i ncluding COVI D -19 Vaccine B reakth rough I nfections,
                Associated with Large P u blic G atheri ngs - Barnstable Cou nty, M assachusetts, J u ly 2021




        Recent COVI D Data Tracker Updates
           •     The Vacci nation Trends tab now displays trends by state and j u risdiction
           • The Vaccination Among P regnant People tab displays the percent of preg nant people ages
                18-49 yea rs receiving at least one dose of a COVI D-19 vacci ne d u ring p regna ncy overa l l and
                by race/eth nicity
           • The Vaccine Confidence tab a l lows u sers to explore trends i n vaccine confidence i n the U nited
                States by visualizing trends in vaccination statu s and i ntent by week and by demog ra phics




           Science & Research


         Science Agenda for COVI D-19


    I    Weekly Review

               Past Weekly Reports


         Science B riefs


         COVI D Data Tracker




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         Forecasti ng


         Variant S u rvei llance


         About E pidemiology


         CDC COVI D-19 Data


         Guidance for COVI D-19


         Archive




           □ Get Email U pdates
           To receive email u pdates about COVI D-19, enter you r email add ress:




           What's this?




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       CDC Website Exit Disclaimer




       LANGUAGE ASSISTANCE

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    �E���!:!                                                                                     Fact Sheet                                                                                2@2@ -
11111   THE UN IVERSITY
• Founded 1 881
• Main Campus: Storrs
• 4 Regional Campuses: Avery Point, Hartford, Stamford, Waterbury
• School of Law and Graduate Business Learning Center: Hartford
• School of Social Work: Hartford
• UConn Health: Farmington (Schools of Medicine & Dental Medicine, graduate
  programs, medical & dental clinics, UConn John Dempsey Hospital), and UConn
  Health at Downtown Storrs
• Land Grant & Sea Grant college, Space Grant Consortium institution
• Storrs & Regionals "'4,052 acres; U(onn Health "'210 acres


11111 I N ITIATIVES
UCONN 2000 - As of FY1 9:
• $3.5 billion in State GO bonds have been authorized
• $3.6 billion in construction-related contracts issued from all fund sources
   - 71 % of funds to Connecticut contractors
                                                                                            Student Characteristics
   - 21 % to set-aside contractors
                                                                                                                   Undergraduate - 23,900                                      Grad/Professional - 8,433
• Bond Credit Ratings by Fitch, Moody's, and Standard & Poor's remain consistently strong
                                                                                            Female                          51%                                                          53%
Next Generation Connecticut                                                                 Minority                       37%                                                           21%
• Next Generation Connecticut: $1.5 billion capital investment over 13 years includes       International'                   9%                                                          25%
  construction, renovations, infrastructure, and equipment                                  Connecticut Residents'          77%                                                          65%
                                                                                            1 103 countries were represented in the Fall 2019 international student population.
Bioscience Connecticut                                                                      1 73% of undergraduates on Main Campus are Connecticut resi<lents.
• Bioscience Connecticut: $864 million investment in genomics and personalized medicine       All 169 Connecticut towns and 43 of 50 states are represented In the fall 2019 total undergraduatestudent population.



II STUDENTS                I FALL 2019                                                      SAT Scores and Retention & Graduation Rates

Academic Programs & Degrees                                                                 201 9 SAT Scores                         National                 Connecticut               Main Campus
14 Schools & Colleges                                                                       (Critical Reading and Math)             High School               High School             Entering Freshmen
    Agriculture, Health & Natural Resources; Business; Dental Medicine; Neag Education;
    Engineering; Fine Arts; Graduate; Law; Liberal Arts & Sciences; Medicine; Nursing;                                                    1059                      1046                         1296
    Pharmacy; Ratcliffe Hicks; Social Work
  8 undergraduate degrees: 1 17 majors                                                      Main Campus                                                              All                      Minority
1 7 graduate degrees: 88 research and professional practice fields of study                 Freshmen Retention:                      1-Year Rate                    94%                           92%
  6 professional degree programs (J.D., LL.M., M.D., D.M.D., Pharm.D., S,J,D.)              Graduation:                              4-Year Rate                    73%                           65%
                                                                                                                                     6-Year Rate                    85%                           82%
Degrees 201 8-19            8,793                                                           UConn (Main Campus) ranks 14 out of 58 public research universities in graduation
Bachelor's                  5,656          Dental Medicine            40                    rate for all freshmen and 21 out of 58 public research universities for minority freshmen.
Master's                    1 ,895         Graduate/Professional                            (Sources: U.S. News 2020America's Best Colleges & 2018 JPEDS Graduation Rate SurveYJ
Doctorates                     418            Certificates           369                    UConn (Main Campus) average time to graduate is 4.2 years among those who graduate
Law (J.D., LL.M.)              161         6 Yr. Education            54                    within 6 years, and ranks 4th out of 58 public research universities.
Pharm.D.                        92         2 Yr. Agriculture          16
Medicine                        92
                                                                                            Total Undergraduate Student Cost - 201 9-2020
Degrees by: Female           54%           Minority                 25%
                                                                                                                                                               In-State              Out-of-State
Total Student Enrollment - 32,333                                                           Tuition, Fees, Room' & Board'                                       $30,484                      $53, 1 52
 18,847    Undergraduate at Main Campus                                                     Tuition & Mandatory Fees                                             1 7,226                      39,894
  5,053    Undergraduate at Regional Campuses                                               Tuition Only                                                         13,798                       36,466
23,900         Subtotal Undergraduate
                                                                                            1 65% of Main Campos undergraduates live in campus housing (102 residential halls, 99 in Storrs, 3 in Stamford}.
    7,097      Graduate (M.A./Ph.D., including 266 at UConn Health)                         2 Board rate shown reflects the Value Plan, which is the most popular plan available.
      536      Law
      1 54     Pharm.D.
      444      Medicine                                                                     Student Financial Aid - Fiscal Year 201 9
      202      Dental Medicine                                                              Financial Aid Support: $509 Million
    8,433       Subtotal Graduate/Professional                                                                                                       Main Campus/
                                                                                                                                                         Regional'                 UConn Health
Entering Freshmen at Main Campus, Fall 201 9 - 3,603                                        Scholarships & Grants                                         $213 million                  $6.7 million
• 55% were in top 10% of high school class                                                  Loans                                                          1 96 million                  20 million
• 87 .6% were in top 25% of high school class                                               Tuition Waivers                                                  73 million
• 98 valedictorians and 67 salutatorians                                                    1 Approximately 21 ,700 students received financial aid packages in FY2019. 27% of all tuition dollars are dedicated
• 322% more minority freshmen than in Fall 1995                                              to scholarships and gran�.
• Since 1 995: 2,755 valedictorians and salutatorians enrolled at all campuses
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                                                                UConn ran ks among the Top 25
                                                                public universities in the nation
                                                                - U.S. News & World Report America's Best Colleges (2020)




                                                                       STAFF I FALL 2019
                                                                Number of Full-time & Part-time Faculty & Staff: 9,620
                                                                                                                                 Main Campus/Regional                          UConn Health
                                                                Full-time & Part-time Faculty & Staff                                5,032                                       4,588
                                                                Full-time Faculty & Staff                                                4,834 (96%)                               3,541 (77%)
                                                                Part-time Faculty & Staff'                                                 198 ( 4%)                               1 ,047 (23%)
                                                                Full-time faculty                                                        1,537                                      537
                                                                  Tenured & Tenure Track                                                  1 , 1 2 1 (73%)                           1 74 (32%)
                                                                  Non-Tenure Track                                                           4 1 6 (27%)                            363 (68%)
                                                                full-time Staff                                                          3,297                                    3,026

                                                                Full-time & Part-time Faculty
                                                                  Female                                                                   43%                                      43%

II BUDGET I               FISCAL YEAR 2020
                                                                  Minority                                                                 20%                                      38%
                                                                Full-time & Part-time Staff
                                                                  Female                                                                   57%                                      78%
Total Current Funds Budget: $2.7 billion                          Minority                                                                 1 3%                                     28%
MAIN & REGIONAL CAMPUSES                                        1749 adjunct lecturers tea<h at least one cOUlse at Ston, and regional campuses
Revenues                                       In Millions
State Appropriation                                 $200.4
Fringe Benefits                                       171.1     Staff Covered by Collective Bargaining Agreements:
Student Tuition & Fees                                781.7
Gifts, Grants & Contracts                             220.2     Main Campus & Regional Campuses                                                                                      90%
Sales/Services - Auxiliary Enterprises                 26.3     UConn Health                                                                                                         90%
Sales/Services - Educational                           23.7
All Other Revenues                                     20.6
Total                                            $ 1 ,444.0
Expenditures
                                                                II ALUMNI AND GIVING                                                                        RESEARCH, TRAINING
                                                                                                                                                             PUBLIC SERVICE
Academic Services                                  $639.4
Research Services                                    1 04.6     UConn Alumni                                                                           AND
Student Services                                     485.0      • 264,039 total alumni worldwide.
Operating, Support & Physical Plant Services         2 1 5.0    • 140,227 alumni live in Connecticut.
                                                                                                                                                      Fiscal Year 201 9 external funding,
Total                                            $ 1,444.0                                                                                            sponsored awards:
                                                                Private Giving Fiscal Year 201 9
UCONN H EALTH                                                   • In FY 2019, private donations to the University totaled                              $258.0 million (excluding financial aid):
Revenues                                       In Millions        $71.4 million. Of that amount, $21.7 million was                                     Main & Regional Campuses:          $ 164.4 million (64%)
State Appropriation                                $ 1 28.2       donated for scholarships and student support, $25 million                            UConn Health:                      $ 93.6 million (36%)
Fringe Benefits                                      1 67.2       for program support, $ 14.1 mill ion for research,
Student Tuition & Fees                                 28.6       $2.2 million for faculty support and $8.4 million for                               Total by Funding Source
Gifts, Grants & Contracts                              91.1       capital improvements.                                                                Federal: 82.1 %     State: 6.7%     Private/Other: 1 1 .2%
Interns & Residents                                    73.1     • Alumni contributed $36.3 million in FY 2019. Parents and                            Sponsored Awards at Main & Regional Campuses
Net Patient Care                                     568.1        other individuals contributed $ 1 4.8 million. Corporations                          Research                                             78%
Research Fund                                           8.3       and organizations added an additional $20.3 million.                                 Education and Training Programs                      22%
All Other Revenues                                   1 69.2
Total                                            $ 1,233.8      • Funds made available to support the University in                                   Sponsored Awards at UConn Health
                                                                  FY 2019 totaled $44.4 million.                                                       Research                                             82%
Expenditures                                                                                                                                           Public Service                                       18%
                                                                • The University endowment portfolio was valued at
Hospital & Health Services                          $679.9        $462.8 million at the fiscal year-end, including more
Research Fund                                             8.3     than $ 190 million for scholarships.
Academic Services                                      234.7
Research Services                                      140.7
Operating, Support & Physical Plant Services           1 70.2


                                                                900�9
Total                                            $ 1 , 233.8
                                                                                                                                             Connect with us:           uconn.edu I health.uconn.edu

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          Back to COVID- 1 9 Home


      COVI D-1 9 G u i d a nce for S h a red or Cong regate
      Housing
      U pdated Dec. 31, 2020




      Print




        On This Page

         Plan a nd P repa re                                                      Com m u nicate to staff a n d residents


        Emergency operations plans                                                Considerations for common spaces i n you r
                                                                                  facility, to prevent the spread of COVI D-19
        Key resources: emergency operations plans
                                                                                  Considerations for specific communal rooms in
                                                                                  you r facility
        Planning strategies

                                                                                   If a resident in you r facil ity has COVI D-19
        To mai nta i n safe operations
                                                                                   (suspected or confirmed)

        Encourage staff a nd residents to prepare a nd
                                                                                  Accepting new residents at facil ities that offer
        take action to protect themselves and others
                                                                                  support services
      The fol lowing g u id a nce was created to help owners,


https://www.cdc.gov/coronavirus/20 19-ncov/community/shared-congregate-house/guidance-shared-congregate-housing.html[S/2/202 1 I 0:24:20 AM]
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COVJD- 19 Guidance for Shared or Congregate Housing I CDC

    administrators, or operators of shared (also cal led "congregate") housing facil ities - working together with
    residents, staff, and pu blic hea lth officials - prevent the spread of COVID-19.

    For this guidance, sha red housing includes a broad range of settings, such as apartments, condom i n i u m s,
    student or facu lty housing, nation a l and state park staff housing, transition a l housi ng, and domestic violence
    and abuse shelters. Special considerations exist for the prevention of COVI D-19 in shared hou sing situations,
    and some of the fol lowi ng g u ida nce might not apply to you r specific shared housing situation.

    People l iving and working i n this type of housing may have chal lenges with social d istancing to prevent the
    spread of COVI D-19. Shared housing residents often gather together closely for social, leisure, a n d
    recreational activities, shared d i ni ng, and/or use of shared equipment, s u c h as kitchen applia nces, laundry
    facilities, stairwells, and elevators.

    Be sure to consider the u nique needs of you r residents, such as people with d isabilities, cogn itive decli n e, or
    no access to tech nology. This g u idan ce does not address i nfection prevention a n d control in healthca re
    settings. If you r facility offers hea lthca re services, please consult C DC I nteri m I nfection Prevention a n d Control
    Recommendations for Patients with Suspected or Confirmed Coronavirus Disease 2019 (COVID-19) in
    Hea lthca re Setti ngs

    There may also be specific guida nce for certa in types of sha red housing, such as homeless shelters, that may
    apply to you r facil ity.

    State, territorial, local, and tribal public health departments ca n g ive you specific i nformation on COVI D-19
    transmission and pol icies in you r com mu n ity, which can hel p you decide when and if you need to sca l e up or
    loosen prevention measures.



    Plan and prepare

    Review, update, and implement emergency operations plans (EOPs)
    Some shared housing facilities have a l ready experienced an outbreak of COVI D-19, others have a ha ndfu l of
    cases, a n d others have not yet had i nfection introdu ced. Rega rdless of the status of a facil ity, the most
    important thing is for a l l facilities to plan and prepare. No matter the level of tra nsmission i n a com m u n ity,
    every shared housin g facil ity should have a plan i n place to protect residents, workers, vol u nteers, a n d visitors
    from the spread of COVI D-19. This should be done in colla boration with state and loca l public health
    departments, housing authorities, local or state reg u latory agencies, and other rel eva nt partners. Focus
    should be on components, or a n nexes, of a lready-existing plans that add ress i nfectious disease outbrea ks. If
    you r shared housing facility does not have an emergency operations plans (EOP), now is the time to develop
    one.




https://www.cdc.gov/coronavirus/20 19-ncov/community/shared-congregate-house/guidance-shared-congregate-housing.html[S/2/202 1 I 0:24:20 AM]
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COVID-19 Guidance for Shared or Congregate Housing I CDC


    Reference key resources while developing, reviewing, updating, and
    implementing the EOP
       • M u ltiple federa l agencies have developed resources on emergency preparedness, which may be hel pful
           for administrators of shared housing facilities.
               - The Natio nal M u ltifa m i ly Housing Council (N H M C)                     provides g uidance on emergency
                   preparedness and response resou rces for the apartment industry. H U D a lso provides g u ida nce for
                   pu blic health disaster read iness and prepa ration
       • C DC has specific consideration for people with disabilit ies as they may be at h ig her risk of getting
           COVID-19 or having severe i l l ness.
       • Add itional ly, FE MA's P l a n ni ng Considerations for Orga nizations i n Reconstituting Operation s D u ri ng the
           COVID-19 Pandem ic            c    outlines key considerations for pla n ning to resume operations whi l e protecting
           the wel l - being and safety of employees and com m u n ities.



    Planning strategies to include:
       • I nforming residents, workers, vol unteers, and visitors a bout COVI D-19. Develop i nformation-sharing
           systems that a re ta ilored to the needs of you r setting. For instance, administrators ca n su pport residents
           who have no or limited access to the internet by delivering print materials to thei r residents. Pri ntable
            materials for com m u n ity-based settings are available on the C DC website.
       • Promoting hea lthy behaviors that red uce spread, mainta ining healthy environments and operations,
           and knowing what to do if someone gets sick.
       • Ta king action to prevent or s low the spread of COVI D-19. This i ncl udes l i m iting the n u m ber of non­
           essentia l visitors to workers, vol u nteers, and visitors who are essential to preserving the health, i ncluding
           the mental hea lth, wel l - bei ng, and safety of residents.
       • Consider identifying residents who have u n ique medical needs and behavioral health needs and
           encou rage them to develop a plan for if they or their primary ca regiver(s) become i l l .



    To maintain safe operations
       • Review the CDC guida nce for businesses and employers to identify strateg ies to maintai n operations
            and a healthy working and l iving environ ment.
       • Develop flexible sick leave pol icies. Req uire staff to stay home when sick, even without docu mentation
           from doctors. U se flexi bility, when possible, to a l low staff to stay home to care for sick fa m i ly or
            household mem bers or to care for children in the event of school or childcare dismissals. Make s u re
           that em ployees a re awa re of and u ndersta nd these policies.
       • Create plans to protect the staff and residents from spread of COVI D-1 9 a n d hel p them put i n place



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COVID- 1 9 Guidance for Shared or Congregate Housing I CDC

            personal preventive measures.
       • Routinely clean common spaces (such as, exercise rooms, lau ndry facilities, shared bathrooms, and
         elevators) and high touched surfaces and objects using soap or detergent at least once a day or as
         often as needed.
       • Identify services and activities (such as mea l programs, religious services, and exercise rooms and
         programs) that might need to be limited or temporarily discontinued. Consider a lternative solutions
         (e.g., virtual services) that will help programs continue while being safe for residents.
       • Identify a list of healthcare facilities and alternative care sites  where residents with COVI D-19 can
         receive appropriate care, if needed.


    Encourage staff and residents to prepare and take action to protect
    themselves and others
       • Follow the guidance and directives on community gatherings from you r state and local = hea lth
         departments.
       • Encourage social distancing by asking staff and residents to stay at least 6 feet (2 meters) apart from
         others and wear masks in any shared spaces, including spaces restricted to staff only.
       • Consider a ny special needs or accommodations for those who need to take extra precautions, such as
         older adults, people with disabilities, and people of any age who have serious underlying medical
         conditions.
       • Limit staff entering residents' rooms or living quarters unless it is necessary. Use virtual communications
         and check ins (phone or video chat), as appropriate.
       • Limit the presence of non-essential volunteers and visitors in shared areas, when possible.
       • Use physical barriers, such as sneeze guards, or extra tables or chairs, to protect front desk/check-in
         staff who wil l have interactions with residents, visitors, and the public.
       • P rovide COVID-19 prevention supplies for staff and residents in com mon areas at you r facility, such as
         soap, alcohol-based hand sanitizers that contain at least 60% alcohol, tissues, trash baskets, and, if
         possible, masks that are washed or discarded after each use.
       • Consider any special communications and assistance needs of you r staff and residents, including
         persons with disabilities.
       • Suggest that residents keep up-to-date lists of medical conditions a nd medications, and periodically
         check to ensure they have a sufficient supply of their prescription and over-the-counter medications.
       • If possible, help residents understand they can contact their healthcare provider to ask about getting
         extra necessary medications to have on hand for a longer period of time, or to consider using a mail­
         order option for medications.
       • Make sure that residents are aware of serious symptoms of their u nderlying conditions and of COVID-
         19 symptoms that require emergency care, and that they know who to ask for help and cal l 911.

https://www.cdc.gov/coronavirus/2019-ncov/community/shared-congregate-house/guidance-shared-congregate-housing.html[8/2/202 1 I 0:24:20 AM]
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       • E ncourage residents who live alone to seek out a "buddy" i n the facil ity who will check on and hel p care
           for them and safely make s u re they are getting basic necessities, including food and household
           essentials.

    Note: Surgical masks and N-95 respirators are critical supplies that must continue to be reserved for healthcare
    workers and other medical first responders, as recommended by current CDC guidance. All staff and residents
    should wear a mask covering when in shared areas of the facility and maintain social distancing to slow the
    spread of the virus.


    Communicate to staff and residents
    Identify platforms such as email, websites, hotli nes, automated text messag ing, newsletters, a n d flyers to help
    com m u nicate i nformation on:

       • Guida nce and d irectives from state and loca l officials and state and loca l � hea lth departments.
       • How you r facility is helping to prevent the spread of COVI D-19.
       • How additional information will be shared, and where to direct q uestions.
       • How to stay healthy, including videos. fact sheets. and posters with i nformation on COVI D-19
           symptoms and how to stop the spread of germs, how to wash your hands, and what to do if you are
           sick.
       •    How staff a nd residents can cope a nd manage stress and protect others from stigma a n d
           discrimination.
       • I dentify and address potential language, cultural, and d isability ba rriers a ssociated with com m u n icating
           COVI D-19 i nformation. Com m u n ications may need to be fra med or adapted so they a re cultura l ly
           a ppropriate for you r audience a nd easy to u ndersta nd. For exa m ple, there are resou rces on the C DC
           website that are in m a ny l a nguages.



    Considerations for common spaces in your facility, to prevent the
    spread of COVID- 1 9
       • Consider how you can use m ultiple strategies to mainta in social (physical) distance between everyone i n
           common spaces o f the facil ity.
       • Consider cancelling a l l public or non-essential g rou p activities and events.
       • Offer a lternative methods for activities and social i nteraction such as participation by phone, onl i ne, or
           th rough recorded sessions.

       • Arrange seating of chairs a n d tables to be least 6 feet (2 meters) a p a rt d u ring shared meals or other
           events.



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       • Alter sched u les to red uce mixing and close contact, such as staggering meal and activity times and
           forming small g roups that regu larly participate at the same times a nd do not mix.
       • M i n im ize traffic in enclosed spaces, such as elevators and sta irwells. Consider limiting the n u m ber of
            individuals i n a n elevator at one time and designating one directional stairwel l s, if possi ble.
       • E nsure that social distancing can be mainta ined i n shared rooms, such as television, ga me, or exercise
            rooms.

       • Make sure that shared rooms i n the facility have good a i r flow from a n a i r conditioner or an opened
           window.
       • Consider working with building maintenance staff to determine if the building ventilation system can be
            mod ified to i ncrease ventilation rates or the percentage of outdoor air that circu lates i nto the system .
       • Ge.an shared a reas (such as, lau ndry facilities, elevators, shared kitchens, exercise rooms, dining rooms)
           and high touched su rfaces (for exa mple, daily or as needed) .



    Considerations for specific communal rooms in your facility

    Shared kitchens and dining rooms
       • Restrict the nu m ber of people a llowed in the kitchen and dining room at one time so that everyone can
           stay at least 6 feet (2 meters) a part from one another.
               - People who a re sick, their roommates, and those who have higher risk of severe i l l ness from
                   COVI D-19 shou ld eat or be fed in their room, if possible.
       • Do not share dishes, d ri n king g l asses, cu ps, or eating utensils. Non-d isposable food service items u sed
            should be handled with g loves and washed with d ish soa p and hot water or in a d ishwasher. Wash
            hands after handling used food service items.
       • Use g loves when removing g a rbage bags and handling and d isposing of trash. Wash ha nds



    Laundry rooms
       • Maintai n access and adequate supplies to laundry facilities to help prevent spread of COVI D-19.
       • Restrict the n u m ber of people allowed i n l a u nd ry rooms at one time to ensure everyone can stay at
            least 6 feet (2 meters) apart.
       • Provide d isposable g loves, soa p for wa shing hands, and household clea ners for residents and staff to
           clean buttons, knobs, and handles of laundry machi nes, laundry baskets, a nd shared laundry items.
       • Post guidelines for doing laundry such as washing instructions a nd handl ing of dirty laundry.



    Recreational areas such as activity rooms and exercise rooms

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       • Consider closing activity rooms or restricting the number of people allowed in at one time to ensure
         everyone can stay at least 6 feet (2 meters) apart.
       • Consider closing exercise rooms.
       • Activities and sports (e.g., ping pong, basketball, chess) that require close contact are not
         recom mended.


    Pools and hot tubs
       • Consider closing pools and hot tubs or limiting access to pools for essential activities only, such as water
         therapy.
               - While proper operation, maintena nce, and disinfection (with chlorine or bromine) should kill
                 COVI D-19 in pools a nd hot tubs, they may become crowded and could easily exceed
                 recom mended guidance for gatherings. It can also be challenging to keep surfaces clean.
               - Considerations for shared spaces (maintaining physical distance and cleaning and
                 disinfecting surfaces) should be addressed for the pool and hot tub a rea and in locker rooms if
                 they remain open.


    Shared bathrooms
       • Shared bathrooms should be cleaned regularly (e.g., in the morning and evening or after times of
         heavy use).
       • Make sure bathrooms a re continuously stocked with soap and paper towels or automated hand dryers.
         Hand sanitizer could also be made available.
       • Make sure trash cans a re emptied regularly.
       • Provide information on how to wash hands properly. Hang .s.igm                                   in bathrooms.
       • Residents should be instructed that sin ks could be a n infection source and should avoid placing
         toothbrushes directly on counter surfaces. Totes could also be used for personal items to limit their
         contact with other surfaces in the bathroom.


    If a resident in your facility has COVID- 1 9 (suspected or confirmed)
       • Have the resident seek advice by telephone from a healthcare provider to determine whether medical
         evaluation is needed.
       • Residents are not required to notify administrators if they think they may or have a confirmed case of
         COVID-19. If you do receive information that someone in your facility has COVI D-19, you should work
         with the local health department      to notify anyone in the building who may have been exposed
         (had close contact with the sick person) while maintaining the confidentiality of the sick person as
         required by the Americans with Disabilities Act (ADA) and, if applicable, the Hea lth I nsura nce Portability

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            and Accountability Act (HI PAA).

        • Provide the ill person with information on how to care for themselves and when to seek medical
          attention.
        • Encourage residents with COVID-19 symptoms a nd their roommates and close contacts to self-isolate -
          limit their use of shared spaces as much as possible.

        •       - If possible, designate a separate bathroom for residents with COVID-19 symptoms.
                - Consider reducing cleaning frequency in bedrooms and bathrooms dedicated to persons with
                  COVID-19 symptoms to as-needed cleaning (e.g., soiled items and surfaces) to avoid u nnecessary
                  contact with the ill persons.
                - Follow gu idance on when to stop isolation .

        • Minimize the number of staff members who have face-to-face interactions with residents who have
          suspected or confirmed COVID-19.
        • Encourage staff, other residents, caregivers such as outreach workers, and others who visit persons with
          COVI D-19 symptoms to follow recommended precautions to prevent the spread.
        • Staff at higher risk of severe illness from COVI D-19 should not have close contact with residents who
          have suspected or confirmed COVID-19, if possible.
        • Those who have been in close contact (i.e., less than 6 feet (2 meters) with a resident who has
          confirmed or suspected COVI D-19 should monitor their health and call their healthcare provider if they
          develop symptoms suggestive of COVI D-19.
        • Be prepared for the potential need to transport persons with suspected or confirmed COVI D-19 for
          testing or non-urgent medical care. Avoid using public transportation, ride-sharing, or taxis. Fol low
          guidelines for cleaning and disinfecting a ny transport vehicles.


    Accepting new residents at facilities that offer support services
    First, review and follow the guidance and directives from you r state and local officials.

    If you r situation is not restricted by their guidance and directives, then consider the following guidance:

        •       - At check-in, provide any new or potential resident with a clean mask and keep them isolated from
                  others. Shelters can use this tool to screen for symptoms at entry.
                - Medical evaluation may be necessary depending on the symptoms.

        • If your facility is full, you r facility space is inadequate to maintain physical distancing (such as is
          recommended in the gu idance for homeless shelters), or you do not have the resources (staff,
          prevention supplies) to accept additional residents, reach out to community- or faith-based
          organizations to help meet individuals' needs, including:


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                - A safe place to stay
                - Ability to obtain basic necessities, such as food, personal hygiene products, and medicine
                - Access to any needed medical or behavioral health services
                - Access to a phone or a device with internet access to seek out resou rces and virtual services and
                  support


    Additional CDC resources to help prevent spread of COVID- 1 9 in
    shared or congregate housing settings
    More detailed guidance is available for specific types of facilities. Some of the information in these guidance
    documents is applicable to that specific type of facility only, and some of the information would be applicable
    to other congregate housing facilities.

        • How to Protect You rself & Others
        • Assisted living facilities
        • Retirement communities and independent living
        • Homeless shelters
        • Community- and fa ith -based orga nization s
        • Colleges a nd universities
        • Hou seholds with suspected or confirmed COV ID




                                                                                                                           Last Updated Dec. 31, 2020


           Community, Work, & School

         Vaccination

         Health Equ ity - Promoting Fair Access to Health

         Cleaning, Disinfecting, & Ventilation

         Workplaces & Businesses

         Schools & C hild Care



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            Colleges & Universities

            Parks, Sports, & Recreation

            Community Organizations & Gatherings

            Retirement & Shared Housing

            Homeless Populations

            Correctional & Detention Facilities

            Tribal Communities

            Guidance for COVID-19

            Commun ication Resources

            What's New

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        I     COVI D-19 Guidance for Shared or Congregate H ousing




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                                         Ned Lamont
                                             GOVERNOR
                                       STATE OF CONNECTICUT




 March 10, 2020

 The Honorable Denise Merrill
 Secretary of the State
 State Capitol Hartford, CT 06106

 Frederick J. Jortner
 Clerk of the State House of Representatives
 State Capitol
 Hartford, CT 06016

  Michael Jefferson
' Clerk of the State Senate
  State Capitol
  Hartford, CT 06016



 RE: Declaration of Public Health and Civil Preparedness Emergencies

 Dear Secretary Merrill and Clerks of the General Assembly:

 In response to the global pandemic of COVID 19 disease associated with a novel coronavirus
 that is currently affecting multiple countries and states and has resulted in the spread of
 infections in Connecticut and surrounding states, as well as resulting shortages of personal
 protective equipment and other supplies that could jeopardize public safety and civil
 preparedness, and in order to provide me and other appropriate officials with all authorities
 necessary to limit the spread of the COVID 19 coronavirus and protect public safety within the
 State of Connecticut, I hereby declare a public health emergency and civil preparedness
 emergency throughout the State, pursuant to Sections 19a-1 3 1 a and 28-9 of the Connecticut          I



 General Statutes. Such public health emergency and civil preparedness emergency shall remain
 in effect through September 91\ 2020, unless terminated earlier by me.

 Specifically, in accordance with Connecticut General Statutes Section 19a-13 1 a (f), I hereby
 authorize and direct the Commissioner of Public Health to delegate the powers regarding
 isolation or quarantine to municipal and district directors of public health. Municipalities, local


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                                  TEL (860) 566-4840 • www.governor.ct.gov
                                          Governor. Lamonr@ct.gov
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     health officials, and local education officials are directed to follow previously issued guidance
     and apply relevant principles of risk management to decisions about whether to cancel, modify,             ,      I

     or postpone large gatherings, public events, or travel.

     Orders regarding additional measures to protect public health and safety, including suspension or
     modification of specific statutes, will follow as I detennine to be necessary.

     I am filing this declaration with you under my hand and seal on this 10th day of March 2020.


                                                 f'J Le���
                                                  Ned Lamont
                                                  Governor




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       U P DATE
       Getting vaccinated p revents severe i l fness, hospitalizations, a nd death. U nvaccinated people shou ld
       get vaccinated a nd conti nue masking u ntil they a re ful ly vaccinated . With the Delta varia nt, this is more
       u rgent than ever. CDC has u pdated guidance for ful ly vaccinated people based on new evidence on
       the Delta variant.




    o Back to COVID- 1 9 Home


    Vacci nes Work
    Updated May 20, 2021



    Print




       What You Need to Know
            • Resea rch shows that a l l COVI D-19 vaccines authorized for use i n the U nited States provide
                protection agai nst COVI D-19.
            • C DC and other experts a re continuing to assess how COVI D-19 vacci nes work i n rea l -world
               conditions. These types of stud ies a re cal led "vaccine effectiveness" studies.




    What We Know about How Well COVID- 1 9 Vaccines

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    Are Working
    COVI D-19 vacci nation red uces the risk of COVI D-19 a nd its potentia l ly severe complications. A l l COVI D-19
    vaccines currently a uthorized for use i n the U nited States hel ped protect people against COVI D-19,
    including severe i l l n ess, i n clinical trial setti ngs. So far, studies that have looked at how COVI D-19 vaccines
    work i n real -world conditions (vaccine effectiveness studies) have shown that these vaccines a re working
    wel l .

    M ost vaccine effectiveness data now available are related to m R N A vaccines (Pfizer- BioNTech a nd
    M oderna) because these vaccines have been available longer. CDC a nd other experts conti nue to study
    the effectiveness of both m R N A vacci nes and the Joh nson & Johnso n's J anssen (J &J/Janssen) COVI D-19
    vacci ne i n real-world cond itions.



    So Far, Research on mRNA COVID- 1 9 Vaccine
    Effectiveness in Real-World Conditions Is Reassuring
    Vaccine effectiveness stud ies provide a g rowi ng body of evidence that m R N A COVI D -1 9 vaccines offer
    similar p rotection in real -world conditions as they have in clinical trial settings, red ucing the risk of COVI D -
    1 9, including severe i l l ness, a mong people w h o a re fu l ly vaccinated by 9 0 percent o r more. Most vaccine
    effectiveness data n ow available a re related to mRNA vacci nes. Data related to the J &J/J anssen vaccine wi l l
    b e shared when ava i lable.

    In add ition to provid i ng protection agai nst COVI D -1 9, there is i ncreasing evidence that COVI D -1 9 vaccines
    a l so provide protection agai nst COVID-19 i nfections without sym ptoms (asymptomatic i nfections). COV I D -
    1 9 vacci nation c a n reduce the spread of disease overall, helping p rotect people a round you.



    Research Suggests That for mRNA COVID- 1 9 Vaccines,
    Two Doses Are Better than One
    Rea l -world data from vacci ne effectiveness studies have shown that receivi ng only one dose of these
    m R N A COVI D -19 vaccines p rovides some p rotection against C OVI D-19, at least in the short term. These
    studies have also shown that for mRNA vaccines, two doses p rovide better protection tha n o ne dose. To
    receive the most benefit from vacci nation, people should get the recommended nu m ber of doses of
    vacci ne.



    COVID- 1 9 Vaccines Help Protect against Severe Illness
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    with COVID- 1 9 Vaccine Breakthrough Cases
    While COVI D-19 vaccines a re working well, some people who are fu lly vaccinated agai nst COVI D-19 wi ll sti ll
    get sick, because no vaccines a re 100% effective. These are called vaccine breakthrough cases. H owever,
    there are some data to suggest that vacci nation may make sym ptoms less severe i n people who are
    vaccinated but sti l l get COVI D-19. mRNA COVI D-19 vaccines h ave been shown to provide protection
    again st severe i l l ness and hospitalization among people of all ages el igi ble to receive them. This i ncl udes
    people 65 years and older who a re at hig her risk of severe outcomes from COVI D-19.

    It typically ta kes a bout 2 weeks for the body to build protectio n after vaccination. You are fu lly vaccinated
    two weeks after you r second dose of Pfizer or Moderna vacci ne a nd two weeks after you r single dose of
    J &J/Janssen vaccine. It is possible you could still get COVI D-19 soon after vaccination becau se you r body
    has not had enoug h time to build ful l protection. Keep taking precautions u ntil you are fu l ly vacci nated .


        C DC Recommends
           • Get a COVI D-19 vaccine as soon as you can .
           • To g et the most protection, get a l l recom mended doses of a COVID-19 vaccine.




    COVID- 1 9 Vaccines and New Variants of the Virus

    What we know
    N ew variants of the virus that causes COVI D-19 are spread i ng i n the U n ited States and i n other parts of the
    world. Current data suggest that COVID-19 vaccines authorized for u se in the United States offer
    protection against most variants currently spreading i n the U n ited States. However, some varia nts might
    cause i l lness i n some people even after they are fully vacci nated.



    What we do not know
    Evidence is li mited on how the new COVI D-19 variants will affect how COVID-19 vacci nes work i n real­
    world conditions. C DC wil l continue to monitor how vacci nes are worki ng to see if vari a nts have a ny impact
    o n how wel l COVI D-19 vaccines work in real -world conditions.


        More details: Learn more about COVI D-19 varia nts.


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           Vaccines

         Getting Your Vaccine

         Types of Vaccines Available

         Possible Side Effects

         After You're Fu l ly Vaccinated

         Safety & Monitoring

    I    Effectiveness

             Vaccines Work


             Why CDC Measures Vaccine Effectiveness

             How CDC Monitors COVID-19 Vaccine Effectiveness

         Myths & Facts

         Frequently Asked Questions

         About COVI D-19 Vaccines

         Commu nication Resources




           f- -] Get E m a il U pdates

           To receive email updates about COVI D-19, enter your email address:


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CDC Real-World Study Confirms Protective Benefits of mRNA COVID- 19 Vaccines I CDC Online Newsroom I CDC




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      Study involved health care personnel, first responders, and essential workers in six
      states

               Press Release

               E m bargoed u nti l : 1 1 a.m. ET, Monday, M a rch 29, 2021
               Contact: Media Relations
               (404) 639-3286



               A new C DC study provides strong evidence that mRNA COVID-19 vacci nes a re highly effective in
               preventi ng SARS-CoV-2 i nfections in rea l -world conditions a mong health care person nel, fi rst
               responders, and other essentia l workers. These g roups a re more l i kely than the general population to
               be exposed to the vi rus because of their occupations.

               The study looked at the effectiveness of Pfizer- BioNTech and Moderna m R N A vaccines in p reventing
               SARS-CoV-2 infections among 3,950 study participants i n six states over a 1 3 -week period from
               December 14, 2020 to March 1 3, 2021.

               Results showed that fol lowi ng the second dose of vacci ne (the recommended n u m ber of doses), risk
               of infection was red uced by 90 percent two or more weeks after vaccination . Fol lowing a single dose
                                                              1
               of either vaccine, the participa nts risk of infectio n with SARS-CoV-2 was reduced by 80 percent two
               or more weeks after vaccination.




https://www.cdc.gov/media/releases/202 1/p0329-COVID- 1 9-Vaccines.html[8/2/202 1 I 0:26:33 AM]
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       vaccine effectiveness fi nd ings are consistent with those from P hase 3 cli nical trials conducted with the
       vaccines before they received Emergency Use Authorizations from the Food and D rug Ad ministration.
       Those clinica l trials eval u ated vacci ne efficacy against COVI D-19 disease, while this study evaluated
       vaccine effectiveness against infection, including infections that did not resu lt i n sym ptoms.

       "This study shows that our national vacci nation efforts a re working. The authorized mRNA COVI D-19
       vaccines provided early, su bstantial real -world protection against i nfection for our nation's health care
        person nel, first responde rs, and other frontline essential workers, " said C DC D i rector Rochel le P.
       Walensky, M D, M P H . "These findings shou ld offer hope to the m i l l ions of Americans receivi ng COVI D-
       19 vacci nes each day and to those who wi l l have the opportunity to roll u p their s leeves and get
       vaccinated in the weeks ahead. The authorized vaccines a re the key tool that wi l l help bring an end to
       this devastating pandemic."

       One of this stu dy's strengths is its design: participants self-collected nasal swabs each week for RT­
        PCR la boratory testing, regard less of whether they had developed sym ptoms of i l l ness. Researchers
       were able to look for evidence of SARS-CoV-2 infection i rrespective of symptoms. A sma l l n u m ber
        (10.7 percent) of i nfections i n this study were asymptomatic (i .e., did not res u lt i n sym ptoms) . However,
       the maj ority of i nfections (58 percent) occurred among people whose i nfections were identified by
       testing before they developed sym ptoms or knew they were i nfected . The study demonstrates that
       these two m R N A vaccines can red u ce the risk of all SARS-CoV-2 i nfections, not j u st sym ptomatic
       infections.

       This i s i m portant because preventi ng both asymptomatic and pre-symptomatic i nfections a mong
       health care workers and other essentia l workers through vaccination can help prevent the s pread of
       SARS-CoV-2 to those they ca re for or serve. Findings from this study com plement earl ier reports that
       these two m R NA COVI D -19 vaccines can red u ce both asymptomatic and sym ptomatic SARS-CoV-2
       i nfections.

       This study also p rovided positive news a bout partial (one-dose) vaccination. The one-dose VE
       estimate of this study (80 percent) is consistent with othe r recent VE studies fol lowi ng the fi rst dose of
        Pfizer-BioNTech vaccine among health care providers. Stu dies conducted i n the U n ited Ki ngdom and
        I s rael showed that one dose was a bout 70 percent and 60 percent effective, respectively, against
       SARS-CoV-2 i nfection. The current results p rovide reassurance that people start to develop
       protection from the vaccine two weeks after their first dose. The g reatest protection was seen among
       those who had received both recom me nded doses of the vacci ne.

       This C DC study was cond ucted through the H E ROES-R ECOVE R network, a network of prospective
       cohorts that share a com mon protocol and methods. This network is part of a vaccine effectiveness
       surveillance system made possible by fede ra l pandemic flu p repared ness fu nding.

       This study is the first of many planned COVI D-19 vaccine effectiveness studies C DC is cond ucti ng to

https://www.cdc.gov/media/releases/202 l /p0329-COVID-1 9-Vaccines.html[8/2/202 1 1 0:26:33 AM]
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        evaluate the benefits of COVI D-19 vaccines i n various popu lations and across different outcomes,
        such as preventin g i nfections, doctor's visits, hospitalizations, or deaths. Resu lts from these studies
        assist the medical and public health experts on the Advisory Committee on I mm u nization P ractices
        and CDC to make important vaccine policy decisions a imed at savi ng lives.



                                                                         ###
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        U P DATE
        Getting vaccinated p revents severe il l ness, hospitalizations, a nd death. U nvacci nated people should
        get vacci nated a nd conti nue masking until they are fu lly vacci nated . With the Delta va ria nt, this is more
        u rgent than ever. CDC has updated guidance for fu lly vaccinated people based on new evidence on
        t h e Delta variant.




    □ Back to COVID- 1 9 Home


        Benefits of Getti ng Vaccinated
    Updated June 15, 2021

    I    Languag �s



    Print




    COVID- 1 9 vaccines are safe
         • COVI D-1 9 vaccines were developed using science that has been around for decades.
         • COVI D-1 9 vaccines a re not experimenta l. They went throug h all the requ ired stages of clinical trials.
              Extensive testing a nd monitoring have shown that these vaccines are safe and effective.
         • COVI D-19 vaccines have received and conti nue to u ndergo the most i ntensive safety monitoring i n
           U . S . history. Learn more a bout how federal partners are ensu ri ng COVI D-19 vaccines work.



    COVID- 1 9 vaccines are effective

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        • COVI D 19-vaccines a re effective. They ca n keep you from getting and s pread ing the vi rus that cau ses
            COVI D-19. Lea rn more about the d ifferent COVID-1 9 vacci nes.
        • COVI D-19 vaccines also hel p keep you from getting seriously i l l even if you do get COVI D-19.
        • Getting vacci nated you rself may also protect people a round you, particularly people at i ncreased risk
            for severe illness from COVI D-19.



    Once you are fully vaccinated, you can start doing more
        • After you a re fu l ly vaccinated for COVI D-19, you can resume many activities that you did before the
            pandemic. You can resume activities without wea ri ng a mask or stayi ng 6 feet apart, except where
            requ i red by federal, state, local, tribal, o r territorial laws, rules, a nd reg u l ations, including local
            business and workplace guidance.
        • People a re not considered ful ly vacci nated u nti l 2 wee ks after their second dose of the Pfizer­
            BioNTech or M oderna COVI D-1 9 vacci ne, or 2 wee ks after a sing le-dose of Johnson & Johnson's
            Janssen COVI D-1 9 vaccine. You should keep using a l l the tools available to protect you rself and
            others u ntil you a re fu l ly vaccinated .
        • Learn more a bout COVI D-1 9 vacci nation for people with u nderlying medical conditions or wea kened
            i m mune systems.



    COVID- 1 9 vaccination is a safer way to help build
    protection
        • Get vaccinated rega rd less of whether you a l ready had COVI D-19. Studies have shown that
            vacci nation p rovides a strong boost i n p rotection i n people who have recovered from C OVI D-19, .
        • Lea rn more a bout the cli nical considerations for people were treated for COVI D-19 with monoclonal
            a nti bod ies or convalescent plasma, or history of m ultisystem i nflammatory synd rome in ad u lts or
            children ( M I S-A o r M I S-C).
        • COVI D-19 is stil l a threat to people who a re u nvacci nated . Some people who get COVI D-19 ca n
            become severely i l l, which could result i n hospitalization, a nd some people have ongoing health
            problems several weeks or even longer after getti ng i nfected. Even people who did not have
            symptoms when they were i nfected can h ave these ongoing health problems.



    Immunity after COVID- 1 9 vaccination
        • There is sti l l a lot we a re learning about COVI D-19 vaccines a nd CDC i s constantly reviewing evidence


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             and u pdating guidance. We don't know how long protection lasts for those who a re vaccin ated .
        • What we do know is that COVI D-19 has caused very serious i l l ness and death for a lot of people.
        • If you get COVI D-19, you also risk g iving it to loved ones who may get very sick. Getting a C OVI D-19
             vaccine is a safer choice.
        • At this time, there are limited data on vaccine effectiveness i n people who a re i m m unocom promised,
             i nclud i ng those taking immu nosu ppressive med ications. Learn more about the considerations for
             fu l ly vaccinated people who a re i mmu nocompromised.



    None of the COVID- 1 9 vaccines can make you sicl( with
    COVID- 1 9
    None of the COVI D-19 vacci nes contai n the l ive virus that causes COVI D-19 so a COVI D-19 vaccine can not
    make you sick with COVI D-19. Lea rn more Facts about COVI D-19 Vacci nes




        Related Pages
         >    Frequently Asked Questions a bout COVI D-19 Vaccination

         >    Ensuring the Safety of COVI D-19 Vaccines in the U n ited States




                                                                                                    Last U pdated June 15, 2021


       D     Vaccines


         Getting You r Vacci ne


         Types of Vaccines Available


         Possible Side Effects


         After You're F u l ly Vaccinated



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    G u id a nce for Fu l ly Vacci nated People
    Updated J u ly 28, 2021

    I.   Languages



    P rint




    Summary of Recent Changes

                                                                                                                           □

               • U pd ated i nformation for fu l ly vaccinated people given new evidence on the B.1.617.2 (Delta)
                     variant currently circulating in the U n ited States.
              • Added a recom mend ation for ful ly vaccinated people to wea r a mask i n public indoor setti ngs
                     i n a reas of substa ntial or high transmission.
              • Added i nformation that fu l ly vaccinated people might choose to wea r a mask regard less of
                     the level of transmission, particularly if they are i m m u nocompromised o r at i ncreased risk for
                     severe d isease from COVI D-19, or if they have someone i n thei r household who is
                     i m munocompromised, at i ncreased risk of severe disease or not fu l ly vacci n ated.
              • Added a recommendation for fu l ly vaccinated people who have a known exposure to
                     someone with suspected or confi rmed COVI D-19 to be tested 3 - 5 days after exposu re, a nd to
                     wea r a mask i n public i ndoor settings for 14 days or u ntil they receive a negative test result.
              • CDC recommend s universa l i ndoor maski ng for a l l teachers, staff, students, a nd visitors to
                     schools, reg ardless of vaccination status.



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         View P revious Updates




    Key Points
    The fol lowi ng recom mendations apply to non-healthca re settings. For related i nformation for healthcare
    setti ngs, visit Updated Healthcare I nfection Preventio n and Control Reco m mendations in Response to
    COVID-19 Vacci nation .

    F u l ly vaccinated people ca n:

        • Participate in many of the activities that they did before the pandem ic; for some of these activities,
            they may choose to wear a mask.
        • Resume domestic travel and refrai n from testi ng before or after travel a nd from self-q u a ra nti ne after
            travel .
        • Refrain from testing before leaving the United States for international travel (un less requ i red by the
            desti nation) and refrai n from self-quarantine after a rrivi ng back in the U n ited States.
        • Refra in from routine screening testing if feasi ble.

    I nfections ha ppen in only a small proportion of people who a re fu l ly vaccinated, even with the Delta
    variant. H owever, p reli minary evidence suggests that fu l ly vaccinated people who do become infected with
    the Delta variant can spread the virus to others. To red uce their risk of becoming i nfected with the Delta
    variant and potentia l ly spread i ng it to others: CDC recommends that fu l ly vacci nated people:

        • Wea r a mask i n public i ndoor setti ngs if they a re in a n a rea of substa ntia l o r high trans mission.
                - F u l ly vacci nated people might choose to mask regard less of the l evel of transmission,
                    pa rticula rly if they o r someone in thei r household is immu nocompromi sed or at increased risk
                    for severe disease, or if someone i n thei r household i s u nvaccinated . People who a re at
                    i ncreased risk for severe d isease i nclude older adults and those who have certai n medical
                    conditions, such as diabetes, overweight o r obesity, and heart cond itions.
        • Get tested if experienci ng COVI D-19 symptoms.
        • Get tested 3 - 5 days fol l owi ng a known exposure to someone with suspected or confi rmed COVI D-19
            and wear a mask i n pu blic indoor settings for 14 days after exposu re or u ntil a negative test result.
        • I solate if they have tested positive for COVI D-19 i n the prior 10 d ays or a re experiencing COVI D-19
            symptoms.
        • Follow any applicable federa l, state, local, tribal, or territorial laws, rules, and regulations.

    People who a re i m m u nocompromised should be counseled about the potentia l for red uced i mmune

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    responses to COVI D-19 vacci nes and to fol low current prevention measu res (i ncluding wearing a mask,
    stayi ng 6 feet apart from others they don't l ive with, and avoiding crowd s a nd poorly ventilated i ndoor
    spaces) rega rd less of their vaccination statu s to protect themselves against COVI 0-19 u ntil advised
    otherwise by their hea lthca re p rovider.



       On This Page

       Overview                                                                    Recommendations for O utdoor Settings


       Guid i ng P ri nciples for F u l ly Vacci nated People                      Recommendations for Travel


       Recom mendation s for I ndoor Settings                                      Recom mendations for I solation, Quaranti ne
                                                                                   and Testi ng

    Overview
    C u rrently authorized vacci nes in the U nited States a re hig hly effective at p rotecti ng vaccinated people
    against sym ptomatic a nd severe COVID-19. Fully vaccinated people a re less l i kely to become i nfected a nd,
    if i nfected, to develop sym ptom s of COVI D-19. They a re at substantially red uced risk of severe i l l ness a nd
    death from COVI D-19 compared with u nvaccinated people.

    I nfections in fu l ly vacci nated people (breakth rough infections) happen in only a small proportion of people
    who a re ful ly vaccinated, even with the Delta variant. Moreover, when these i nfectio ns occur a mong
    vaccinated people, they tend to be mild. However, preliminary evidence suggests that fu l ly vacci n ated
    people who do become i nfected with the Delta variant can be i nfectious and ca n spread the virus to
    others.

    For the pu rposes of this g uidance, people a re considered fu l ly vacci nated for C OVI D-19 :?:2 weeks after
    they have received the second d ose i n a 2 -dose series (Pfizer- BioNTech or Moderna), or :?:2 weeks after
    they have received a sing le-dose vacci ne (Johnson & Johnson [J &J]/J a n ssen) t _ There is cu rrently no post­
    vaccination time l i m it on fu l ly vacci nated status. People a re considered not fu lly vaccinated if they have not
    completed a two-d ose vaccination series or have not received a single-dose vacci ne, regard less of age,
    i ncluding child ren u nder the age of 12.

    Data suggest immune response to COVID-19 vacci nation might be red uced in some immu nocom promised
    people i ncluding, but not l i m ited to, people receivi ng chemotherapy for cancer, people with hematolog ic
    cancers such as chronic lymp hocytic leukemia, people receivi ng stem cells or organ transplants, people
    receivi ng hemodia lysis, and people using certai n med ications that might b l u nt the immune response to
    vacci nation (e.g., mycophenolate, rituxi mab, azathioprine, a nti-CD20 monoclonal a ntibodies, B ruton



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    tyrosine kinase inhi bitors).

    People who a re immu nocom p romised should be counseled a bout the potentia l for red uced i m m u ne
    responses to COVI D-19 vaccines a nd the need to conti nue to follow cu rrent p revention measu res
    (i nclud ing wea ring a mask, stayi ng 6 feet apart from others they don't l ive with, a nd avoiding crowds a nd
    poorly venti lated i ndoor spaces) to protect themselves against COVI D-19 u ntil advi sed otherwise by thei r
    healthcare p rovider. Close contacts of immunocom promised people shou ld also b e encou raged t o be
    vacci nated against COVI D-19.

    This guidance provides recommendations for fu lly vacci nated people, including:

        • How fu l ly vaccinated people can safely resume many activities while protecting others.
        • H ow ful ly vaccinated people shou ld approach domestic and international travel.
        • H ow ful ly vaccinated people should approach isolation, q ua ra nti ne, a nd testi ng.

    C DC wi l l continue to evaluate a nd u pdate public health recommendations for fu l ly vaccinated people as
    more i nformation, including o n Delta and other new va ria nts, becomes avai l a ble. Further i nformation on
    evidence and considerations related to these recommendations i s avai lable i n the Science Brief.



    Guiding Principles for Fully Vaccinated People
        • O utdoor activities pose minimal risk to fu l ly vaccinated people.
        • M ost indoor activities pose low risk to ful ly vaccinated people, especia l ly i n a reas with low o r
            moderate tra nsmission.
        • I nfections happen i n o n ly a small proportio n of people who a re fu l ly vaccinated, even with the Delta
            varia nt.
        • F u l ly vaccinated people who become i nfected with the Delta varia nt can transmit it to others.

    To reduce their risk of becoming i nfected with the Delta va ria nt a nd potentia l ly spreading it to others, C DC
    recommends that fu l ly vaccinated people:

        • Wea r a mask i n public i ndoor setti ngs if they a re i n a n a rea of substantial or high transmission.
                - Fully vacci nated people might choose to mask rega rd less of the level of transmission,
                     particularly if they o r someone i n their household is immunocompromised or at i ncreased risk
                    for severe disease, or if someone in their household is u nvaccinated .
        • Get tested if experienci ng COVI D-19 symptoms.
        • I solate if they h ave tested positive for COVI D-1 9 i n the prior 10 d ays or a re experiencing COVI D-19
            symptoms.


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        • Get tested 3-5 days after exposu re to someone with suspected o r confi rmed COVI D-19 and wear a
            mask i n public i ndoor settings for 14 days after exposu re or u ntil they receive a negative test resu lt.
        • Conti nue to follow a ny a pplicable federal, state, local, tribal, o r territorial l aws, rules, and reg u l ations.



    Recommendations for Indoor Settings
    Risk of SARS-CoV-2 infection, severe disease, and death is red uced for fu l ly vaccinated people. Thou g h
    they ha ppen i n only a sma l l proportion of people who a re fu l ly vaccinated, some infections do occ u r
    among fu l ly vaccinated people. F u l ly vaccinated people who do become i nfected with the Delta variant can
    transmit it to others. Therefore, fu l ly vaccinated people can fu rther red uce their risk of becoming i nfected
    with the Delta variant and transmitting it to others by wearing a mask i n public indoor setti ngs i n a reas of
    substa ntia l or high com m u nity transmission. Wearing a mask in public is most i m portant for people who
    a re i m m u nocompromised. F u l ly vaccinated people might choose to mask regard less of the level of
    transmission, particularly if they or someone in their household is i m m u n ocompromised o r at increased risk
    for severe disease, or if someone in their household is u nvaccinated . People at increased ris k for severe
    d isease i ncludes older adu lts and those who have certai n medical conditions, such as diabetes, overweig ht
    or obesity, and heart cond itions. Members of the household who a re u nvacci nated include: a ny persons
    who have not com pleted vacci nation, who ca n not be vacci nated, and those who a re not elig i ble for
    vacci nes, including childre n less than 12 years of age. F u l ly vaccinated people should also contin u e to wear
    a mask where req u i red by federal, state, local, tribal, or territorial laws, ru les, and regulations, i nc l uding
    local busi ness and workplace g u idance, and i n correctional facilities and homeless shelters. P reve ntion
    measu res a re sti l l recommended for u nvacci nated people.

    CDC recommends universa l i ndoor masking for all teachers, staff, students, and visitors to schools,
    reg a rd less of vacci nation statu s. Children shou ld return to fu ll-ti me in-pe rson learning in the fal l with
    proper prevention strategies in place.



    Recommendations for Outdoor Settings
    C u rrent d ata suggest the risk of transmission of SARS-CoV-2 in outdoor setti ngs is minimal. I n genera l, fu l ly
    vaccinated people do not need to wear a mask outdoors. F u l ly vaccinated people might choose to wear a
    mask i n c rowded outdoor setti ngs if they or someone i n thei r household i s i m m u nocom promised.



    Travel
    Fully vacci nated travelers a re less l i kely to get and spread SARS-CoV-2 and can now travel at low risk to
    themselves withi n the U n ited States. I nternational travelers need to pay c lose attention to the situation at


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    their i nternational desti nations before traveling due to the spread of new varia nts and because the burden
    of COVI D-19 varies g lobal ly.

    Wearing a mask over you r nose and mouth is required on planes, bu ses, trai ns, a nd other forms of public
    transportatio n traveling i nto, withi n, o r out of the U nited States and whi le i ndoors at U.S. tra nsportation
    hubs such as ai rports a nd stations. Travelers a re not req u i red to wea r a mask in outdoor a reas of a
    conveya nce (like on open deck a reas of a ferry or the u ncovered top deck of a bus).



    Domestic travel (within the United States or to a U.S. territory)
        • F u l ly vaccinated travelers do not need to get a SARS-CoV-2 viral test before or after domestic travel,
            u nless testing is req u i red by local, state, o r territorial health a uthorities.
        • F u l ly vacci nated travelers d o not need to self-quara ntine fol lowi ng domestic travel .
        • For more i nformation, see Domestic Travel During COVID-19.



    International travel
        • Fully vacci nated travelers do not need to get tested before leaving the U nited States u n less req u i red
            by thei r desti nation.
        • F u l ly vacci nated air travelers coming to the U nited States from abroad, i ncluding U . S . citize ns, a re stil l
            requ ired to have a negative SARS-CoV-2 viral test resu lt or docu mentation of recovery from COVI D-
            1 9 before they board a fl ight to the U nited States.
        • I nternational travelers a rrivi ng i n the U nited States a re sti l l recom me nded to get a SARS-CoV-2 viral
            test 3 - 5 days after travel rega rd less of vaccin ation status.
        • F u l ly vaccinated travelers do not need to self-quara ntine in the U n ited States fol lowi ng i nternational
            travel .
        •   For more i nformation, see I nternational Travel During COVI D-19.

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    Recommendations for Isolation, Quarantine and Testing
    The followi ng recommend ations apply to non- healthcare setti ngs. Guida nce for residents and staff of
    healthcare setti ngs can be fou nd i n the Updated H ealthcare I nfection P revention Control
    Recommendations in Response to COVI D-19 Vacci nation.




https://www.cdc.gov/coronavirus/20 19-ncov/vaccines/fully-vaccinated-guidance.html[S/2/202 1 1 0:27: 1 2 AM]
                          Case 3:21-cv-00924-JAM Document 17 Filed 08/02/21 Page 151 of 234
Interim Public Health Recommendations for Fully Vaccinated People I CDC


    Fully vaccinated people with COVID- 1 9 symptoms
    Although the risk that fu lly vaccinated people could become infected with COVI D-19 is low, a ny fu lly
    vaccinated person who experiences symptoms consistent with COVI D-19 should isolate themselves from
    others, be cli nically eva l u ated for COVI D-19, and tested for SARS-CoV-2 if ind icated. The sym ptomatic fully
    vaccinated person should i nform their healthcare p rovider of their vaccination status at the time of
    presentation to care.



    Fully vaccinated people with no COVID-like symptoms following
    an exposure to someone with suspected or confirmed COVID- 1 9
    Fully vaccinated people should be tested 3-5 days fol l owi ng a known exposu re to someone with suspected
    or confi rmed COVI D-19 and wear a mask in public i ndoor settings for 14 days or u ntil they receive a
    negative test resu lt. They should isolate if they test positive. Fully vaccinated people who l ive i n a
    household with someone who is immunosu ppressed, at increased risk of severe disease, or u nvaccinated
    (including children <12 yea rs of age) cou ld also consider masking at home for 14 days followi n g a known
    exposure or u ntil they receive a negative test resu lt. Most fu lly vacci nated people with no COVI D-like
    symptoms do not need to qua ra nti ne or be restricted from work fol lowing a n exposu re to someone with
    suspected or confi rmed COVI D-1 9, if they fol low the testi ng a nd m asking recommendation a bove.

    Fully vaccinated people should monitor for symptoms of COVI D-19 for 14 days fol lowi ng a n exposu re.



    Fully vaccinated people with no COVID- 1 9-like symptoms and no
    known exposure to someone with suspected or confirmed COVID-
    19
    It is recom mended that fu l ly vacci nated people with no COVI D-19- l i ke sym ptoms a nd no known exposure
    should be exem pted from routi ne screening testing prog rams, if feasible.

                                                                                                               Top of Page




         □
        For Hea lthca re P rofessiona ls
        COVI D-19 Clinical Resources



https://www.cdc.gov/coronavirus/20 1 9-ncov/vaccines/fully-vaccinated-guidance.html[8/2/202 1 I 0:27: 12 AM]
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Interim Public Health Recommendations                             I CDC
                                      for Fully Vaccinated PeopleDocument           17 Filed 08/02/21 Page 152 of 234




    tThis g uidance applies to COVI D-19 vaccines currently authorized for emergency use by the U.S. Food and Drug
    Administration: Pfizer-BioNTech, Moderna, and Johnson & Johnson (J&J)/Janssen COVI D-19 vaccines. This guidance can
    also be applied to COVI D-19 vaccines that have been authorized for emergency use by the World Health Organization
    (e.g. AstraZeneca/Oxford).



    Previous Updates

                                                                                                                                 □

         As of J u ly 27, 2021

             • Added a recommendation for fu l ly vaccinated people to wear a mask i n public i ndoor
                 setti ngs in a reas of su bstantial or hig h transmission.

         As of J u ly 1 6, 2021

             • U pdated considerations for people who are immunocompromised

         As of J u ly 12, 2021

             • U pdated Choosing Safe r Activities infog ra phic with new considerations for the exa m ple
                 activity for outdoor g atheri ngs with fu l ly vaccinated and u nvacci nated people.




         □                   □
                                                                                                                Last Updated July 28, 2021


           Vacci nes

         Getting You r Vaccine


         Types of Vaccines Available


         Possible Side Effects


https://www.cdc.gov/coronavirus/20 1 9-ncov/vaccines/fully-vaccinated-guidance.html[8/2/202 1 I 0:27: 1 2 AM]
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Interim Public Health Recommendations for Fully Vaccinated People I CDC


    I    After You're Fully Vaccinated

             Guida nce for Fully Vaccinated People

         Safety & Monitoring


         Effectiveness


         Myths & Facts


         Frequently Asked Questions


         About COVI D-19 Vaccines


         Communication Resou rces




           □ Get Email U pdates
           To receive email u pdates a bout COVI D-19, enter you r email add ress:


           : E m a i l Add ress
           What's this?




https://www.cdc.gov/coronavirus/20 1 9-ncov/vaccines/fully-vaccinated-guidance.html[8/2/2021 l 0:27: 1 2 AM]
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       Tagalog

       PyccKv1 f:1




       Kreyol Ayisyen



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       Portugues

       Italiano

       Deutsch

       DD □

       UWJ�

       English




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                                                             Document                   Filed 08/02/21 Page 156 of 234
Selected Adverse Events Reported    COVID-19 Vaccination I CDC    H     M




         Back to COVID- 1 9 Home



        Reported Adve rse Eve nts
    U pdated July 26, 2021

    I    Languages



    P rint




         Safety of COVI D-1 9 Vaccines
         Some people have no side effects. M a ny people have reported side effects that may affect their
         ability to do daily activities, but they should go away withi n a few d ays.


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    What You Need to Know
         • COVI D-19 vaccines a re safe and effective.

         • M i l l ions of people i n the U n ited States have received COVI D-19 vaccines u nder the most i ntense
              safety monitori ng in U . S . history.

         • CDC recommends everyone 12 years and older get vaccinated as soon as possible to help protect
           agai nst COVI D-19 and the related, potentially severe compl ications that can occur.
         • C DC, the U.S. Food and Drug Ad ministration (FDA), and other federal agencies are monitoring the
              safety of COVI D-19 vacci nes.
         • Adverse events described on this page have been reported to the Vaccine Adverse Event Reporting



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            System (VAE RS)          □
        • VAE R S accepts reports of any adverse event fol lowing a ny vacci nation.
        • Reports of adverse events to VAE R S fol lowi ng vacci nation, i ncluding deaths, do not necessarily mean
            that a vaccine caused a health problem.



       Serious adverse events after COVI D-19 vaccination a re rare but may occur.



    For public awareness and i n the i nterest of tra nsparency, CDC is p roviding ti mely u pdates o n the fol lowi ng
    serious adverse events of i nterest:

        • Anaphylaxis after COVI D-19 vaccination is rare and has occurred i n approxi mately 2 to 5 people
            per m i l lion vaccinated i n the United States. Severe al lergic reactio ns, including anaphylaxi s, can occu r
            after a ny vacci nation . I f this occu rs, vaccination providers c a n effectively a nd i mmediately treat the
            reaction. Learn more a bout COVI D-19 vaccines a nd allergic reactio ns, including anaphyl axis.
        • T h rombosis with thrombocytopenia syndrome (TTS) after Johnson & Johnson's J anssen
            (J&J/Ja nssen) COVID-19 vaccination is rare. As of J u ly 2 6, 2021, more than 13 m i l lion doses of the
            J &J/Janssen COVI D-19 Vaccine have been g iven in the U nited States. CDC and FDA identified 39
            confi rmed reports of people who got the J &J/Janssen COVI D-19 Vacci ne a nd l ater developed TTS.
            Women younger than 50 years old especia l ly should be aware of the rare but i ncreased risk of this
            adverse event. There a re other COVI D-19 vacci ne options available for which this risk has not been
            seen. Learn more about J&J/Janssen COVID-19 Vaccine and TIS
                - To date, two confirmed cases of TTS followi ng mRNA COVI D-19 vacci natio n (Moderna) have
                    been reported to VAE R S after more than 328 mil l ion doses of mR NA COVI D-19
                    vacci nes ad ministered i n the U n ited States. Based o n available data, there i s not a n i ncreased
                    risk for TTS after mRNA COVI D-19 vacci nation.
        • C DC a nd FDA a re monitoring reports of G u i llain- Barre Syndrome (G BS) i n people who h ave received
            the J &J/Janssen COVI D-19 Vaccine. G BS is a ra re disorder where the body's i m m u ne system damages
            nerve cells, causing muscle wea kness and sometimes para lysis. Most people fu l ly recover from G BS,
            but some have permanent nerve d a mage. After more than 1 3 mil lion J &J/Ja nssen COVI D-19 Vaccine
            doses administered, there have been a round 137 preliminary reports of GBS identified in VAE RS as of
            J u ly 22. These cases h ave largely been reported a bout 2 weeks after vaccination and mostly in men,
            many 50 yea rs and older. C DC wi l l conti nue to monitor for a nd eval uate reports of G BS occurring
            after COVI D-19 vaccination and wil l share more i nformation as it becomes ava i l able.
        • Myocarditis a nd pericard itis after COVI D-19 vaccination a re rare. As of J u ly 2 6, 2021, VAE R S has
            received 1,194 reports of myocard itis or perica rd itis among people ages 30 and you nger who
            received COVI D-19 vaccine. Most cases h ave been reported after m R N A COVI D-19 vaccination

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             ( Pfizer-BioNTech or Moderna), particu larly in male adolescents and you n g adu lts. Through follow-u p,
             i ncluding medical record reviews, C DC a nd F DA have confi rmed 699 reports of myocarditis or
             pericarditis. C DC and its partners are i nvestigating these reports to assess whether there is a
             relationship to COVI D-19 vacci nation. Learn more about COVI D-19 vaccines and myoca rditis.
        • Reports of death after COVI D-19 vaccination are rare. More than 342 m i l l ion doses of COVI D-19
             vacci nes were ad ministered in the United States from Decem ber 14, 2020, th rough J u ly 2 6, 2021.
             During this time, VAE R S received 6,340 reports of death (0.0019%) among people who received a
             COVI D -19 vaccine. F DA req u i res healthca re providers to report a ny death after COVI D-19 vaccinatio n
             t o VAE R S, even if it's u nclear whether the vaccine was t h e cause. Reports of a dverse events to
             VAERS following vaccination, includi ng deaths, do not necessarily mea n that a vaccine
             caused a health problem. A review of avai lable clinical i nformation, i ncludi n g death certificates,
             autopsy, and medical records, has not established a causal lin k to COVI D-19 vaccines. H owever,
             recent reports i ndicate a plausible causal relationship between the J&J/Janssen COV I D-19 Vaccine
             and TTS, a rare a nd serious adverse event-blood clots with low platelets-which has caused deaths.



        Rel ated Pages
         >    Safety of COVI D-19 Vaccines

         >    Vaccine Adverse Event Reporting System (VAERS): What Reports Mean and How VAE R S Works




                                                                                                              Last Updated July 26, 2021


        D    Vacci nes

         Getti n g Your Vaccine

         Types of Vaccines Available


         Possi ble Side Effects

         After You're Fully Vaccinated


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         Safety & Monitoring
    I

             V-safe


             Allergic Reactions

             Safety of COVI D-19 Vaccines


                 J &J/Janssen U pdate


                 Myocarditis and Pericarditis


                 Reported Adverse Events


             Vaccine Reporting Systems


         Effectiveness


         Myths & Facts


         Frequently Asked Questions


         About COVI D-19 Vacci nes


         Commu nication Resources




           □ Get Email U pdates
           To receive email u pdates about COVI D-1 9, enter you r email address:


            E m a i l Add ress
           What's this?




        HAVE QUESTIONS?


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                                                                   Document       17Health
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California Implements First-in-the-Nation Measures to Encourage State Employees and        Care Workers to Get Vaccinated I California Governor




              ) GAVI N N EWSOM                                              Home                       Newsroom
                                                                                                                         '-------.-..,..la

        the-Nation Measures to                                                                                           Recent News
        Encourage State Employees                                                                                                  Governor

        a nd H ea lth Care Workers to
                                                                                                                                   Newsom
                                                                                                                                   An nou nces

        Get Vacci nated                                                                                                            Appoi ntments
                                                                                                                                   7.30.21
        Published : J u l 26, 202 1
        State employees and health care workers must show proof of                                                                 Governor
        vaccination or get tested regularly                                                                                        Newsom
                                                                                                                                   S igns
        State encourages all local governments and businesses to                                                                   Emergen cy
        adopt similar measures                                                                                                     Proclamation
        SACRAME NTO - Today, the State of California is taking                                                                     to Exped ite
        decisive actio n to com bat the spread of COVI D-1 9 and protect                                                           C lea n
        vulnerable com m u n ities - i mplementing a first-i n-the-nation                                                          Energy
        standard to req u i re all state workers and workers in health care                                                        Projects and
        and high-risk cong regate settings to either show proof of ful l                                                           Relieve
        vaccination o r b e tested a t least once per week, and encourage                                                          Demand o n
        all local g overn ment and other employers to adopt a similar                                                              the Electrical
        protocol .                                                                                                                 G rid Duri ng
                                                                                                                                   Extreme
        "We are now dealing with a pandemic of the u nvaccinated , and
                                                                                                                                   Weather
        it's going to take renewed efforts to protect Cal iforn ians from the
                                                                                                                                   Events This
        dangerous Delta variant," said Governor Gavin N ewsom . "As
                                                                                                                                   Su m mer as
        the state's largest employer, we are lead ing by example and
                                                                                                                                   Climate
        requiring all state and health care workers to show proof of
                                                                                                                                   Crisis
        vaccination or be tested reg ularly, and we are encoura g ing local
                                                                                                                                   Threatens
        govern ments and businesses to do the same. Vaccines a re safe
                                                                                                                                   Western

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California Implements First-in-the-Nation                         Document
                                          Measures to Encourage State             17Health
                                                                      Employees and     Filed   08/02/21
                                                                                           Care Workers        Page 163
                                                                                                        to Get Vaccinated      of 234
                                                                                                                          I California Governor

        - they protect o u r family, those who tru ly can't get vaccinated ,
                                                                                                                                  States
        our children and o u r economy. Vaccines are the way we end
        this pandemic."                                                                                                           Followi ng
                                                                                                                                  Governor
        California will also be req u iring health care settings to verify that
                                                                                                                                  Newsom's
        workers are fu lly vaccinated or tested reg ularly. U nvaccinated
                                                                                                                                  First-in-the­
        workers will be subject to at least weekly COVI D-1 9 testing and
                                                                                                                                  N ation
        will be req uired to wear appropriate PPE. This req uirement also
                                                                                                                                  Vaccination
        applies to hig h-risk congregate settings like ad u lt and senior
                                                                                                                                  Measures,
        residential facilities, homeless shelters and jails. These steps
                                                                                                                                  California
        will help protect vulnerable patients and residents.
                                                                                                                                  Employers
        The new pol icy for state workers wil l ta ke effect Aug ust 2 and                                                        Follow Suit
        testing wi l l be phased i n over the next few weeks. The new                                                             California
        policy for health care workers and cong regate facilities wi l l take                                                     Governor
        effect on August 9 , and health care facilities wil l have u ntil                                                         Newsom
        August 23 to come into ful l compliance.                                                                                  S u rveys
        Despite Californ ia lead ing the n ation in vacci n ations, with more                                                     Tamarack
        than 44 m i llion d oses administered a nd 75 percent of the                                                              Fire
        eligible popu lation h aving received at least one d ose, the state                                                       Damage
        is seeing increasing numbers of people who refused to get the                                                             with
        vaccine being admitted to the I C U and dying . This i ncrease is                                                         Nevada
        heavi ly d u e to the Delta variant, wh ich is more contagious a nd                                                       Governor
        kills people faster:                                                                                                      Siso lak,
                                                                                                                                  Meets with
              • As of last week, Californ ia's statewide case rate more
                                                                                                                                  Fire and
                tha n quadru pled from a l ow i n May of 1 . 9
                                                                                                                                  Emergency
                cases/1 00,000/day to at least 9 . 5 cases/1 00,000.
                                                                                                                                  Officials at
              • Our testing positivity was at a low of 0.7 percent in J u ne,
                                                                                                                                  Incident
                now it has risen to 5.2 percent.
              • Our hospital izations were at a low in J u ne of u nder 900,                                                      Command
                and we are now approach ing 3 , 000.                                                                              Center
              • The vast majority of new cases are among the                                                                      Governor
                u nvaccinated , with 600 percent h igher case rates a mong                                                        Newsom
                the u nvaccinated than for those who are vaccinated .                                                             Signs
                                                                                                                                  Legislatio n
        "California has admin istered more vaccines than a ny other
                                                                                                                                  to Make
        state, with 75 percent of those eligible having g otten at least

https://www.gov.ca.gov/... implements-first-in-the-nation-measures-to-encourage-state-employees-and-health-care-workers-to-get-vaccinated/[8/2/202 1 I 0:29:00 AM]
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California Implements First-in-the-Nation                         Document
                                          Measures to Encourage State             17Health
                                                                      Employees and    Filed    08/02/21
                                                                                           Care Workers        Page 164
                                                                                                        to Get Vaccinated I California
                                                                                                                               of 234  Governor


                                                                                                                                       College
        one dose, and we were weeks a head of meeting P resident
                                                                                                                                       More
        Biden's 70 percent goal. But we m ust do more to fight
                                                                                                                                       Affordable
        d isinformation and encourage vacci ne-hesitant com m u n ities
                                                                                                                                       and
        and individ uals," said Health and H u man Services Secretary Dr.
                                                                                                                                       Accessible
        Mark Ghaly. "The Delta variant is up to 60 percent more
                                                                                                                                       in
        infectious than the Alpha strain but many times more infectious
                                                                                                                                       Ca liforn ia
        than the orig inal C OVI D-1 9 stra in . If you have been waiting to
        get vaccin ated , now is the ti me."
                                                                                                                            Archives
        The State of Californ ia rema ins com mitted to keeping the state's
        economy open while ensuring that employees fee l safe in the                                                                   J u ly 202 1
        workplace. To that end, the state is encourag ing employers to                                                                 J u n e 202 1
        ensure that their employees are vaccinated , and will lead by
                                                                                                                                       May 202 1
        example by implementing new vaccination measu res for state
        and health care workers.                                                                                                       Apri l 202 1
                                                                                                                                       March
        I n add ition to these new measures, the state contin ues its
                                                                                                                                       202 1
        efforts to vaccinate Californians. Last week, California
        surpassed 2 million newly vaccinated individ uals since                                                                        February
        lau nching its incentive prog ram , Vax for the Wi n . The program                                                             202 1
        increased H P I 01 vaccinations, and i ncreased d oses                                                                         J a n uary
        ad min istered to the Latinx popu lation by 1 0 percent. It a lso                                                              202 1
        successful ly slowed the rate of decline that California was
                                                                                                                                       December
        experiencing in vaccination rates . The program's peak showed
                                                                                                                                       2020
        a 33 percent i ncrease in vacci nations, "outpaci ng the i noculation
        trends in m uch of the country," incl uding more recently a 4.4                                                                November
        percent i ncrease for the week ending J u ly 1 4 - a promising sign                                                            2020
        in California, as vaccination rates declined n ationwide.                                                                      October
                                                                                                                                       2020
        In the preliminary data for the week ending J uly 2 5th , we've
        seen an increase of 1 6 percent in the n u mber of people getting                                                              September
        their fi rst d oses of the Joh nson and J oh nson vacci ne, from                                                               2020
        220,294 two weeks ago to 254 , 807 this past week. We are                                                                      August
        seeing this trend very broad ly, representing 5 1 o ut of 58                                                                   2020
        cou nties.
                                                                                                                                       J u ly 2020
        Other Vaccine Outreach and Equ ity Efforts. California has
                                                                                                                                       J u n e 2020
        proactively engaged in a m u lti-pronged outreach a nd incentives

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California Implements First-in-the-Nation Measures to Encourage State Employees and Health Care Workers to Get Vaccinated I California Governor


        strategy to reach holdouts, especially in com m u n ities hardest h it                                                    May 2020
        by the pandemic and those who h ave been particu larly reticent                                                           Apri l 2020
        (e.g . , homebound, lim ited transportation and flexibil ity, h igher                                                     March
        vaccine h esitancy and/or living in a more remote area). Efforts                                                          2020
        have become more surgical and continue to be d ata d riven :
                                                                                                                                  February
        transitioning from m ass sites to smaller, more targeted efforts,
                                                                                                                                  2020
        and conti n u ing to i ntensify o u r o utreach and edu cation efforts by
        deploying mobile capacity, and to otherwise m ake it easier for                                                           January
        people to access vaccines. S uch outreach/incentive efforts to                                                            2020
        ach ieve g reater equ ity have i ncluded :                                                                                December
        Multimedia and Multicultural Public Education Campaigns. The                                                              20 1 9
        Let's Get to I mm u n ity Campaign is now accompan ied by a                                                               Novem ber
        youth 1 2+ cam paign reaching fam ilies. Efforts a re leveraging                                                          20 1 9
        partnerships with over 400 eth nic med ia outlets that cover over
                                                                                                                                  October
        25 languages, including i nd igenous languag es.
                                                                                                                                  20 1 9
        'Get Out the Vaccine ' Phone Bank and Door-Knocking                                                                       September
        Campaign. Mod eled after successfu l g round-level cam paigns,                                                            20 1 9
        the state "Get O ut the Vaccine" effort coord inates with 70
                                                                                                                                  August
        com m u n ity-based organ izations. As of J u ly 1 3, the "Get Out the
                                                                                                                                  201 9
        Vaccine" cam paig n has resulted in 1 . 3 million conversations to
        promote vaccin ation via personal phone calls and d oo r-to-door                                                          J u ly 201 9
        canvassing i n less advantaged neig h borhoods i n Californ ia.                                                           June 201 9
        Supporting Community Organizations for Outreach, Direct                                                                   May 2 0 1 9
        Appointment Assistance and Referrals. California's investment
                                                                                                                                  April 20 1 9
        and public-private partnerships total $1 27.7 mill ion in support of
        approxim ately 500 comm u n ity-based organ izations for o utreach                                                        M arch
                                                                                                                                  201 9
        to u nderserved comm u n ities. A su bset of these organ izations
        have already facil itated approxi mately 1 84,986 vaccine                                                                 February
        appointments and 7 1 0 ,429 referra ls to appointment p latforms or                                                       201 9
        providers.                                                                                                                January
        Health Care Provider-Based Efforts. A new com m u n ity provider                                                          20 1 9
        g rant progra m called the CalVaxG rant, (beginning J u ly 1 2
        through Aug u st 1 3), is intended to reimburse practices u p to Categories
        $55, 000 to set u p their offices as small, com m u n ity-based

https://www.gov.ca.gov/... implements-first-in-the-nation-measures-to-encourage-state-employees-and-health-care-workers-to-get-vaccinated/[8/2/202 l I 0:29:00 AM]
                         Case 3:21-cv-00924-JAM Document 17 Filed 08/02/21 Page 166 of 234
California Implements First-in-the-Nation Measures to Encourage State Employees and Health Care Workers to Get Vaccinated I California Governor

                                                                                                                                 "On the
        COVI D-1 9 vacci nation sites. As trusted messengers, doctors,
                                                                                                                                 Record"
        pediatricians and providers can proactively reach community
                                                                                                                                 Colu m n
        mem bers as well as answer q u estions when patients come into
        their offices. The Department of Health Care Services is also
        working to increase the vaccin ation rates of Medi-Cal recipients                                                        Executive
        including: engaging managed ca re plans i n weekly calls,                                                                Orders
        encourag i ng their o utreach to patients, sharing weekly                                                                FAQs
        beneficiary vaccination data and disseminating a Quality
        I mprovement Postcard with strateg ies and tech niqu es to                                                               Media
        address vacci ne hesitancy.                                                                                              Advisories
                                                                                                                                 OFP Press
        Community/Business Partnerships
                                                                                                                                 Releases
              • Barbers hops : "Helping Commu nities Help Themselves"
                                                                                                                                  P ress
                is a partnership with the Black Beauty and Wellness
                                                                                                                                  Releases
                Foundation that has establ ished 1 00 statewide barber
                shops, beauty shops and beauty su pply stores as                                                                  Proclamations
                com m u n ity-based COVI D-1 9 resou rce centers. Shops                                                          Top Story
                and stylists are promoti ng information a bo ut vaccines and
                maski ng up u ntil you are vaccin ated .
              • Higher Ed ucational I nstitutions : The ca m paign has
                engaged the CCC, CSU , and U C systems, as wel l as the
                AICCU (Association of I ndependent Californ ia Colleges
                and U n iversities) to share i nformation a bo ut the Vaccinate
                ALL 58 cam paign and opportu n ities to partner and
                enco u rage more students to g et vaccin ated so they can
                safely retu rn to ca mpus. Each of these g roups was
                provid ed a customizable tool kit.
              • School-Based Organizations : School based
                organ izations are assisting with a back-to-school push
                th ro u g h a tool kit and earned media opportu n ities.
              • Faith-Based Outreach : Faith-based o rgan izations and
                leaders are trusted messengers in their com m u n ities.
                Th ro u g h these networks, the campaig n is able to provide
                clear, factual a nd accu rate information about vaccines to
                faith leaders and their com m u n ities. Many of these
                partnersh ips have led to co-hosting vacci ne clin ics in the


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California Implements First-in-the-Nation                         Document
                                          Measures to Encourage State             17Health
                                                                      Employees and     Filed   08/02/21
                                                                                           Care Workers        Page 167
                                                                                                        to Get Vaccinated I California
                                                                                                                               of 234  Governor

                faith com m u n ities .
              • McDonald's: McDonald's is hosti ng over 1 50 vaccination
                pop-up clinics at more than 80 restau rant locations in 1 1
                different LHJs across the state. 1 07 h ave already been
                com pleted.
              • Six F lags : More tha n 42 , 000 of 50,000 available Six Flag
                tickets h ave been distributed at 1 00 partici pating vaccine
                locations th ro ughout the state , main ly in low-income a nd
                high-need areas. Nearly every participating provider
                reported that the ticket incentive helped improve patient
                tu rnout, with one provider saying tickets hel ped
                encou rage patients' fa mily members to get vaccinated .
                Another provider reported seeing a larg e u ptick in teens
                decid ing to get vacci nated to get a ticket.

                                                            ###




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VA mandates COVID- 1 9 vaccines 3:21-cv-00924-JAM            Document
                                    its medical employees including          17 staff
                                                                    VHA facilities Filed   08/02/21 Page 168 of 234




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   Office of Public and Intergovernmental Affairs

     VA mandates COVID-19 vaccines among its medical employees including VHA facilities
     staff
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         VA mandates COVID-19 vaccines among its medical employees including
                                VHA facilities staff

     WASHI NGTON - July 26 Department of Veterans Affairs Secretary Denis McDonough announced he will make COVI D-1 9
     vaccines mandatory for Title 38 VA health care personnel - including physicians, dentists, podiatrists, optometrists, registered
     nurses, physician assistants, expanded-function dental auxiliaries and chiropractors - who work in Veterans Health
     Administration facilities, visit VHA facilities or provide direct care to those VA serves.

     VA is taking this necessary step to keep the Veterans it serves safe .


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VA mandates COVID- 1 9 vaccines 3:21-cv-00924-JAM             Document
                                     its medical employees including         17 staff
                                                                     VHA facilities Filed   08/02/21 Page 169 of 234


     Each employee will have eight weeks to be fully vaccinated.

     "We're mandating vaccines for Title 38 employees because it's the best way to keep Veterans safe, especially as the Delta variant
     spreads across the country," McDonough said. "Whenever a Veteran or VA employee sets foot in a VA facility, they deserve to
     know that we have done everything in our power to protect them from COVID- 1 9 . With this mandate, we can once again make -
     and keep - that fun damental promise. "

     The department's decision i s supported b y n umerous medical organizations including the American Hospital Association,
     America's Essential Hospitals and a M ultisociety group of the leading I nfectious Disease Societies. The American Medical
     Association, American Nurses Association, American College of Physicians, American Academy of Pediatrics, Association of
     American Medical Colleges, and National Association for Home Care and Hospice also endorsed mandating COVID- 1 9
     vaccination for health care workers.

     In recent weeks, VA has lost four employees to COVI D- 1 9 - all of whom were unvaccinated . At least three of those
     employees died because of the increasingly prevalent Delta variant. There has also been an outbreak among unvaccinated
     employees and trainees at a VA Law Enforcement Training Center, the third such outbreak d uring the pandemic.

     All VA employees are eligible to be vaccinated at no personal expense at any of our facilities. Employees will also receive four
     hours of paid administrative leave after demonstrating they have been vaccinated. Information in these FAQs or clinician and
     Veteran videos has details about the vaccine, its safety and effectiveness.

     The safety and wellbeing of our Veterans and personnel is paramount.

                                                                                ###




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     (Slip Opinion)

          Whether Section 564 of the Food, Drug, and Cosmetic
           Act Prohibits Entities from Requiring the Use of a
          Vaccine Subject to an Emergency Use Authorization
     Section 564(e) ( l )(A)(ii)(III) of the Food, Drug, and Cosmetic Act concerns only the
        provision of information to potential vaccine recipients and does not prohibit public or
        private entities from imposing vaccination requirements for a vaccine that is subject to
        an emergency use authorization.

                                                                                   July 6, 202 1

                           MEMORANDUM OPINION FOR THE
                          DEPUTY COUNSEL TO THE PRESIDENT

        Section 5 64 of the Food, Drug, and Cosmetic Act ("FDCA"), 2 1 U.S.C.
     § 3 60bbb-3 , 1 authorizes the Food and Drug Administration ("FDA") to
     issue an "emergency use authorization" ("EUA") for a medical product,
     such as a vaccine, under certain emergency circumstances. This authoriza­
     tion permits the product to be introduced into interstate commerce and
     administered to individuals even when FDA has not approved the product
     for more general distribution pursuant to its standard review process.
     Section 5 64 directs FDA-"to the extent practicable" given the emergen­
     cy circumstances and "as the [agency] finds necessary or appropriate to
     protect the public health"-to impose "[a]ppropriate" conditions on each
     EUA. FDCA § 564(e)( l )(A). Some of these conditions are designed to
     ensure that recipients of the product "are informed" of certain things,
     including "the option to accept or refuse administration of the product."
     Id. § 564(e )( 1 )(A)(ii)(III).
        Since December 2020, FDA has granted EUAs for three vaccines to
     prevent coronavirus disease 20 1 9 ("COVID - 1 9"). In each ofthese author­
     izations, FDA imposed the "option to accept or refuse" condition by
     requiring the distribution to potential vaccine recipients of a Fact Sheet
     that states: "It is your choice to receive or not receive [the vaccine] .
     Should you decide not to receive it, it will not change your standard
     medical care." E.g. , FDA, Fact Sheet for Recipients and Caregivers at 5
     (revised June 25, 202 1 ), https://www.fda.gov/media/ 1 444 14/download

        1 Because it is commonly referred to by its FDCA section number, and for the sake of
     simplicity, we will refer to this provision as section 564, rather than by its United States
     Code citation.
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                                 45 Op. O.L.C. _ (July 6, 202 1 )

     ("Pfizer Fact Sheet"). In recent months, many public and private entities
     have announced that they will require individuals to be vaccinated against
     COVID- 1 9-for instance, in order to attend school or events in person, or
     to return to work or be hired into a new j ob. We will refer to such policies
     as "vaccination requirements," though we note that these policies typical­
     ly are conditions on employment, education, receipt of services, and the
     like rather than more direct legal requirements. 2
        In light of these developments, you have asked whether the "option to
     accept or refuse" condition in section 5 64 prohibits entities from impos­
     ing such vaccination requirements while the only available vaccines for
     COVID- 1 9 remain subject to EU As. We conclude, consistent with FDA' s
     interpretation, that it does not. This language in section 564 specifies only
     that certain information be provided to potential vaccine recipients and
     does not prohibit entities from imposing vaccination requirements. 3

                                                 I.
                                                 A.
        Federal law generally prohibits anyone from introducing or delivering
     for introduction into interstate commerce any "new drug" or "biological
     product" unless and until FDA has approved the drug or product as safe
     and effective for its intended uses. See, e.g. , FDCA § § 3 0 l (a), 505(a), 2 1
     U.S.C. § § 3 3 l (a), 3 5 5(a); 42 U. S . C § 262(a). A vaccine i s both a drug and
     a biological product. See FDCA § 2 0 l (g), 2 1 U.S.C § 3 2 l (g); 42 U.S.C.
     § 262(i)( l ) . Consistent with section 5 64, we will generally refer to it here
     as a "product." See FDCA § 564(a)(4)(C) (defining "product" to mean "a
     drug, device, or biological product").



        2 For an example of the latter, see our discussion in Part II.B ofa hypothetical military
     order to service members.
        3 We do not address whether other federal, state, or local laws or regulations, such as
     the Americans with Disabilities Act ("ADA"), might restrict the ability of public or pri­
     vate entities to adopt particular vaccination policies. See, e.g., Equal Employment Oppor­
     tunity Commission, What You Should Know A bout COVID-1 9 and the ADA, the Rehabili­
     tation Act, and Other EEO Laws (updated June 28, 202 1 ), https://www. eeoc.gov/wysk/
     what-you-should-know-about-covid- 1 9-and-ada-rehabilitation-act-and-other-eeo-laws
     (discussing the ADA).

                                                  2
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          Requiring the Use of a Vaccine Subject to an Emergency Use Authorization

        In 2003, Congress addressed a problem raised in emergency situations
     where "the American people may be placed at risk of exposure to biolog­
     ical, chemical, radiological, or nuclear agents, and the diseases caused
     by such agents," but where, "[u]nfortunately, there may not be approved
     or available countermeasures to treat diseases or conditions caused by
     such agents," even though "a drug, biologic, or device is highly promising
     in treating [such] a disease or condition." H.R. Rep. No. 1 08- 1 47, pt. 1 ,
     at 2 (2003). President George W. Bush had flagged this problem in his
     2003 State of the Union Address, in which he proposed Project Bio Shield,
     a legislative initiative "to quickly make available effective vaccines
     and treatments against agents like anthrax, botulinum toxin, Ebola, and
     plague ." Address Before a Joint Session of the Congress on the State
     of the Union (Jan. 28, 2003), 1 Pub . Papers of Pres. George W . Bush
     82, 86 (2003). Among the principal components of the proposed Project
     BioShield legislation were provisions to enable FDA to authorize medical
     products for use during emergencies even before they are proven to be
     safe and effective under ordinary FDA review. See, e.g. , H.R. 2 1 22, 1 08th
     Cong. § 4 (2003 ). At that time, the only alternative to ordinary FDA
     approval was 2 1 U.S.C. § 3 5 5(i), which authorizes FDA to exempt drugs
     from the ordinary approval requirements where the drug is "intended
     solely for investigational use by experts qualified by scientific training
     and experience to investigate the safety and effectiveness of drugs." Such
     a cabined investigational new drug ("IND") exemption does not, however,
     allow the widespread dissemination of a drug for general public use in
     response to an emergency. See H.R. Rep. No. 1 08- 147, pt. 1 , at 2.
        Congress enacted a version of the Project BioShield legislation's EUA
     provision in the National Defense Authorization Act for Fiscal Year 2004
     as section 564 of the FDCA. See Pub. L. No. 1 08-1 36, § 1 603 (a), 1 1 7
     Stat. 1 3 92, 1 684 (2003) (codified at 2 1 U.S.C. § 3 60bbb-3). 4 Section 564
     authorizes the Secretary of Health and Human Services ("HHS")-who
     has delegated to FDA the authorities under the statute at issue here-to
     authorize the introduction into interstate commerce of a drug, device, or
     biological product intended for use in an actual or potential emergency
     even though the product has not yet been generally approved as safe and


        4 The statute has been amended since, including when Congress enacted the Project
     BioShield Act the following year. See Pub. L. No. 1 08-276, § 4(a), 1 1 8 Stat. 835, 853
     (2004).

                                                3
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     effective fo r its intended use. FDCA § 5 64(a)(l )-(2); see also FDA,
     Emergency Use Authorization ofMedical Products and Related Authori­
     ties: Guidance for Industry and Other Stakeholders at 3 n.6 (Jan. 20 1 7)
     ("EUA Guidance") (noting delegation of most of the Secretary's authori­
     ties under section 5 64 to FDA). 5
        The most pertinent part of section 5 64 for purposes of your question
     has remained materially the same since Congress first enacted the statute
     in 2003 . Subsection ( e )( 1 )(A), 6 titled "Required conditions," provides:
           With respect to the emergency use of an unapproved product, the
           Secretary, to the extent practicable given the applicable [emergency]
           circumstances . . . , shall, for a person who carries out any activity
           for which the authorization is issued, establish such conditions on an
           authorization under this section as the Secretary finds necessary or
           appropriate to protect the public health, including [ certain specified
           conditions] .


        5 The current version of section 564(a) ( l ) provides in full:
            Notwithstanding any provision of this chapter and section 3 5 1 of the Public Health
            Service Act, and subject to the provisions of this section, the Secretary may author­
            ize the introduction into interstate commerce, during the effective period ofa decla­
            ration under subsection (b), ofa drug, device, or biological product intended for use
            in an actual or potential emergency (referred to in this section as an "emergency
            use").
     The "declaration under subsection (b)" refers to a declaration by the Secretary "that the
     circumstances exist justifying" an EUA, which must be made "on the basis" of one or
     more types of emergencies or threats. FDCA § 5 64(b)( 1 ). FDA can grant an EUA where,
     "based on the totality of scientific evidence available to the Secretary, including data from
     adequate and well-controlled clinical trials, ifavailable," FDA finds that "it is reasonable
     to believe," among other things, that "the product may be effective in diagnosing, treat­
     ing, or preventing" a "serious or life-threatening disease or condition" caused by a "bio­
     logical, chemical, radiological, or nuclear agent or agents" (a standard less onerous than
     for final approval of the product); that "the known and potential benefits of the product,
     when used to diagnose, prevent, or treat such disease or condition, outweigh the known
     and potential risks of the product"; and that "there is no adequate, approved, and available
     alternative to the product for diagnosing, preventing, or treating such disease or condi­
     tion." FDCA § 564(c).
        6 Subsection (e)( l ) applies to a product that FDA has not approved as safe and effec­
     tive for any intended use, whereas subsection (e)(2) applies to an unapproved use of an
     otherwise approved product. The COVID- 1 9 vaccines fall under the former category, but
     the statute applies the condition at issue here to the latter category as well. See FDCA
     § 564(e)(2)(A).

                                                  4
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          Requiring the Use ofa Vaccine Subject to an Emergency Use Authorization

     The statute then l ists a number of such conditions, including " [a]p­
     propriate conditions designed to ensure that individuals to whom the
     product is administered are informed" of certain information. FDCA
     § 564( e )( 1 )(A)(ii). This information includes the fact that FDA "has
     authorized the emergency use of the product," "the significant known and
     potential benefits and risks of such use," and "the extent to which such
     benefits and risks are unknown." Id. § 564(e)( l )(A)(ii)(I)-(Il). Most
     relevant here, section 5 64(e)(l )(A)(ii)(III) directs FDA to impose condi­
     tions on an EUA "designed to ensure that individuals to whom the product
     is administered are informed . . . of the option to accept or refuse admin­
     istration of the product, of the consequences, if any, of refusing admin­
     istration of the product, and of the alternatives to the product that are
     available and of their benefits and risks."
        In the same section of the 2004 National Defense Authorization
     Act, Congress also enacted another provision, codified as 1 0 U . S . C .
     § 1 1 07a, which i s specific t o the U.S. military and which expressly refers
     to the "option to accept or refuse" condition described in section
     564(e)( l )(A)(ii)(III). Pub. L. No. 1 08-1 36, sec. 1 603(b)( l ), § 1 1 07a, 1 1 7
     Stat. at 1 690. Subsection (a) of this law provides that when an EUA
     product is administered to members of the armed forces, "the condition
     described in section 5 64(e )( 1 )(A)(ii)(III) . . . and required under para­
     graph ( l )(A) or (2)(A) of such section 5 64(e), designed to ensure that
     individuals are informed of an option to accept or refuse administration of
     a product, may be waived only by the President" and "only if the Presi­
     dent determines, in writing, that complying with such requirement is
     not in the interests of national security." 1 0 U.S.C. § 1 1 07a(a)( l ).

                                             B.
        In the years after Congress enacted section 564, FDA issued dozens of
     EUAs in response to various public-health emergencies. See, e.g. , Author­
     ization of Emergency Use of the Antiviral Product Peramivir Accompa­
     nied by Emergency Use Information; Availability, 74 Fed. Reg. 5 6,644
     (Nov. 2, 2009) (antiviral drug to treat swine flu). The agency' s use of
     EUAs increased dramatically with the onset of the COVID- 1 9 pandemic
     in 2020. As of January 202 1 , the agency had issued more than 600 EUAs
     for products to combat COVID- 1 9, including drugs, tests, personal protec­
     tive equipment, and ventilators. See FDA, FDA COVID-19 Pandemic


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     Recovery and Preparedness Plan (PREPP) Initiative: Summary Report
     at 6 (Jan. 202 1 ); cf id. at 24 (noting that FDA issued 65 EUAs prior to
     COVID- 1 9). More importantly for present purposes, the agency has
     granted EUAs for three COVID- 1 9 vaccines manufactured by Pfizer,
     Moderna, and Janssen, respectively. See Authorizations of Emergency
     Use of Certain Biological Products During the COVID- 1 9 Pandemic;
     Availability, 86 Fed. Reg. 2 8,608 (May 27, 202 1 ) (Janssen); Authoriza­
     tions of Emergency Use of Two Biological Products During the COVID-
     1 9 Pandemic; Availability, 8 6 Fed. Reg. 5200 (Jan. 1 9, 202 1 ) (Pfizer and
     Moderna).
        As we have explained, section 5 64 of the FDCA contemplates that each
     EUA will be subject to various conditions. For the three COVID- 1 9
     vaccines, FDA implemented the "option to accept or refuse" condition
     described in section 564(e)( l )(A)(ii)(III) in the fo llowing manner: In
     each letter granting the EUA, FDA established as a "condition[] ofauthor­
     ization" that FDA's "Fact Sheet for Recipients and Caregivers" be made
     available to potential vaccine recipients. See, e.g. , Letter for Pfizer Inc.
     from RADM Denise M. Hinton, Chief Scientist, FDA at 6, 9 (updated
     June 25, 202 1 ), https://www.fda.gov/media/1 503 86/download ("Pfizer
     EUA Letter"). The Fact Sheet in question states (to take the Pfizer vaccine
     as an example): "It is your choice to receive or not receive the Pfizer­
     BioNTech COVID- 1 9 Vaccine. Should you decide not to receive it, it will
     not change your standard medical care." Pfizer Fact Sheet at 5 . We under­
     stand that this approach is consistent with FDA' s general practice for
     EUAs. See EUA Guidance at 24-25 (discussing the use of fact sheets to
     inform recipients of EUA products "[t]hat they have the option to accept
     or refuse the EUA product and of any consequences of refusing admin­
     istration of the product").
        As access to the COVID- 1 9 vaccines has become widespread, numer­
     ous educational institutions, employers, and other entities across the
     United States have announced that they will require individuals to be
     vaccinated against COVID- 1 9 as a condition of employment, enrollment,
     participation, or some other benefit, service, relationship, or access. 7 For



        7 See, e.g. , Rukmini Callimachi, For Colleges, Vaccine Mandates Often Depend on
     Which Party Is in Power, N .Y. Times (May 22, 202 1 ), https://www.nytimes.com/202 1 /05/
     22/us/college-vaccine-universities.html; Tracy Rucinski, Delta will require COVJD-19

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           Requiring the Use ofa Vaccine Subject to an Emergency Use Authorization

     instance, certain schools will require vaccination in order for students to
     attend class in person, and certain employers will require vaccination as
     a condition of employment.
        Some have questioned whether such entities can lawfully impose such
     requirements in light of the fact that section 564 instructs that potential
     vaccine recipients are to be informed that they have the "option to accept
     or refuse" receipt of the vaccine. 8 In the past few months, several lawsuits
     have also been filed challenging various entities' vaccination require­
     ments on the same theory. 9 The only judicial decision to have addressed
     this issue so far summarily rejected the challenge. See Bridges v. Houston
     Methodist Hosp. , No. 4 : 2 1 -cv-0 1 774, 202 1 WL 2399994, at * 1-2 (S.D.
     Tex. June 1 2, 202 1 ), appeal docketed, No. 2 1 -203 1 1 (5th Cir. June 14,
     202 1 ).

                                                   II.

                                                   A.

        We conclude that section 564(e )( 1 )(A)(ii)(III) concerns only the provi­
     sion of information to potential vaccine recipients and does not prohibit
     public or private entities from imposing vaccination requirements for
     vaccines that are subject to EUAs. By its terms, the provision directs only
     that potential vaccine recipients be "informed" of certain information,
     including "the option to accept or refuse administration of the product."

     vaccinefor new employees, Reuters (May 1 4, 202 1 , 9: 1 6 AM), https://www.reuters.com/
     world/us/delta-will-require-covid- l 9-vaccine-new-employees-202 1 -05- 1 4/.
         8 See, e.g. , Letter for Thomas C. Galligan Jr., Interim President, Louisiana State Uni­
     versity, from Jeff Landry, Attorney General of Louisiana ( May 28, 202 1 ); see also
     Advisory Committee on Immunization Practices, Summary Report at 56 (Aug. 26, 2020),
     https://www.cdc.gov/vaccines/acip/meetings/downloads/min-archive/min-2020-08-508.
     pdf(reporting a CDC official as saying that EUA vaccines are not allowed to be mandato­
     ry).
         9 See, e.g., Defendant's Notice of Removal, Bridges v. Methodist Hosp. , No. 4:2 1 -cv-
     0 1 774 (S.D. Tex. June 1 , 202 1 ), 202 1 WL 2 2 2 1 293 (referencing complaint); Complaint,
     Neve v. Birkhead, No. l :2 1 -cv-00308 (M.D.N.C. Apr. 1 6, 202 1 ), 202 1 WL 1 902937;
     Complaint, Cal. Educatorsfor Med. Freedom v. L.A. Unified Sch. Dist. , No. 2 1 -cv-2388
     (C.D. C al. Mar. 1 7, 202 1 ), 202 1 WL 1 0346 1 8; Complaint, Legaretta v. Macias, No. 2 :2 1 -
     cv-001 79 (D.N.M. Feb. 28, 202 1 ), 202 1 WL 909707; see also Complaint, Health Free­
     dom Defense Fund v. City ofHailey, No. 1 :2 l -cv-002 1 2-DCN (D. Idaho May 1 4, 202 1 ),
     202 1 WL 1 944543 (making a similar argument about a face-mask requirement).

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     FDCA § 564(e)( l )(A)(ii)(III). In the sense used here, the word "inform"
     simply means to "give (someone) facts or information; tell." New Oxford
     American Dictionary 89 1 (3d ed. 20 1 0); see also, e.g. , Webster 's Third
     New International Dictionary 1 1 60 (2002) (similar). Consistent with this
     understanding, the conditions of authorization that FDA imposed for the
     COVID- 1 9 vaccines require that potential vaccine recipients receive
     FDA's Fact Sheet, see, e.g. , Pfizer EUA Letter at 6, 9, which states that
     recipients have a "choice to receive or not receive" the vaccine, see, e.g. ,
     Pfizer Fact Sheet at 5 . Neither the statutory conditions of authorization
     nor the Fact Sheet itself purports to restrict public or private entities from
     insisting upon vaccination in any context. Cf Bridges, 202 1 WL 2399994,
     at *2 ( explaining that section 564 "confers certain powers and responsibil­
     ities to the Secretary of [HHS] in an emergency" but that it "neither
     expands nor restricts the responsibilities of private employers"). 10
        The language of another provision of section 5 64 reflects the limited
     scope of operation of section 5 64(e )( 1 )(A)(ii)(III). Section 5 64(/) pro­
     vides that "this section [i.e., section 5 64] only has legal effect on a person
     who carries out an activity for which an authorization under this section
     is issued." This provision expressly forecloses any limitation on the
     activities of the vast maj ority of entities who would insist upon vaccina­
     tion requirements, because most do not carry out any activity for which an
     EUA is issued.
        To be sure, the EUA conditions effectively require parties administer­
     ing the products to do so in particular ways-including that they only
     administer the products to individuals after providing them the informa­
     tional Fact Sheets that FDA prescribes-and some of those entities,

          10 Earlier-introduced versions of section 564(e)( l )(A)(ii)(III) in 2003 referred to "any
     option to accept or refuse administration of the product" (as opposed to "the" option), a
     formulation that might have even more clearly conveyed the informational nature of the
     condition. See, e.g., S. 1 5 , 1 08th Cong. § 204 (Mar. 1 1 , 2003) (emphasis added). We have
     not found any explanation for why Congress revised the provision to refer to "the option,"
     so we ascribe little significance to the change-either for or against our reading of the
     statute. See Mead Corp. v. Tilley, 490 U.S. 7 1 4, 723 ( 1 989); Trainmobile Co. v. Whirls,
     3 3 1 U.S. 40, 6 1 ( 1 947) ("The interpretation of statutes cannot safely be made to rest upon
     mute intermediate legislative maneuvers."). In 1 0 U.S.C. § 1 1 07a(a), moreover, Congress
     used the alternative formulation "an option to accept or refuse" in referring to the condi­
     tion in section 564(e) ( l )(A)(ii)(III) as it relates to the armed forces. (Emphasis added.)
     This discrepancy counsels further against assigning interpretive weight to the change from
     "any" to "the" in the legislative development of section 564.

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     such as universities, might also impose vaccination requirements ( e.g., on
     their students and employees). There is no indication, however, that
     Congress intended to regulate such entities except with respect to the
     circumstances of their administration of the product itself. See, e.g. ,
     FDCA § 5 64(e)( l )(B)(ii) (authorizing FDA to establ ish " [a]ppropriate
     conditions on who may administer the product with respect to the emer­
     gency use of the product, and on the categories of individuals to whom,
     and the circumstances under which, theproduct may be administered with
     respect to such use" (emphasis added)). And it would have been odd for
     Congress to have done so, for in that case the entities choosing to admin­
     ister EUA products would be limited in their relations with third parties
     ( e.g., students, employees) in ways that analogous entities that did not
     administer the products were not.
         This reading of the "option to accept or refuse" condition to be infor­
     mational follows not only from the plain text of the provision, but also
     from the surrounding requirements in section 5 64(e )( 1 )(A)(ii). See, e.g. ,
     Lagos v. United States, 1 3 8 S . Ct. 1 684, 1 688-89 (20 1 8) (relying o n the
     canon of "noscitur a sociis, the well-worn Latin phrase that tells us that
     statutory words are often known by the company they keep"). In addition
     to requiring that potential recipients be informed of "the option to accept
     or refuse administration of the product," the statute also requires that
     they be informed of "the consequences, if any, of refusing administra­
     tion of the product, and of the alternatives to the product that are availa­
     ble and of their benefits and risks ." FDCA § 5 64(e)( l )(A)(ii)(III).
     Similarly, the two other provisions in subsection ( e)( l )(A)(i i) require that
     individuals be informed of the fact that FDA "has authorized the emer­
     gency use of the product" and of "the significant known and potential
     benefits and risks of such use, and of the extent to which such benefits
     and risks are unknown." Id. § 5 64(e)( l )(A)(ii)(I)-(II). These provisions
     all appear to require only that certain factual information be conveyed to
     those who might use the product.
         Indeed, if Congress had intended to restrict entities from imposing
     EUA vaccination requirements, it chose a strangely oblique way to do so,
     embedding the restriction in a provision that on its face requires only that
     individuals be provided with certain information (and grouping that
     requirement with other conditions that are likewise informational in
     nature). Congress could have created such a restriction by simply stating
     that persons ( or certain categories of persons) may not require others to

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     u s e an EUA product. See Kloeckner v . Solis, 5 6 8 U . S . 4 1 , 52 (20 1 2)
     (rejecting a statutory interpretation positing that Congress took a "rounda­
     bout way" and an "obscure path" to reach "a simple result"); cf Whitman
     v. Am. Trucking Ass 'ns, 53 1 U.S. 457, 468 (200 1 ) (Congress does not
     "hide elephants in mouseholes").
         Our reading of section 5 64(e)( l )(A)(ii)(III) does not fully explain why
     Congress created a scheme in which potential users of the product would
     be informed that they have "the option to accept or refuse" the product.
     The legislative history of the 2003 statute does not appear to offer any
     c lear explanation. Perhaps Congress viewed section 5 64(e)( l )(A)(ii)(III)
     as a variation on the "informed consent" requirement that applies to
     human subjects in "investigational drug" settings, 1 1 the only other context
     in which FDA may (in a limited fashion) authorize the introduction of
     unapproved drugs into interstate commerce. Or perhaps Congress includ­
     ed this condition to ensure that potential users of an EUA product would
     not misunderstand what the likely impact of declining to use that product
     would be.
         The information conveyed pursuant to the "option" clause continues to
     be a true statement about a material fact of importance to potential vac-

         1 1 Section 355(i)(4) of title 2 1 provides that an IND exemption to the premarket ap­
     proval requirement may only apply if the manufacturer or sponsor of an expert investiga­
     tion requires the experts in question to certify
              that they will inform any human beings to whom such drugs, or any controls used
              in connection therewith, are being administered, or their representatives, that such
              drugs are being used for investigational purposes and will obtain the consent of
              such human beings or their representatives, except where it is not feasible, it is con­
              trary to the best interests of such human beings, or the proposed clinical testing
              poses no more than minimal risk to such human beings and includes appropriate
              safeguards.
     Congress did not include this same "informed consent" requirement as part of the EUA
     provision in 2003, perhaps out of concern that it would not be practicable in emergency
     situations. See Project BioShield: Contractingfor the Health and Security ofthe Ameri­
     can Public: Hearing Before the H. Comm. on Gov 't Reform, 1 08th Cong. 33 (Apr. 4,
     2003) (statement of Mark B. McClellan, Commissioner, FDA, and Anthony S. Fauci,
     Director, National Institute of Allergy and Infectious Diseases) ("Because urgent situa­
     tions may require mass inoculations and/or drug treatments, such informed consent
     requirements may prove impossible to implement within the necessary time frame when
     trying to achieve the public health goal of protecting Americans from the imminent
     danger."); see also infra note 1 5 (explaining that the informed consent requirements
     contained in 2 1 U.S.C. § 355(i)(4) do not apply to EUA products).

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     cine recipients-virtually all such persons continue to have the "option"
     of refusing the vaccine in the sense that there is no direct legal require­
     ment that they receive it. See Bridges, 202 1 WL 2399994, at *2 (noting
     that an employer's vaccination policy was not "coercive" because an
     employee "can freely choose to accept or refuse a COVID- 1 9 vaccine;
     however, if she refuses, she wil l simply need to work somewhere else");
     Wen W. Shen, Cong. Research Serv., R46745, State and Federal Authori­
     ty to Mandate COVID-19 Vaccination at 4 (Apr. 2, 202 1 ) ("[E]xisting
     vaccination mandates-as they are typically structured-generally do not
     interfere with . . . an individual's right to refuse in that context. Rather,
     they impose secondary consequences-often in the form of exclusion
     from certain desirable activities, such as schools or employment-in the
     event of refusal." (footnote omitted)); Black 's Law Dictionary 1 12 1 (7th
     ed. 1 999) (defining "option" as relevant here as "[t]he right or power to
     choose; something that may be chosen"); The American Heritage Dic­
     tionary ofthe English Language 1 23 5 (4th ed. 2000) (similar); cf FDCA
     § 5 64( e)(1 )(A)(ii)(III) ( directing that potential vaccine recipients be
     informed not only of"the option to accept or refuse administration of the
     product" but also of "the consequences, if any, of refusing administration
     of the product" (emphasis added)).
         Importantly, however, and consistent with FDA's views, we also read
     section 5 64 as giving FDA some discretion to modify or omit "the option
     to accept or refuse" notification, or to supplement it with additional in­
     formation, if and when circumstances change. As noted above, the statute
     directs FDA to establish the section 564(e)( l )(A) conditions "to the extent
     practicable given the applicable [emergency] circumstances" and "as the
     [agency] finds necessary or appropriate to protect the public health."
     FDCA § 564(e )( 1 )(A). Both of these phrases-"to the extent practicable"
     and "as the [agency] finds necessary or appropriate"-are generally
     understood to confer discretion on an agency. See, e.g. , Gallegos­
     Hernandez v. United States, 688 F.3d 1 90, 1 95 (5th Cir. 20 1 2) (per curi­
     am) ("to the extent practicable"); Madison-Hughes v. Shalala, 80 F.3d
     1 1 2 1 , 1 1 28 (6th Cir. 1 996) (collecting cases on "necessary" and "appro­
     priate"). Moreover, the portion of section 564 that deals specifically with
     informational conditions provides that FDA should establish "[a]ppropri­
     ate" conditions designed to ensure that potential vaccine recipients are
     informed of the "option to accept or refuse" an EUA product. FDCA
     § 5 64(e)( l )(A)(ii). These qualifiers indicate that FDA's responsibility to

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     impose the "option to accept or refuse" condition is not absolute and that
     the agency has some discretion to modify or omit the condition when the
     agency finds the notification would not be "practicable" given the emer­
     gency circumstances, or to determine that changes to the notification are
     "necessary or appropriate to protect the public health." See EUA Guid­
     ance at 24 n.46 (noting circumstances in which the "option to accept or
     refuse" notification might not be practicable). 1 2 In addition, section 5 64
     gives FDA the authority to supplement the information that is conveyed
     to potential vaccine recipients, including information about "the conse­
     quences, if any, of refusing administration of the product." FDCA
     § 564(e )( 1 )(A)(ii)(III); see also id. § 564(e)( 1 )(B) (noting that FDA has
     the authority to impose additional conditions as the agency "finds neces­
     sary or appropriate to protect the public health"); EUA Guidance at 22
     n.40, 26-27 (noting this point). Together, then, these provisions of section
     5 64 give FDA the authority to adapt to changing circumstances and to
     ensure that the information conveyed to potential users of EUA products
     is accurate. 1 3
        Although many entities' vaccination requirements preserve an indiv­
     idual ' s ultimate "option" to refuse an EUA vaccine, they nevertheless
     impose sometimes-severe adverse consequences for exercising that option
     (such as not being able to enroll at a university). Under such circumstanc­
     es, FDA could theoretically choose to supplement the conditions of au­
     thorization to notify potential vaccine recipients of the possibility of such
     consequences ( or to make it even clearer that the consequences described


        12    Indeed, FDA has recently exercised its discretion not to require certain of the statu­
     torily specified conditions with respect to the current COVID- 1 9 pandemic. We under­
     stand that FDA has amended or plans to amend the EUAs for the COVID- 1 9 vaccines so
     as not to require compliance with several of the conditions-including the "option to
     accept or refuse" notification-when the vaccines are exported to other countries. See,
     e.g., Pfizer EUA Letter at 1 0 .
          1 3 Congress' s use of the phrase "Required conditions" in the title of subsection

     ( e)( 1 )(A) and its specification of certain conditions in the statute suggest that Congress
     may have presumed that FDA would generally find that the specified conditions are
     "necessary or appropriate" and thus impose them. As we discuss above, however, the
     operative text of section 564 indicates that FDA has some discretion to modify, omit,
     or supplement the conditions in some circumstances. See Fulton v. City ofPhiladelphia,
     1 4 1 S. Ct. 1 868, 1 879 (202 1 ) ("[A] title or heading should never be allowed to override
     the plain words of a text." ( quoting A. Scalia & B. Garner, Reading Law: The Interpreta­
     tion ofLegal Texts 222 (20 1 2)) (alteration in original)).

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     in the Fact Sheets are limited to consequences related to medical care). As
     we have noted, however, section 5 64 does not limit the ability of entities
     to impose vaccination requirements, and FDA would not be required to
     change the Fact Sheets in order to allow them to impose such require­
     ments. 1 4
                                           * * * * *

        As noted above, FDA agrees with our interpretation of section 5 6 4 .
     On a few occasions, however, FDA has made statements that could
     be understood as saying that the condition described in section
     5 64(e)( l )(A)(ii)(III) prohibits entities (particularly the U.S. military)
     from requiring the use of EUA products. In 2005, for instance, FDA
     issued an EUA that permitted the use of a vaccine for the prevention of
     inhalation anthrax by individuals between 1 8 and 65 years of age who
     were deemed by the Department of Defense ("DOD") to be at heightened
     risk of exposure due to an attack with anthrax. As a condition of that
     authorization, the agency required DOD to inform potential vaccine
     recipients "of the option to accept or refuse administration of [the vac­
     cine] ." Authorization of Emergency Use of Anthrax Vaccine Adsorbed for
     Prevention of Inhalation Anthrax by Individuals at Heightened Risk of
     Exposure Due to Attack With Anthrax; Availability, 70 Fed. Reg. 5452,
     5455 (Feb. 2, 2005). That EUA continued:
           With respect to [the] condition . . . relating to the option to accept or
           refuse administration of [the vaccine], the [immunization program]
           will be revised to give personnel the option to refuse vaccination.
           Individuals who refuse anthrax vaccination will not be punished. Re­
           fusal may not be grounds for any disciplinary action under the Uni­
           form Code of Military Justice. Refusal may not be grounds for any
           adverse personnel action. Nor would either military or civilian per­
           sonnel be considered non-deployable or processed for separation

        14 FDA further informs us that, wholly apart from FDA's own authority to change the
     Fact Sheet, nothing in the FDCA would prohibit an administrator of the vaccine who also
     has a relationship with the individuals to whom the vaccine is offered (e.g., students in a
     university that offers the vaccine) from supplementing the FDA Fact Sheet at the point of
     administration with factually accurate information about the possible nonmedical conse­
     quences of the person choosing not to use the product (e.g., that she might not be permit­
     ted to enroll).

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          based o n refusal o f anthrax vaccination. There may b e n o penalty or
          loss of entitlement for refusing anthrax vaccination.
     Id. ; see also id. (allowing DOD to inform recipients that "military and
     civilian leaders strongly recommend anthrax vaccination, but . . . individ­
     uals [subject to the vaccination program] may not be forced to be vac­
     cinated" and that "the issue of mandatory vaccination will be reconsidered
     by [DOD] after FDA completes its administrative process."). FDA includ­
     ed the same information in its later extension of that EUA. See Authoriza­
     tion of Emergency Use of Anthrax Vaccine Adsorbed for Prevention of
     Inhalation Anthrax by Individuals at Heightened Risk of Exposure Due
     to Attack With Anthrax; Extension; Availability, 70 Fed. Reg. 44,657,
     44,659-60 (Aug. 3, 2005).
        In addition, although it is less than clear, certain FDA guidance could
     be read as saying that section 5 64 confers an affirmative "option" or
     "opportunity" to refuse EUA products. See EUA Guidance at 24 n.46
     (implying that the condition in section 5 64(e)( l )(A)(ii)(III)-which is
     subject to waiver for the armed forces under 10 U.S.C. § 1 1 07a-protects
     "the option for members of the armed forces to accept or refuse admin­
     istration of an EUA product"); Guidance Emergency Use Authorization of
     Medical Products, 2007 WL 23 1 9 1 1 2, at * 1 5 (July 1 , 2007) (stating that
     "[r]ecipients must have an opportunity to accept or refuse the EUA prod­
     uct").
        These statements do not affect our conclusion. Neither the 2005 anthrax
     vaccine EUA nor the later FDA guidance articulated a legal interpretation
     of section 5 64(e)( 1 )(A)(ii)(IIl)'s text. And FDA appears to have insisted
     upon the voluntariness requirement for DOD in the anthrax vaccine EUA
     because of then-recent litigation in which a court enjoined DOD from
     implementing a mandatory vaccination program based upon a different
     statutory provision that is inapplicable to EUAs. See Doe v. Rumsfeld, 341
     F. Supp. 2d 1 (D.D.C. 2004) (relying on 10 U.S.C. § 1 1 07); Doe v.
     Rumsfeld, 297 F. Supp. 2d 1 1 9 (D.D.C. 2003) (same); see also 70 Fed.
     Reg. at 44,660 (requiring DOD to tel l vaccine recipients the following:
     "On October 27, 2004, the U.S. District Court for the District of Columbia
     issued an Order declaring unlawful and prohibiting mandatory anthrax
     vaccinations to protect against inhalation anthrax, pending further FDA
     action. The Court 's injunction means you have the right to refuse to take
     the vaccine without fear of retaliation." (emphasis added)); 70 Fed. Reg.


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     at 5454 ( discussing litigation); see also infra note 1 5 ( explaining that 1 0
     U.S.C. § 1 1 07(f) is inapplicable to EUAs).

                                                  B.
        Section 564(e )( 1 )(A)(ii)(III) also raises a question about how to under­
     stand its cognate provision regarding the use of EUA products by the
     armed forces. As we noted above, in the same 2003 legislation that first
     created section 5 64, Congress also added the following provision to title
     1 0 of the United States Code:
           In the case of the administration of [an EUA] product . . . to mem­
           bers of the armed forces, the condition described in section
           5 64( e )( 1 )(A)(ii)(III) . . . and required under paragraph (1 )(A) or
           (2)(A) of such section 5 64(e ), designed to ensure that individuals
           are informed of an option to accept or refuse administration of a
           product, may be waived only by the President only if the President
           determines, in writing, that complying with such requirement is not
           in the interests of national security.
     1 0 U.S.C. § 1 1 07a(a)( l ). 1 5 On its own terms, this provision appears to be
     consistent with-and even to support-our reading of section 564, as it
     likewise describes the "option to accept or refuse" condition in purely
     informational terms. The language refers to the President's authority to



         1 5 Section 1 1 07(f) of title 1 0-an earlier-enacted provision-contains a similar, but
     importantly different, waiver authority. Specifically, that provision authorizes the Presi­
     dent, "[i]n the case of the administration ofan [IND] or a drug unapproved for its applied
     use to a member of the armed forces in connection with the member' s participation in a
     particular military operation," to waive "the prior consent requirement imposed under
     [2 1 U.S.C. § 355(i)(4)]." 10 U.S.C. § 1 1 07(f)( l ). That "prior consent requirement," which
     is imposed for purposes of the human clinical trials for which FDA authorizes "investiga­
     tional" use of unapproved drugs, see 2 1 U.S.C. § 3 55(i)(4), does not apply to EUA
     products, which typically are more widely available, see FDCA § 564(k); EUA Guidance
     at 24 ("informed consent as generally required under FDA regulations is not required for
     administration or use of an EUA product" (footnote omitted)). Thus, the waiver provision
     in section 1 1 07(f) is inapplicable to EUA products. See 1 0 U.S.C. § 1 1 07(f)(2) (explain­
     ing that this waiver authority applies only in cases in which "prior consent for administra­
     tion of a particular drug is required" because the Secretary of HHS determines that the
     drug "is subj ect to the [IND] requirements of [2 1 U . S . C . § 355(i)]"); see also id.
     § 1 1 07(f)(4) (defining the relevant consent requirements as those in 2 1 U.S.C. § 3 5 5(i)).

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     waive a requirement to provide certain information, not to waive any right
     or affirmative "option" to refuse administration of the product itself.
        On the other hand, the conference report on the legislation that created
     both section 564 of the FDCA and section 1 1 07a of title 1 0 described the
     latter provision in the following way:
          [This provision] would authorize the President to waive the right of
          service members to refuse administration of a product if the Presi­
          dent determines, in writing, that affording service members the right
          to refuse the product is not feasible, is contrary to the best interests
          of the members affected, or is not in the interests of national securi-
          ty.
     H.R. Rep. No. 1 08-354, at 782 (2003) (Conf. Rep.) (emphasis added).
     This language indicates that the conferees may have believed that section
     1 1 07 a concerns some "right" of members of the armed forces to refuse
     the use of EUA products. And that belief may help to explain why section
     1 1 07a allows only the President to exercise the waiver authority.
         Consistent with this legislative history and the vesting of the waiver
     authority in the President, DOD informs us that it has understood section
     1 1 07a to mean that DOD may not require service members to take an
     EUA product that is subject to the condition regarding the option to re­
     fuse, unless the President exercises the waiver authority contained in
     section 1 1 0 7a. See DOD Instruction 6200.02, § E3 .4 (Feb. 27, 2008) ("In
     the event that an EUA granted by the Commissioner of Food and Drugs
     includes a condition that potential recipients are provided an option to
     refuse administration of the product, the President may . . . waive the
     option to refuse for administration of the medical product to members of
     the armed forces." (emphasis added)). Moreover, we understand that
     DOD ' s position reflects the concern that service members, unlike civilian
     employees, could face serious criminal penalties if they refused a superior
     officer's order to take an EUA product. See 1 0 U.S.C. § 890; see also
     United States v. Kisala, 64 M.J. 50 (C.A.A.F. 2006) (upholding a soldier' s
     punishment for refusing to take a vaccine). In this way, service members
     do not have the same "option" to refuse to comply with a vaccination
     requirement as other members of the public.
         As noted above, it does appear that certain members of Congress
     thought that section 1 1 07a concerned a prohibition against requiring
     service members to take an EUA product-perhaps on the view that the

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     waiver authority in section 1 1 07a paralleled the one in 1 0 U . S . C .
     § 1 1 07(f), which does effectively prohibit the administration o f an IND
     product in a clinical trial without first obtaining the individual 's affirma­
     tive, informed consent. See supra note 1 5 ( distinguishing these waiver
     authorities). 16 As explained, however, that intent or expectation is not
     realized in the text of section 5 64(e)( l )(A)(ii)(III), which section 1 1 07a
     expressly cross-references. Cf Steinle v. City & Cty. of San Francisco,
     9 1 9 F.3d 1 1 54, 1 1 64 n . 1 1 (9th Cir. 20 1 9) ("[T]he plain and unambiguous
     statutory text simply does not accomplish what the Conference Report
     says it was designed to accomplish."); Goldring v. Dist. ofColumbia, 4 1 6
     F.3d 70, 7 5 (D.C. Cir. 2005) ("A sentence in a conference report cannot
     rewrite unambiguous statutory text[.]"). 1 7 We therefore conclude that
     section 1 1 07a does not change our interpretation of section 5 64 of the
     FDCA.
         As for DOD's concern about service members who would lack a mean­
     ingful option to refuse EUA products because of the prospect of sanction,
     including possibly prosecution, we note that any difference between our
     view and the assumption reflected in the conference report should have
     limited practical significance. Given that FDA has imposed the "option to
     accept or refuse" condition for the COVID- 1 9 vaccines by requiring

         1 6 It is possible the conferees assumed that the new EUA legislation would, in effect,
     carry over from the earlier IND provision of the FDCA, see supra Part I.A and note 1 1 ,
     the condition that a covered product may not be administered to an individual without that
     person's express, informed consent-a condition that applies to the military when it
     undertakes the sort of clinical trial with an IND that 2 1 U.S.C. § 355(i) governs, see supra
     note 1 1 . Congress did not include such a consent requirement in section 564, however,
     perhaps because EUA products are not limited, as INDs are, to use in human clinical
     trials, but are instead authorized for more widespread use in the case of a declared emer­
     gency. See supra Part I.A and notes 1 1 & 1 5 .
         1 7 Moreover, the legislative history as a whole i s not uniform o n this point. The earlier
     House report, for instance, described the condition in purely informational terms. See
     H.R. Rep. No. 1 08- 1 47, pt. 3, at 3 3 (2003) ("New section 564(k) [an earlier but similarly
     worded version of what became 1 0 U.S.C. § 1 1 07a] pertains to members of the Armed
     Forces and, among other things, it specifies that the President may waive requirements
     designed to ensure that such members are informed of the option to accept or refuse
     administration ofan emergency use product, upon certain findings[.]" (emphasis added));
     see also Milner v. Dep 't ofthe Navy, 562 U.S. 562, 574 (20 1 1 ) (noting that " [l]egislative
     history, for those who take it into account, is meant to clear up ambiguity, not create it,"
     and thus, "[w]hen presented, on the one hand, with clear statutory language and, on the
     other, with dueling committee reports, we must choose the language").

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     distribution of its Fact Sheet containing the "[i]t is your choice t o receive
     or not receive" language, DOD is required to provide service members
     with the specified notification unless the President waives the condition
     pursuant to 1 0 U.S.C. § 1 1 07a. And because DOD has informed us that it
     understandably does not want to convey inaccurate or confusing infor­
     mation to service members-that is, telling them that they have the "op­
     tion" to refuse the COVID- 1 9 vaccine if they effectively lack such an
     option because of a military order-DOD should seek a presidential
     waiver before it imposes a vaccination requirement.

                                          III.

        For the reasons set forth above, we conclude that section 5 64 of the
     FDCA does not prohibit public or private entities from imposing vaccina­
     tion requirements, even when the only vaccines available are those au­
     thorized under EUAs.

                                             DAWN JOHNSEN
                                      Acting Assistant Attorney General
                                           Office ofLegal Counsel




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     (Slip Opinion)

          Whether Section 564 of the Food, Drug, and Cosmetic
           Act Prohibits Entities from Requiring the Use of a
          Vaccine Subject to an Emergency Use Authorization
     Section 564(e)( l )(A)(ii)(III) of the Food, Drug, and Cosmetic Act concerns only the
        provision of information to potential vaccine recipients and does not prohibit public or
        private entities from imposing vaccination requirements for a vaccine that is subject to
        an emergency use authorization.

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                           MEMORANDUM OPINION FOR THE
                          DEPUTY COUNSEL TO THE PRESIDENT

        Section 564 of the Food, Drug, and Cosmetic Act ("FDCA"), 2 1 U.S.C.
     § 3 60666-3 , 1 authorizes the Food and Drug Administration ("FDA") to
     issue an "emergency use authorization" ("EUA") for a medical product,
     such as a vaccine, under certain emergency circumstances. This authoriza­
     tion permits the product to be introduced into interstate commerce and
     administered to individuals even when FDA has not approved the product
     for more general distribution pursuant to its standard review process.
     Section 5 64 directs FDA-"to the extent practicable" given the emergen­
     cy circumstances and "as the [agency] finds necessary or appropriate to
     protect the public health"-to impose "[a]ppropriate" conditions on each
     EUA. FDCA § 5 64(e)(l )(A). Some of these conditions are designed to
     ensure that recipients of the product "are informed" of certain things,
     including "the option to accept or refuse administration of the product."
     Id. § 5 64(e )(1 )(A)(ii)(III).
        Since December 2020, FDA has granted EUAs for three vaccines to
     prevent coronavirus disease 20 1 9 ("COVID- 1 9"). In each of these author­
     izations, FDA imposed the "option to accept or refuse" condition by
     requiring the distribution to potential vaccine recipients of a Fact Sheet
     that states: "It is your choice to receive or not receive [the vaccine] .
     Should you decide not to receive it, it wil l not change your standard
     medical care." E.g. , FDA, Fact Sheet for Recipients and Caregivers at 5
     (revised June 25, 202 1 ), https://www.fda.gov/media/1 444 14/download

        1 Because it is commonly referred to by its FDCA section number, and for the sake of
     simplicity, we will refer to this provision as section 564, rather than by its United States
     Code citation.
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     ("Pfizer Fact Sheet"). I n recent months, many public and private entities
     have announced that they will require individuals to be vaccinated against
     COVID- 1 9-for instance, in order to attend school or events in person, or
     to return to work or be hired into a new j ob . We will refer to such policies
     as "vaccination requirements," though we note that these policies typical­
     ly are conditions on employment, education, receipt of services, and the
     like rather than more direct legal requirements. 2
        In light of these developments, you have asked whether the "option to
     accept or refuse" condition in section 5 64 prohibits entities from impos­
     ing such vaccination requirements while the only available vaccines for
     COVID- 1 9 remain subject to EU As. We conclude, consistent with FDA' s
     interpretation, that it does not. This language in section 564 specifies only
     that certain information be provided to potential vaccine recipients and
     does not prohibit entities from imposing vaccination requirements. 3

                                                  I.
                                                  A.
        Federal law generally prohibits anyone from introducing or delivering
     for introduction into interstate commerce any "new drug" or "biological
     product" unless and until FDA has approved the drug or product as safe
     and effective for its intended uses. See, e.g. , FDCA § § 3 0 1 (a), 5 05(a), 2 1
     U.S.C. § § 3 3 l (a), 3 55(a); 42 U.S.C § 262(a). A vaccine is both a drug and
     a biological product. See FDCA § 201 (g), 2 1 U.S.C § 3 2 1 (g); 42 U . S . C .
     § 262(i)( l ). Consistent with section 564, we will generally refer t o i t here
     as a "product." See FDCA § 564(a)( 4)(C) (defining "product" to mean "a
     drug, device, or biological product").



         2 For an example of the latter, see our discussion in Part II.B ofa hypothetical military
     order to service members.
         3 We do not address whether other federal, state, or local laws or regulations, such as
     the Americans with Disabilities Act ("ADA"), might restrict the ability of public or pri­
     vate entities to adopt particular vaccination policies. See, e.g., Equal Employment Oppor­
     tunity Commission, What You Should Know About COVID-19 and the ADA, the Rehabili­
     tation Act, and Other EEO Laws (updated June 28, 202 1 ), https://www. eeoc.gov/wysk/
     what-you-should-kno w-about-covid- 1 9-and-ada-rehab ilitati on-act-and-other-eeo-laws
     (discussing the ADA).

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          Requiring the Use of a Vaccine Subject to an Emergency Use Authorization

        In 2003 , Congress addressed a problem raised in emergency situations
     where "the American people may be placed at risk of exposure to biolog­
     ical, chemical, radiological, or nuclear agents, and the diseases caused
     by such agents," but where, "[u]nfortunately, there may not be approved
     or available countermeasures to treat diseases or conditions caused by
     such agents," even though "a drug, biologic, or device is highly promising
     in treating [such] a disease or condition." H.R. Rep. No. 1 08- 1 4 7, pt. 1 ,
     at 2 (2003 ). President George W. Bush had flagged this problem i n his
     2003 State of the Union Address, in which he proposed Project BioShield,
     a legislative initiative "to quickly make available effective vaccines
     and treatments against agents like anthrax, botulin um toxin, Ebola, and
     p lague." Address Before a Joint Session of the Congress on the State
     of the Union (Jan. 28, 2003), 1 Pub . Papers of Pres. George W. Bush
     82, 86 (2003). Among the principal components of the proposed Proj ect
     BioShield legislation were provisions to enable FDA to authorize medical
     products for use during emergencies even before they are proven to be
     safe and effective under ordinary FDA review. See, e.g. , H.R. 2 1 22, 1 08th
     Cong. § 4 (2003). At that time, the only alternative to ordinary FDA
     approval was 21 U.S.C. § 3 5 5(i), which authorizes FDA to exempt drugs
     from the ordinary approval requirements where the drug is "intended
     solely for investigational use by experts qualified by scientific training
     and experience to investigate the safety and effectiveness of drugs." Such
     a cabined investigational new drug ("IND") exemption does not, however,
     allow the widespread dissemination of a drug for general public use in
     response to an emergency. See H.R. Rep. No. 1 08-147, pt. I , at 2.
        Congress enacted a version ofthe Project BioShield legislation's EUA
     provision in the National Defense Authorization Act for Fiscal Year 2004
     as section 564 of the FDCA. See Pub. L. No. 1 08- 1 3 6, § 1 603(a), 1 1 7
     Stat. 1 3 92, 1 684 (2003) ( codified at 2 1 U.S.C. § 3 60bbb-3). 4 Section 5 64
     authorizes the Secretary of Health and Human Services ("HHS")-who
     has delegated to FDA the authorities under the statute at issue here-to
     authorize the introduction into interstate commerce of a drug, device, or
     biological product intended for use in an actual or potential emergency
     even though the product has not yet been generally approved as safe and


        4 The statute has been amended since, including when Congress enacted the Project

     BioShield Act the following year. See Pub. L. No. 1 08-276, § 4(a), 1 1 8 Stat. 835, 853
     (2004).

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     effective for its intended use. FDCA § 5 64(a)( l )-(2); see also FDA,
     Emergency Use Authorization ofMedical Products and Related A uthori­
     ties: Guidance for Industry and Other Stakeholders at 3 n.6 (Jan. 20 1 7)
     ("EUA Guidance") (noting delegation of most of the Secretary's authori­
     ties under section 564 to FDA). 5
        The most pertinent part of section 564 for purposes of your question
     has remained materially the same since Congress first enacted the statute
     in 2003 . Subsection ( e )( 1 )(A), 6 titled "Required conditions," provides:
            With respect to the emergency use of an unapproved product, the
            Secretary, to the extent practicable given the applicable [emergency]
            circumstances . . . , shall, for a person who carries out any activity
            for which the authorization is issued, establish such conditions on an
            authorization under this section as the Secretary finds necessary or
            appropriate to protect the public health, including [certain specified
            conditions] .


        5 The current version of section 564(a)( l ) provides in full:
            Notwithstanding any provision ofthis chapter and section 3 5 1 ofthe Public Health
            Service Act, and subject to the provisions of this section, the Secretary may author­
            ize the introduction into interstate commerce, during the effective period of a decla­
            ration under subsection (b), of a drug, device, or biological product intended for use
            in an actual or potential emergency (referred to in this section as an "emergency
            use").
     The "declaration under subsection (b)" refers to a declaration by the Secretary "that the
     circumstances exist justifying" an EUA, which must be made "on the basis" of one or
     more types of emergencies or threats. FDCA § 564(b)(l ) . FDA can grant an EUA where,
     "based on the totality of scientific evidence available to the Secretary, including data from
     adequate and well-controlled clinical trials, if available," FDA finds that "it is reasonable
     to believe," among other things, that "the product may be effective in diagnosing, treat­
     ing, or preventing" a "serious or life-threatening disease or condition" caused by a "bio­
     logical, chemical, radiological, or nuclear agent or agents" (a standard less onerous than
     for final approval of the product); that "the known and potential benefits of the product,
     when used to diagnose, prevent, or treat such disease or condition, outweigh the known
     and potential risks of the product"; and that "there is no adequate, approved, and available
     alternative to the product for diagnosing, preventing, or treating such disease or condi­
     tion." FDCA § 564(c).
        6 Subsection (e)( l ) applies to a product that FDA has not approved as safe and effec­
     tive for any intended use, whereas subsection (e)(2) applies to an unapproved use ofan
     otherwise approved product. The COVID- 1 9 vaccines fall under the former category, but
     the statute applies the condition at issue here to the latter category as well. See FDCA
     § 564(e)(2)(A).

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          Requiring the Use ofa Vaccine Subject to an Emergency Use Authorization

     The statute then lists a number of such conditions, including " [a]p­
     propriate conditions designed to ensure that individuals to whom the
     product is administered are informed" of certain information. FDCA
     § 5 64(e)( l )(A)(ii). This information includes the fact that FDA "has
     authorized the emergency use of the product," "the significant known and
     potential benefits and risks of such use," and "the extent to which such
     benefits and risks are unknown." Id. § 5 64(e )( 1 )(A)(ii)(I)-(II). Most
     relevant here, section 564( e )(1 )(A)(ii)(III) directs FDA to impose condi­
     tions on an EUA "designed to ensure that individuals to whom the product
     is administered are informed . . . of the option to accept or refuse admin­
     istration of the product, of the consequences, if any, of refusing admin­
     istration of the product, and of the alternatives to the product that are
     available and of their benefits and risks."
        In the same section of the 2004 National Defense Authorization
     Act, Congress also enacted another provision, codified as 1 0 U . S . C .
     § 1 1 07a, which i s specific to the U.S. military and which expressly refers
     to the "option to accept or refuse" condition described in section
     5 64(e)(l )(A)(ii)(III). Pub. L. No. 1 08- 1 36, sec. 1 603 (b)( l ), § 1 1 07a, 1 1 7
     Stat. at 1 690. Subsection (a) of this law provides that when an EUA
     product is administered to members of the armed forces, "the condition
     described in section 564(e)(l )(A)(ii)(III) . . . and required under para­
     graph (l )(A) or (2)(A) of such section 5 64(e), designed to ensure that
     individuals are informed of an option to accept or refuse administration of
     a product, may be waived only by the President" and "only if the Presi­
     dent determines, in writing, that complying with such requirement is
     not in the interests of national security." 1 0 U.S.C. § l 1 07a(a)( l ).

                                              B.
        In the years after Congress enacted section 5 64, FDA issued dozens of
     EUAs in response to various public-health emergencies. See, e.g. , Author­
     ization of Emergency Use of the Antiviral Product Peramivir Accompa­
     nied by Emergency Use Information; Availability, 74 Fed. Reg. 5 6,644
     (Nov. 2, 2009) (antiviral drug to treat swine flu). The agency's use of
     EUAs increased dramatically with the onset of the COVID- 1 9 pandemic
     in 2020. As of January 202 1 , the agency had issued more than 600 EUAs
     for products to combat COVID- 19, including drugs, tests, personal protec­
     tive equipment, and ventilators. See FDA, FDA CO VID-19 Pandemic


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     Recovery and Preparedness Plan (PREPP) Initiative: Summary Report
     at 6 (Jan. 202 1 ); cf id. at 24 (noting that FDA issued 65 EUAs prior to
     COVID- 1 9). More importantly for present purposes, the agency has
     granted EUAs for three COVID- 1 9 vaccines manufactured by Pfizer,
     Moderna, and Janssen, respectively. See Authorizations of Emergency
     Use of Certain Biological Products During the COVID- 1 9 Pandemic;
     Availability, 86 Fed. Reg. 28,608 (May 27, 202 1 ) (Janssen); Authoriza­
     tions of Emergency Use of Two Biological Products During the COVID-
     1 9 Pandemic; Availability, 86 Fed. Reg. 5200 (Jan. 1 9, 202 1 ) (Pfizer and
     Moderna).
        As we have explained, section 5 64 of the FDCA contemplates that each
     EUA will be subject to various conditions. For the three COVID- 1 9
     vaccines, FDA implemented the "option to accept or refuse" condition
     described in section 5 64(e)( l )(A)(ii)(III) in the fo llowing manner: In
     each letter granting the EUA, FDA established as a "condition[] ofauthor­
     ization" that FDA's "Fact Sheet for Recipients and Caregivers" be made
     available to potential vaccine recipients. See, e.g. , Letter for Pfizer Inc.
     from RADM Denise M. Hinton, Chief Scientist, FDA at 6, 9 (updated
     June 25, 202 1 ), https://www.fda.gov/media/1 50386/download ("Pfizer
     EUA Letter"). The Fact Sheet in question states (to take the Pfizer vaccine
     as an example): "It is your choice to receive or not receive the Pfizer­
     BioNTech COVID- 1 9 Vaccine. Should you decide not to receive it, it will
     not change your standard medical care." Pfizer Fact Sheet at 5. We under­
     stand that this approach is consistent with FDA's general practice for
     EUAs. See EUA Guidance at 24-25 ( discussing the use of fact sheets to
     inform recipients of EUA products "[t]hat they have the option to accept
     or refuse the EUA product and of any consequences of refusing admin­
     istration of the product").
        As access to the COVID- 1 9 vaccines has become widespread, numer­
     ous educational institutions, employers, and other entities across the
     United States have announced that they will require individuals to be
     vaccinated against COVID- 1 9 as a condition of employment, enrollment,
     participation, or some other benefit, service, relationship, or access. 7 For



        7 See, e.g. , Rukmini Callimachi, For Colleges, Vaccine Mandates Often Depend on
     Which Party Is in Power, N.Y. Times (May 22, 202 1 ), https://www.nytimes.com/202 1/05/
     22/us/college-vaccine-universities.html; Tracy Rucinski, Delta will require COVID-1 9

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     instance, certain schools will require vaccination in order for students to
     attend class in person, and certain employers will require vaccination as
     a condition of employment.
        Some have questioned whether such entities can lawfully impose such
     requirements in light of the fact that section 5 64 instructs that potential
     vaccine recipients are to be informed that they have the "option to accept
     or refuse" receipt of the vaccine. 8 In the past few months, several lawsuits
     have also been filed challenging various entities' vaccination require­
     ments on the same theory. 9 The only j udicial decision to have addressed
     this issue so far summarily rejected the challenge. See Bridges v. Houston
     Methodist Hosp. , No. 4 : 2 1 -cv-0 1 774, 202 1 WL 2399994, at * 1-2 (S.D.
     Tex. June 12, 202 1 ), appeal docketed, No. 2 1 -203 1 1 (5th Cir. June 1 4 ,
     202 1 ).

                                                 II.

                                                 A.

        We conclude that section 564( e)( 1 )(A)(ii)(III) concerns only the provi­
     sion of information to potential vaccine recipients and does not prohibit
     public or private entities from imposing vaccination requirements for
     vaccines that are subject to EUAs. By its terms, the provision directs only
     that potential vaccine recipients be "informed" of certain information,
     including "the option to accept or refuse administration of the product."

     vaccinefor new employees, Reuters (May 1 4, 202 1 , 9 : 1 6 AM), https://www.reuters.com/
     world/us/delta-will-require-covid-1 9-vaccine-new-employees-202 1 -05- 14/.
         8 See, e.g. , Letter for Thomas C. Galligan Jr., Interim President, Louisiana State Uni­
     versity, from Jeff Landry, Attorney General of Louisiana (May 28, 202 1 ) ; see also
     Advisory Committee on Immunization Practices, Summary Report at 56 (Aug. 26, 2020),
     https://www.cdc.gov/vaccines/acip/meetings/downloads/min-archive/min-2020-08-508.
     pdf (reporting a CDC official as saying that EUA vaccines are not allowed to be mandato­
     ry).
         9 See, e.g., Defendant' s Notice of Removal, Bridges v. Methodist Hosp. , No. 4:2 l -cv-
     0 1 774 (S.D. Tex. June 1 , 202 1 ), 202 1 WL 222 1 293 (referencing complaint); Complaint,
     Neve v. Birkhead, No. l :2 1 -cv-00308 (M.D.N.C. Apr. 1 6, 202 1), 202 1 WL 1 902937;
     Complaint, Cal. Educators/or Med. Freedom v. L.A. Unified Sch. Dist. , No. 2 1 -cv-2388
     (C.D. Cal. Mar. 1 7, 202 1), 202 1 WL 1 0346 1 8; Complaint, Legaretta v. Macias, No. 2:2 1 -
     cv-00 1 79 (D.N.M. Feb. 28, 202 1 ), 202 1 WL 909707; see also Complaint, Health Free­
     dom Defense Fund v. City ofHailey, No. I :2 1 -cv-00212-DCN (D. Idaho May 14, 202 1 ),
     202 1 WL 1 944543 (making a similar argument about a face-mask requirement).

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     FDCA § 5 64(e)(l )(A)(ii)(III). In the sense used here, the word "inform"
     simply means to "give (someone) facts or information; tell." New Oxford
     American Dictionary 891 (3d ed. 20 1 0); see also, e.g. , Webster 's Third
     New International Dictionary 1 1 60 (2002) (similar). Consistent with this
     understanding, the conditions of authorization that FDA imposed for the
     COVID- 1 9 vaccines require that potential vaccine recipients receive
     FDA's Fact Sheet, see, e.g. , Pfizer EUA Letter at 6, 9, which states that
     recipients have a "choice to receive or not receive" the vaccine, see, e.g. ,
     Pfizer Fact Sheet at 5 . Neither the statutory conditions o f authorization
     nor the Fact Sheet itself purports to restrict public or private entities from
     insisting upon vaccination in any context. Cf Bridges, 202 1 WL 2399994,
     at *2 ( explaining that section 564 "confers certain powers and responsibil­
     ities to the Secretary of [HHS] in an emergency" but that it "neither
     expands nor restricts the responsibilities of private employers"). 10
        The language of another provision of section 5 64 reflects the limited
     scope of operation of section 564(e)( 1 )(A)(ii)(III). Section 5 64(/) pro­
     vides that "this section [i.e., section 5 64] only has legal effect on a person
     who carries out an activity for which an authorization under this section
     is issued ." This provision expressly forecloses any limitation on the
     activities of the vast majority of entities who would insist upon vaccina­
     tion requirements, because most do not carry out any activity for which an
     EUA is issued.
        To be sure, the EUA conditions effectively require parties administer­
     ing the products to do so in particular ways-including that they only
     administer the products to individuals after providing them the informa­
     tional Fact Sheets that FDA prescribes-and some of those entities,

         1 0 Earlier-introduced versions of section 564(e)( l )(A)(ii)(III) in 2003 referred to "any
     option to accept or refuse administration of the product" (as opposed to "the" option), a
     formulation that might have even more clearly conveyed the informational nature of the
     condition. See, e.g., S. 1 5, 1 08th Cong. § 204 (Mar. 1 1 , 2003) (emphasis added). We have
     not found any explanation for why Congress revised the provision to refer to "the option,"
     so we ascribe little significance to the change-either for or against our reading of the
     statute. See Mead Corp. v. Tilley, 490 U. S. 7 1 4, 723 ( 1 989); Trainmobile Co. v. Whirls,
     33 1 U.S. 40, 6 1 ( 1 94 7) ("The interpretation of statutes cannot safely be made to rest upon
     mute intermediate legislative maneuvers."). In 1 0 U.S. C. § 1 1 07a(a), moreover, Congress
     used the alternative formulation "an option to accept or refuse" in referring to the condi­
     tion in section 564(e)( l )(A)(ii)(III) as it relates to the armed forces. (Emphasis added.)
     This discrepancy counsels further against assigning interpretive weight to the change from
     "any" to "the" in the legislative development of section 564.

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     such as universities, might also impose vaccination requirements ( e.g., on
     their students and employees). There is no indication, however, that
     Congress intended to regulate such entities except with respect to the
     circumstances of their administration of the product itself. See, e.g. ,
     FDCA § 5 64(e)( l )(B)(ii) (authorizing FDA to establish " [a]ppropriate
     conditions on who may administer the product with respect to the emer­
     gency use of the product, and on the categories of individuals to whom,
     and the circumstances under which, theproduct may be administered with
     respect to such use" (emphasis added)). And it would have been odd for
     Congress to have done so, for in that case the entities choosing to admin­
     ister EUA products would be limited in their relations with third parties
     ( e.g., students, employees) in ways that analogous entities that did not
     administer the products were not.
         This reading of the "option to accept or refuse" condition to be infor­
     mational follows not only from the plain text of the provision, but also
     from the surrounding requirements in section 564(e)(l )(A)(ii). See, e.g. ,
     Lagos v. United States, 1 3 8 S. Ct. 1 684, 1 688-89 (20 1 8) (relying on the
     canon of "noscitur a sociis, the well-worn Latin phrase that tells us that
     statutory words are often known by the company they keep"). In addition
     to requiring that potential recipients be informed of "the option to accept
     or refuse administration of the product," the statute also requires that
     they be informed of "the consequences, if any, of refusing administra­
     tion of the product, and of the alternatives to the product that are availa­
     ble and of their benefits and risks." FDCA § 564(e)( l )(A)(ii)(III).
     Similarly, the two other provisions in subsection ( e)(1 )(A)(ii) require that
     individuals be informed of the fact that FDA "has authorized the emer­
     gency use of the product" and of "the significant known and potential
     benefits and risks of such use, and of the extent to which such benefits
     and risks are unknown." Id. § 564(e)( l )(A)(ii)(I)-(II). These provisions
     all appear to require only that certain factual information be conveyed to
     those who might use the product.
         Indeed, if Congress had intended to restrict entities from imposing
     EUA vaccination requirements, it chose a strangely oblique way to do so,
     embedding the restriction in a provision that on its face requires only that
     individuals be provided with certain information (and grouping that
     requirement with other conditions that are likewise informational in
     nature). Congress could have created such a restriction by simply stating
     that persons ( or certain categories of persons) may not require others to

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     u s e an EUA product. See Kloeckner v . Solis, 568 U . S . 4 1 , 5 2 (20 1 2)
     (rejecting a statutory interpretation positing that Congress took a "rounda­
     bout way" and an "obscure path" to reach "a simple result"); cf Whitman
     v. Am. Trucking Ass 'ns, 53 1 U.S. 457, 468 (200 1 ) (Congress does not
     "hide elephants in mouseholes").
         Our reading of section 564(e)( l )(A)(ii)(III) does not fully explain why
     Congress created a scheme in which potential users of the product would
     be informed that they have "the option to accept or refuse" the product.
     The legislative history of the 2003 statute does not appear to offer any
     clear explanation. Perhaps Congress viewed section 5 64(e)(l )(A)(ii)(III)
     as a variation on the "informed consent" requirement that applies to
     human subj ects in "investigational drug" settings, 1 1 the only other context
     in which FDA may (in a limited fashion) authorize the introduction of
     unapproved drugs into interstate commerce. Or perhaps Congress includ­
     ed this condition to ensure that potential users of an EUA product would
     not misunderstand what the likely impact of declining to use that product
     would be.
         The information conveyed pursuant to the "option" clause continues to
     be a true statement about a material fact of importance to potential vac-

         1 1 Section 355(i)(4) of title 2 1 provides that an IND exemption to the premarket ap­
     proval requirement may only apply ifthe manufacturer or sponsor of an expert investiga­
     tion requires the experts in question to certify
             that they will inform any human beings to whom such drugs, or any controls used
              in connection therewith, are being administered, or their representatives, that such
              drugs are being used for investigational purposes and will obtain the consent of
              such human beings or their representatives, except where it is not feasible, it is con­
              trary to the best interests of such human beings, or the proposed clinical testing
              poses no more than minimal risk to such human beings and includes appropriate
              safeguards.
     Congress did not include this same "informed consent" requirement as part of the EUA
     provision in 2003, perhaps out of concern that it would not be practicable in emergency
     situations. See Project BioShield: Contractingfor the Health and Security ofthe Ameri­
     can Public: Hearing Before the H. Comm. on Gov 't Reform, 1 08th Cong. 33 (Apr. 4,
     2003) (statement of Mark B. McClellan, Commissioner, FDA, and Anthony S. Fauci,
     Director, National Institute of Allergy and Infectious Diseases) ("Because urgent situa­
     tions may require mass inoculations and/or drug treatments, such informed consent
     requirements may prove impossible to implement within the necessary time frame when
     trying to achieve the public health goal of protecting Americans from the imminent
     danger."); see also inf,-a note 1 5 ( explaining that the informed consent requirements
     contained in 2 1 U.S.C. § 355(i)(4) do not apply to EUA products).

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          Requiring the Use ofa Vaccine Subject to an Emergency Use A uthorization

     cine recipients-virtually all such persons continue to have the "option"
     of refusing the vaccine in the sense that there is no direct legal require­
     ment that they receive it. See Bridges, 202 1 WL 23 99994, at *2 (noting
     that an employer's vaccination policy was not "coercive" because an
     employee "can freely choose to accept or refuse a COVID- 1 9 vaccine;
     however, if she refuses, she will simply need to work somewhere else");
     Wen W. Shen, Cong. Research Serv., R46745, State and Federal Authori­
     ty to Mandate COVID-19 Vaccination at 4 (Apr. 2, 202 1 ) ("[E]xisting
     vaccination mandates-as they are typically structured-generally do not
     interfere with . . . an individual's right to refuse in that context. Rather,
     they impose secondary consequences-often in the form of exclusion
     from certain desirable activities, such as schools or employment-in the
     event of refusal." (footnote omitted)); Black 's Law Dictionary 1 1 2 1 (7th
     ed. 1 999) (defining "option" as relevant here as "[t]he right or power to
     choose; something that may be chosen"); The American Heritage Dic­
     tionary of the English Language 1 23 5 (4th ed. 2000) (similar); cf FDCA
     § 564( e )(1 )(A)(ii)(III) ( directing that potential vaccine recipients be
     informed not only of "the option to accept or refuse administration of the
     product" but also of"the consequences, if any, ofrefusing administration
     of the product" ( emphasis added)).
          Importantly, however, and consistent with FDA's views, we also read
     section 5 64 as giving FDA some discretion to modify or omit "the option
     to accept or refuse" notification, or to supplement it with additional in­
     formation, if and when circumstances change. As noted above, the statute
     directs FDA to establish the section 564(e)( 1 )(A) conditions "to the extent
     practicable given the applicable [emergency] circumstances" and "as the
     [agency] finds necessary or appropriate to protect the public health."
     FDCA § 5 64(e )( 1 )(A). Both of these phrases-"to the extent practicable"
     and "as the [agency] finds necessary or appropriate"-are generally
     understood to confer discretion on an agency. See, e.g. , Gallegos­
     Hernandez v. United States, 6 8 8 F.3d 1 90, 1 95 (5th Cir. 20 1 2) (per curi­
     am) ("to the extent practicable"); Madison-Hughes v. Shala/a, 80 F.3d
      1 1 2 1 , 1 1 2 8 (6th Cir. 1 996) (collecting cases on "necessary" and "appro­
     priate"). Moreover, the portion of section 564 that deals specifically with
     informational conditions provides that FDA should establish "[a]ppropri­
     ate" conditions designed to ensure that potential vaccine recipients are
     informed of the "option to accept or refuse" an EUA product. FDCA
     § 5 64(e)( l )(A)(ii). These qualifiers indicate that FDA's responsibility to

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     impose the "option to accept or refuse" condition i s not absolute and that
     the agency has some discretion to modify or omit the condition when the
     agency finds the notification would not be "practicable" given the emer­
     gency circumstances, or to determine that changes to the notification are
     "necessary or appropriate to protect the public health." See EUA Guid­
     ance at 24 n.46 (noting circumstances in which the "option to accept or
     refuse" notification might not be practicable). 1 2 In addition, section 564
     gives FDA the authority to supplement the information that is conveyed
     to potential vaccine recipients, including information about "the conse­
     quences, if any, of refusing administration of the product. " FDCA
     § 5 64(e)( l )(A)(ii)(III); see also id. § 5 64(e)( l )(B) (noting that FDA has
     the authority to impose additional conditions as the agency "finds neces­
     sary or appropriate to protect the public health"); EUA Guidance at 22
     n.40, 26-27 (noting this point). Together, then, these provisions of section
     564 give FDA the authority to adapt to changing circumstances and to
     ensure that the information conveyed to potential users of EUA products
     is accurate. 1 3
        Although many entities' vaccination requirements preserve an indiv­
     idual ' s ultimate "option" to refuse an EUA vaccine, they nevertheless
     impose sometimes-severe adverse consequences for exercising that option
     (such as not being able to enroll at a university). Under such circumstanc­
     es, FDA could theoretically choose to supplement the conditions of au­
     thorization to notify potential vaccine recipients of the possibility of such
     consequences ( or to make it even clearer that the consequences described


          1 2 Indeed, FDA has recently exercised its discretion not to require certain of the statu­

     torily specified conditions with respect to the current COVID- 1 9 pandemic. We under­
     stand that FDA has amended or plans to amend the EU As for the COVID- 1 9 vaccines so
     as not to require compliance with several of the conditions-including the "option to
     accept or refuse" notification-when the vaccines are exported to other countries. See,
     e.g., Pfizer EUA Letter at 1 0.
          13 C ongress's use of the phrase "Required conditions" in the title of subsection

     (e) ( l )(A) and its specification of certain conditions in the statute suggest that Congress
     may have presumed that FDA would generally find that the specified conditions are
     "necessary or appropriate" and thus impose them. As we discuss above, however, the
     operative text of section 564 indicates that FDA has some discretion to modify, omit,
     or supplement the conditions in some circumstances. See Fulton v. City ofPhiladelphia,
     1 4 1 S. Ct. 1 868, 1 879 (202 1 ) ("[A] title or heading should never be allowed to override
     the plain words of a text." (quoting A. Scalia & B. Garner, Reading Law: The Interpreta­
     tion ofLegal Texts 222 (20 1 2)) (alteration in original)).

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          Requiring the Use of a Vaccine Subject to an Emergency Use Authorization

     in the Fact Sheets are limited to consequences related to medical care). As
     we have noted, however, section 564 does not limit the ability of entities
     to impose vaccination requirements, and FDA would not be required to
     change the Fact Sheets in order to allow them to impose such require­
     ments. 14
                                           * * * * *

        As noted above, FDA agrees with our interpretation of section 564.
     On a few occasions, however, FDA has made statements that could
     be understood as saying that the condition described in section
     5 64(e)( l )(A)(ii)(III) prohibits entities (particularly the U . S . military)
     from requiring the use of EUA products. In 2005, for instance, FDA
     issued an EUA that permitted the use of a vaccine for the prevention of
     inhalation anthrax by individuals between 1 8 and 6 5 years of age who
     were deemed by the Department of Defense ("DOD") to be at heightened
     risk of exposure due to an attack with anthrax. As a condition of that
     authorization, the agency required DOD to inform potential vaccine
     recipients "of the option to accept or refuse administration of [the vac­
     cine] ." Authorization of Emergency Use of Anthrax Vaccine Adsorbed for
     Prevention of Inhalation Anthrax by Individuals at Heightened Risk of
     Exposure Due to Attack With Anthrax; Availability, 70 Fed. Reg. 5452,
     5455 (Feb. 2, 2005). That EUA continued:
           With respect to [the] condition . . . relating to the option to accept or
           refuse administration of [the vaccine], the [immunization program]
           will be revised to give personnel the option to refuse vaccination.
           Individuals who refuse anthrax vaccination will not be punished. Re­
           fusal may not be grounds for any disciplinary action under the Uni­
           form Code of Military Justice. Refusal may not be grounds for any
           adverse personnel action. Nor would either military or civilian per­
           sonnel be considered non-deployable or processed for separation

        14 FDA further informs us that, wholly apart from FDA's own authority to change the
     Fact Sheet, nothing in the FDCA would prohibit an administrator of the vaccine who also
     has a relationship with the individuals to whom the vaccine is offered (e.g., students in a
     university that offers the vaccine) from supplementing the FDA Fact Sheet at the point of
     administration with factually accurate information about the possible nonmedical conse­
     quences of the person choosing not to use the product ( e.g., that she might not be permit­
     ted to enroll).

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          based o n refusal o f anthrax vaccination. There may b e n o penalty or
          loss of entitlement for refusing anthrax vaccination.
     Id. ; see also id. (allowing DOD to inform recipients that "military and
     civilian leaders strongly recommend anthrax vaccination, but . . . individ­
     uals [subject to the vaccination program] may not be forced to be vac­
     cinated" and that "the issue of mandatory vaccination will be reconsidered
     by [DOD] after FDA completes its administrative process."). FDA includ­
     ed the same information in its later extension of that EUA. See Authoriza­
     tion of Emergency Use of Anthrax Vaccine Adsorbed for Prevention of
     Inhalation Anthrax by Individuals at Heightened Risk of Exposure Due
     to Attack With Anthrax; Extension; Availability, 70 Fed. Reg. 44,657,
     44,659-60 (Aug. 3, 2005).
        In addition, although it is less than clear, certain FDA guidance could
     be read as saying that section 5 64 confers an affirmative "option" or
     "opportunity" to refuse EUA products. See EVA Guidance at 24 n.46
     (implying that the condition in section 5 64(e)( l )(A)(ii)(III)-which is
     subject to waiver for the armed forces under 10 U.S.C. § 1 1 07a-protects
     "the option for members of the armed forces to accept or refuse admin­
     istration of an EUA product"); Guidance Emergency Use Authorization of
     Medical Products, 2007 WL 23 1 9 1 1 2, at * 1 5 (July 1 , 2007) ( stating that
     "[r]ecipients must have an opportunity to accept or refuse the EUA prod­
     uct").
        These statements do not affect our conclusion. Neither the 2005 anthrax
     vaccine EUA nor the later FDA guidance articulated a legal interpretation
     of section 564(e)( l )(A)(ii)(III)' s text. And FDA appears to have insisted
     upon the voluntariness requirement for DOD in the anthrax vaccine EUA
     because of then-recent litigation in which a court enjoined DOD from
     implementing a mandatory vaccination program based upon a different
     statutory provision that is inapplicable to EUAs. See Doe v. Rumsfeld, 3 4 1
     F. Supp. 2d 1 (D.D.C. 2004) (relying o n 1 0 U . S . C . § 1 1 07); Doe v.
     Rumsfeld, 297 F. Supp. 2d 1 1 9 (D.D.C. 2003) (same); see also 70 Fed.
     Reg. at 44,660 (requiring DOD to tell vaccine recipients the following:
     "On October 27, 2004, the U.S. District Court for the District of Columbia
     issued an Order declaring unlawful and prohibiting mandatory anthrax
     vaccinations to protect against inhalation anthrax, pending further FDA
     action. The Court 's injunction means you have the right to refuse to take
     the vaccine without fear of retaliation." (emphasis added)); 70 Fed. Reg.


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     at 5454 ( discussing litigation); see also infra note 1 5 ( explaining that 1 0
     U.S.C. § l 1 0 7(f) is inapplicable to EUAs).

                                                   B.
        Section 5 64(e)( 1 )(A)(ii)(III) also raises a question about how to under­
     stand its cognate provision regarding the use of EUA products by the
     armed forces. As we noted above, in the same 2003 legislation that first
     created section 5 64, Congress also added the fol lowing provision to title
     1 0 of the United States Code:
          In the case of the administration of [an EUA] product . . . to mem­
          bers of the armed forces, the condition described in section
          5 64(e)( l )(A)(ii)(III) . . . and required under paragraph ( l )(A) or
          (2)(A) of such section 5 64( e ), designed to ensure that individuals
          are informed of an option to accept or refuse administration of a
          product, may be waived only by the President only if the President
          determines, in writing, that complying with such requirement is not
          in the interests of national security.
     1 0 U.S.C. § l 1 07a(a)( l ). 1 5 On its own terms, this provision appears to be
     consistent with-and even to support-our reading of section 5 64, as it
     likewise describes the "option to accept or refuse" condition in purely
     informational terms. The language refers to the President' s authority to



         1 5 Section 1 1 07(f) of title l 0-an earlier-enacted provision-contains a similar, but
     importantly different, waiver authority. Specifically, that provision authorizes the Presi­
     dent, " [i]n the case of the administration of an [IND] or a drug unapproved for its applied
     use to a member of the armed forces in connection with the member's participation in a
     particular military operation," to waive "the prior consent requirement imposed under
     [2 1 U.S.C. § 35 5(i)(4)] ." l O U.S.C. § 1 1 07(f)( l ). That "prior consent requirement," which
     is imposed for purposes of the human clinical trials for which FDA authorizes "investiga­
     tional" use of unapproved drugs, see 2 1 U.S.C. § 3 5 5(i)(4), does not apply to EUA
     products, which typically are more widely available, see FDCA § 564(k); EUA Guidance
     at 24 ("informed consent as generally required under FDA regulations is not required for
     administration or use of an EUA product" (footnote omitted)). Thus, the waiver provision
     in section l 1 07(f) is inapplicable to EUA products. See l O U.S.C. § 1 1 07(f)(2) (explain­
     ing that this waiver authority applies only in cases in which "prior consent for administra­
     tion of a particular drug is required" because the Secretary of HHS determines that the
     drug "is subj ect to the [IND] requirements of [2 1 U . S . C . § 3 5 5 ( i )]"); see also id.
     § l 1 0 7(f)(4) (defining the relevant consent requirements as those in 2 1 U.S.C. § 3 55(i)).

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     waive a requirement t o provide certain information, not t o waive any right
     or affirmative "option" to refuse administration of the product itself.
        On the other hand, the conference report on the legislation that created
     both section 5 64 of the FDCA and section 1 1 07a of title 1 0 described the
     latter provision in the following way:
          [This provision] would authorize the President to waive the right of
          service members to refuse administration of a product if the Presi­
          dent determines, in writing, that affording service members the right
          to refuse the product is not feasible, is contrary to the best interests
          of the members affected, or is not in the interests of national securi-
          ty.
     H.R. Rep. No. 1 08-3 54, at 782 (2003) (Conf. Rep.) (emphasis added).
     This language indicates that the conferees may have believed that section
      1 1 07a concerns some "right" of members of the armed forces to refuse
     the use of EUA products. And that belief may help to explain why section
      1 1 07 a allows only the President to exercise the waiver authority.
          Consistent with this legislative history and the vesting of the waiver
     authority in the President, DOD informs us that it has understood section
     1 1 07a to mean that DOD may not require service members to take an
     EUA product that is subj ect to the condition regarding the option to re­
     fuse, unless the President exercises the waiver authority contained in
     section 1 1 07a. See DOD Instruction 6200.02, § E3 .4 (Feb. 27, 2008) ("In
     the event that an EUA granted by the Commissioner of Food and Drugs
     includes a condition that potential recipients are provided an option to
     refuse administration of the product, the President may . . . waive the
     option to refuse for administration of the medical product to members of
     the armed forces." (emphasis added)). Moreover, we understand that
     DOD's position reflects the concern that service members, unlike civilian
     employees, could face serious criminal penalties ifthey refused a superior
     officer's order to take an EUA product. See 1 0 U . S . C . § 890; see also
     United States v. Kisala, 64 M.J. 50 (C.A.A.F. 2006) (upholding a soldier's
     punishment for refusing to take a vaccine). In this way, service members
     do not have the same "option" to refuse to comply with a vaccination
     requirement as other members of the public.
          As noted above, it does appear that certain members of Congress
     thought that section 1 1 07a concerned a prohibition against requiring
     service members to take an EUA product-perhaps on the view that the

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     waiver authority in section 1 1 07a paralleled the one in 1 0 U . S . C .
     § 1 1 07 ( f), which does effectively prohibit the administration o f an IND
     product in a clinical trial without first obtaining the individual's affirma­
     tive, informed consent. See supra note 1 5 ( distinguishing these waiver
     authorities). 16 As explained, however, that intent or expectation is not
     realized in the text of section 5 64(e)( l )(A)(ii)(III), which section 1 1 07a
     expressly cross-references. Cf Steinle v. City & Cty. of San Francisco,
     9 1 9 F.3d 1 1 54, 1 1 64 n . 1 1 (9th Cir. 20 1 9) ("[T]he plain and unambiguous
     statutory text simply does not accomplish what the Conference Report
     says it was designed to accomplish."); Goldring v. Dist. ofColumbia, 4 1 6
     F . 3 d 70, 75 (D.C. Cir. 2005) ("A sentence i n a conference report cannot
     rewrite unambiguous statutory text[.]"). 1 7 We therefore conclude that
     section 1 1 07a does not change our interpretation of section 5 64 of the
     FDCA.
         As for DOD's concern about service members who would lack a mean­
     ingful option to refuse EUA products because of the prospect of sanction,
     including possibly prosecution, we note that any difference between our
     view and the assumption reflected in the conference report should have
     limited practical significance. Given that FDA has imposed the "option to
     accept or refuse" condition for the COVID- 1 9 vaccines by requiring

        16   It is possible the conferees assumed that the new EUA legislation would, in effect,
     carry over from the earlier IND provision of the FDCA, see supra Part I.A and note 1 1 ,
     the condition that a covered product may not be administered to an individual without that
     person's express, informed consent-a condition that applies to the military when it
     undertakes the sort of clinical trial with an IND that 2 1 U.S.C. § 3 55 (i) governs, see supra
     note 1 1 . Congress did not include such a consent requirement in section 564, however,
     perhaps because EUA products are not limited, as INDs are, to use in human clinical
     trials, but are instead authorized for more widespread use in the case of a declared emer­
     gency. See supra Part I.A and notes 1 1 & 1 5 .
         1 7 Moreover, the legislative history as a whole i s not uniform o n this point. The earlier

     House report, for instance, described the condition in purely informational terms. See
     H.R. Rep. No. 1 08- 1 47, pt. 3, at 3 3 (2003) ("New section 5 64(k) [an earlier but similarly
     worded version of what became 1 0 U.S.C. § 1 1 07a] pertains to members of the Armed
     Forces and, among other things, it specifies that the President may waive requirements
     designed to ensure that such members are informed of the option to accept or refuse
     administration ofan emergency use product, upon certain findings[.]" (emphasis added));
     see also Milner v. Dep 't ofthe Navy, 562 U.S. 562, 574 (20 1 1 ) (noting that "[l]egislative
     history, for those who take it into account, is meant to clear up ambiguity, not create it,"
     and thus, "[w]hen presented, on the one hand, with clear statutory language and, on the
     other, with dueling committee reports, we must choose the language").

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     distribution o f its Fact Sheet containing the "[i]t i s your choice to receive
     or not receive" language, DOD is required to provide service members
     with the specified notification unless the President waives the condition
     pursuant to 1 0 U.S.C. § 1 1 07a. And because DOD has informed us that it
     understandably does not want to convey inaccurate or confusing infor­
     mation to service members-that is, tel ling them that they have the "op­
     tion" to refuse the COVID- 1 9 vaccine if they effectively lack such an
     option because of a military order-DOD should seek a presidential
     waiver before it imposes a vaccination requirement.

                                           III.

        For the reasons set forth above, we conclude that section 5 64 of the
     FDCA does not prohibit public or private entities from imposing vaccina­
     tion requirements, even when the only vaccines available are those au­
     thorized under EUAs.

                                              DAWN JOHNSEN
                                       Acting Assistant Attorney General
                                            Office ofLegal Counsel




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        U P DATE
        Getti ng vaccinated p revents severe i l l ness, hospital izations, and death. U nvacci nated people should
        get vacci nated and continue masking u ntil they a re ful ly vaccinated . With the Delta variant, this is more
        u rgent than ever. C DC has u pdated guida nce for fu l ly vaccinated people based on new evidence on
        the Delta variant.




    □ Back to COVID-1 9 Horne



    Considerations for I n stitutions of H ig he r E d u cation
    U pdated J u ly 23, 2021

    I   Languages


    Print




    Summary of Recent Changes

                                                                                                                         D


              •     Removed the consideration to cohort by vacci nation statu s


         View P revious Updates




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        Key Points
        This guidance supplements and does not replace a ny federal, state, tribal, local, or territorial hea lth
        and safety laws, rules, and regu lations with which I H Es must comply.

           • This g u ida nce provides resou rces that I H E administrators can u se to prevent the spread of
             COVI D-19 among students, facu lty, and staff d uring the COVI D-19 pandemic.
           • I H E administrators can help protect students, faculty, and staff a nd slow the spread of COVI D-
             19, by encouraging vacci nations and u sing CDC's Guidance for I H Es.
           • I H Es can help i ncrease vaccine u ptake a mo ng students, faculty, and staff by p roviding
             i nformatio n about COVI D-19 vaccination, promoting vacci ne trust and confidence, and
                establishing supportive policies and practices that make getting vaccinated as easy and
                convenient as possible.
           • I H Es where al l students, faculty, and staff a re fu lly vaccinated prior to the start of the semester
             ca n return to full capacity i n-person learn ing, without requiring or recommending masking or
             physical distanci ng for people who are ful ly vacci nated in accorda nce with C DC's I nte rim
                Public Health Recommendations for Fully Vacci nated People.
           • I H Es where not everyone is ful ly vacci nated will have a mixed population of both people who
             are ful ly vacci nated and people who a re not fully vaccinated on campus which requ i res
             decision making to protect the people who are not fully vaccinated.




       On This Page




                                                                                  I ntrod uction
                                                                This guidance is i ntended for a ny i nstitution of
        higher ed ucation (I H E) that offers educatio n or instruction beyond the high school level, such as
       col leges a nd u n iversities, including com m u nity a nd technical colleges.

https://www.cdc.gov/coronavirus/20 1 9-ncov/community/colleges-universities/considerations.html[8/2/202 l 3 :3 0:45 PM]
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Considerations for Institutions of Higher Education (U-IEs)



        To determine you r level of com munity transmission, p lease see CDC's COVID Tracker.

        This guid a nce is split i nto fou r sections to support I H Es in their decision making:


        Section 1: Offer a nd P romote COVI D-1 9 Vaccin ation


        Section 2 : Guidance for I H Es Where Everyone i s F u l ly Vaccinated


        Section 3: Guidance for I H Es Where Not Everyone is Fully Vaccinated


        Section 4: General Considerations for A l l l H Es


        I H E administrators can determi ne, in col la boration with tri bal, state, local, a nd territorial public health
        offici a l s and i n accorda nce with applicable l aw, how t o implement C DC guid ance w h i l e considering
       the needs a nd circu m stances of the I H E with in the context of their local com munity. I H E ad ministrators
        should take i nto accou nt health equity considerations for promoting fai r access to health. This
        guida nce does not replace a ny a pplicable fede ra l, state, tribal, local, or territoria l health and safety
        laws, rules, a nd regu l ations with which I H E s must comply.

        The Department of Ed ucation has a complementa ry hand book to this guid a nce ED CO V/O-79
        Handbook Volume 3: Strategies for Safe Operation and Addressing the Impact of COV/O-79 on Higher
        Education Students, Faculty, and Staff fou nd here:
        https://www2 ed gov/documents/coronavirus/reopening-3 pdf                                 □ □


        Section 1 : Offer a nd P romote COVI D-1 9 Vacci nation
        I H Es can p lay a critical role in offering and promoti ng vaccination to hel p i ncrease the proportion of
        students, facu lty a nd staff that a re vaccinated to help slow the spread of COVI D-1 9 a nd prevent
        i nterruptions to i n - pe rson learning.

       Vaccination is the leading prevention strategy to protect i nd ividuals from COVI D-19 disease and end
       the COVI D-19 pandem ic. C u rrent COVI D-19 vaccines authorized for use in the U nited States a re safe
        a nd effective, widely accessible in the U . S., and available at no cost to a l l people l iving i n the U . S .
        Learn more about t h e Benefits of Getti ng a COVI D-19 Vacci ne.

        I H Es ca n help increase vaccine uptake among students, faculty, and staff by provid i ng i nformation
       a bout and offeri ng COVI D-19 vaccination, promoting vaccine trust a nd confidence, a nd establishing
        su pportive pol icies a nd practices that m ake getti ng vaccinated as easy a nd convenient as possible. I H E



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        administrators may refer to C DC's Workplace Vacci nation Program as instructive to help prepare for
        campus vacci nation.

       To i ncrease access to vacci nes, I H Es can

           • P rovide on-site vaccination in I H E faci l ities or local vacci nation sites through pa rtnersh ips (e.g.,
                existi ng occu pational and student health clinics, I H E-run temporary vacci nation cli nics, mobile
                vacci nation clinics b roug ht to the I H E, etc.).
           • Consider hosti ng a mass vaccination clinic or setting u p smaller vaccine venues on ca mpus to
                promote vacci nation.
           • Connect with you r loca l or state health depa rtment or health system to learn what might be
                possible.
                    - If you a re not a l ready worki ng with you r local o r state health department, consider
                        reachi ng out for assistance with promoti ng and i m plementi ng vacci nations withi n the
                        I H E community. The local or state health department can assist with coord i nation of
                        vaccination cli nics and offer local vacci ne expertise.
                    - Refer to C DC guidance for help planning vacci nation clinics held at sate l lite, tem porary,
                        or off-site locations.
                    - Refer to the American College H ealth Association's website □ for a com pi l ation of
                        g u id ance and resou rces for hosting a mass vacci nation clinic and othe r best practices.
            • Use trusted messe ngers to promote vacci nation, including cu rrent and former students.
            • Consider offeri ng m u ltiple locations and vaccination times to accommodate student work and
                academic sched u les.
            • Facilitate access to off-site vacci nation services in the com m u n ity (e.g., pha rmacies, mobile
                vaccination clinic set u p i n com m u n ity locations, partnershi ps with local health departments,
                healthcare centers and other com m u n ity clinics, partnerships with student o rganizations).
                    - Visit vaccines.gov to fi nd out where students can get vaccinated i n you r comm u n ity and
                        identify locations near to campus.
                    - Offer free transportation to off-site vacci nation sites for students who need assistance.
            • Offer flexi ble, supportive sick leave options (e.g., paid sick leave), i n accorda nce with
                applicable l aws and I H E policies, for employees with side effects after vaccination. See C DC's
                post-vaccination Considerations for Workplaces.
            • Offer flexi ble excused a bsence options for students receivi ng vacci nation and those with side
                effects after vaccination.

        To promote vacci nation, I H Es can



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           • Develop ed ucational messag ing for vaccination campaigns to build vaccine confidence and
                consider uti l izing student leaders and athletes as spokespersons.
           • Ask student and other organizations who are respected i n I H E com munities to help build
                confidence in COVI D-19 vaccines and promote the benefits of getti ng vacci nated.
           • Ask students, facu lty, and staff to promote vaccination efforts i n their social g roups and their
                communities.

        Certai n communities and groups have been disproportionately affected by COVI D-19 i l l ness and
        severe outcomes, and some communities might have had p revious experiences that affect their trust
        and confidence i n the healthcare system . Vaccine confidence may be d ifferent a mong students,
        faculty, and staff. I H E ad ministrators shou ld tailor communications a nd i nvolve trusted com munity
        messengers, including those on social med ia, to promote vaccinations a mong those who may be
        hesitant to receive COVI D-1 9 vaccination.

        I H E s can consider verifyi ng the vaccination status of their students, facu lty, and staff. Ad ministrators
        can d etermine vaccine record verification p rotocols, in accordance with state and local l aws.

        See COVI D-19 Vaccine Tool kit for I nstitutions of H igher Education (I H E). Com m u nity Colleges. and
        Technical Schools for more i nformation.


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        Section 2 : G u ida nce for I H Es Where Everyone i s Fu l ly
        Vaccinated
       This section is i ntended for I H E s that have a fu l ly vacci nated campus. People who are fu l ly vacci nated
        are at low risk of sym ptomatic or severe i nfection, and a growing body of evidence suggests that
        people who are fu lly vaccinated are less l i kely to have asymptomatic i nfection or transmit the vi rus
       that causes COVI D-19 to others. I H Es with fu l ly vaccinated students, faculty, and staff can refer to
        C DC's I nteri m P u blic Hea lth Recommendations for Fully Vaccinated People. As new i nformation
        become available, CDC guidance wi l l be u pd ated according ly.

        I H E s should comprehensively e ngage their I H E networks to establish and promote a vacci nation
       e nvironment that is safe and equitable for a l l students, faculty, and staff.

        Some students, faculty, or staff might not be able to get the COVI D-1 9 vaccine d ue to medical or
       other conditions. I H Es wi l l need to determine prevention strateg ies, accommodations, and policies for
       any students, facu lty, or staff who cannot be vacci nated .




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       I H E s where a l l students, facu lty, and staff a re fu l ly vacci nated prior to the start of the semester can
       return to fu l l capacity i n-person learni ng, without requiring or recommending masking or p hysical
       distanci ng for people who a re ful ly vaccinated i n accorda nce with C DC's Interim Pu blic Hea lth
       Recommendations for Fully Vacci nated People. Genera l public health considerations such as
       ha ndwashing, cleani ng/disi nfection and respi ratory etiquette should conti nue to be encouraged
       reg a rd less of vaccination status (see Section 4) . When hold ing gatheri ngs and events that i nclude
       individ uals who a re not fu l ly vaccinated such as campus visitors or others from o utside of the I H E, I H Es
       should uti l ize appropriate prevention strategies to protect people who a re not fu l ly vaccinated .


       Weari ng a M ask                                                                                     We a re sti l l learning how wel l
       Students, faculty, a nd staff who a re fu l ly vaccinated do not need                                the COVI D-19 vacci nes
       to wear masks, except where req uired by federa l, state, loca l,                                    protect people with
       tri bal, or territorial laws, rules and reg u l ations, i ncluding local                             wea kened i m m u ne systems,
       busi ness a nd workplace guidance. Although fu l ly vacci nated                                      including people who ta ke
       persons do not genera l ly need to wea r masks, C DC recom mends                                     i mmunosuppressive
       conti nued masking a nd physica l distanci ng for people with                                        medications. Ad ministrators
       weakened immune systems. I H Es can be s u pportive of students,                                     should advise students,
       faculty, or staff who choose to conti nue to wear a mask for a ny                                    faculty, and staff with
       reason.                                                                                              weakened i m m u ne systems
                                                                                                            on the i mportance of ta l ki ng
        P hysica l Dista nci ng                                                                             to thei r healthca re p roviders
        P hysica l distanci ng i s not necessary for fu lly vaccinated students,                            to discuss their activities and
       facu lty, and staff on campus for I H E s where everyone is fu l ly                                  precautions they may need
       vaccinated except indicated in CDC's Interi m P u blic Hea lth                                       to keep taking to p revent
       Recommendations for Fully Vacci nated People.                                                        COVI D-19. Cu rrently, CDC
                                                                                                            recommends conti n ued
        Housing and Com m u n a l S paces                                                                   masking a nd p hysical
       Shared housing i ncludes a broad ra nge of settings, such a s                                        distanci ng for peopl e with
       apartments, condominiu ms, student or facu lty/staff housi ng, a nd                                  weakened i m m u ne systems.
       fraternity and sorority housing. Peopl e who a re fu l ly vacci nated i n
       shared housing shou ld fol low CDC's I nterim P ublic Health
        Recom mendations for Fully Vacci nated People.


        H a nd Hyg iene a nd Respi ratory Etiquette
        I H E s should continue to facil itate health-promoting behaviors such as hand hygiene and respi ratory
       etiquette to red uce the spread of i nfectiou s disease in general.


        C l eani ng, I mprovi ng Venti l ation, a nd M a i ntai ni n g Healthy
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        Faci l ities
        I H Es should conti nue to follow cleaning, disi nfecti ng, and venti lation recommendations, including
        routi ne cleaning of high touch surfaces and shared objects as well as maintaining i m p roved
        ventilation.


        Testi ng
        People who are fu l ly vaccinated d o not need to undergo routine COVI D -19 scree n i ng testing. I f a fu l ly
        vaccinated person is exposed to someone with COVI D -19 they do not need to be tested u n less they
        a re experiencing COVI D-19 symptoms. Any person who experiences COVID-19 sym ptoms should get
        a COVI D -19 test. Refer to C DC's I nterim P ublic Health Recom mendations for Fu l ly Vacci nated People
        for more i nformation.


        Sym ptom Screen i ng
        E ncou rage students, facu lty, and staff to perform dai ly hea lth screenings for i nfectious i l l nesses,
        incl uding COVI D -19. E ncou rage students, facu lty, and staff with signs or symptoms of infectious i l l ness
       to stay home when sick and/or seek medical care. A COVI D-19 self-checker may be u sed to help
        decide when to seek COVI D -19 testi ng or medical ca re. If symptom screening is conducted, ensure
        that symptom screening is done safely, respectfu l ly, and i n accorda nce with a ny a ppl icable federal or
        state privacy and confidentia l ity laws.


        Contact Traci ng i n Combi nation with I solation and Qua ranti ne
        P rompt collabo ration between I H Es a nd health departments to im plement case i nvestigation LJ and
        contact tracing □ can effectively break the chain of transmission and p revent fu rther spread of the
       virus in the I H E setti ng and the com m u nity. All COVI D-19 case i nvestigation and contact tracing
        should be done in coord ination with state, local, triba l and territorial pu blic health authorities and i n
        accordance with local req u i rements a n d g u idance. I H Es shou ld conti nue to su pport i nvestigation and
        contact tracing detai led in C DC's Guida n ce for Case I nvestigation and Contact Tracing i n I H Es. People
       who a re ful ly vacci nated with no COVI D - l i ke symptoms do not need to quarantine or be restricted
       from work fol lowi ng an exposu re to someone with suspected or confi rmed COV I D -19, except where
        req u i red by federal, state, local, tribal, or territorial laws, rules, and reg u l ations, including local busi ness
        and workplace g u idance.


        Vari ants
       Variants of the virus that causes COVI D-19 a re spreading in the U nited States. C u rre nt data suggest
       that COVI D-19 vacci nes authorized for u se i n the United States offer p rotection ag a i nst known
       variants. CDC has systems in place to monitor how common these va riants a re and to look for the
        emergence of new variants. C DC wi l l conti nue to monitor va riants to see if they have any i mpact on
        how COVID-19 vaccines work in rea l -world conditions. For more i nformation see C DC's COVI D-19


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        Vaccines Work page.

        If I H Es experience increases in COVI D-19 cases among fu l ly vaccinated persons, administrators shou ld
        promptly contact their local or state public health department and determine whether they need to
        re-institute, i ntensify or i mplement certain prevention strategies.


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        Section 3 : G u i d a nce for I H Es Where not Everyone i s
        Fu l ly Vacci nated
        I H Es where not everyone is ful ly vaccinated w i l l have a m ixed popu lation of both people who are fu l ly
        vaccinated and people who a re not fu l ly vaccinated on campus which requ i res decision making to
        p rotect the people who a re not ful ly vaccinated .


        Genera l Considerations
        M u ltiple factors should inform the opti mal i m plementation of layered p revention strategies by I H Es.
        Ideal ly, consideration wou ld be g iven to both the d i rect campus population as wel l as the s urrounding
        community. The primary factors to consider incl ude: 1) level of com m u nity transmission of COVI D-19 ;
        2) COVID-19 vacci nation coverage, including among students, faculty, a nd staff; 3) i m plementation of
        a robust, freq uent SARS-CoV-2 screening testi ng prog ra m with high participation from the
        u nvaccinated campus population; and 4) any local COVI D-19 outbreaks or inc reasing tre nds.
        Discussion of these factors should occur i n collaboration with local or state p u blic health partners.


        P reventio n Strategies that Red uce S pread
        I H E administrators should create prog rams a nd policies that faci litate the adoption and
        i m plementation of preventio n strategies to slow the spread of COVI D-19 at the I H E and i n the loca l
        community. Evidence- based prevention strategies, including vacci nation, shou l d be i mplemented, and
        layered in I H E setti ngs. Key prevention strategies i nclude

           • Offering and promoti ng vacci nation
            • Consistent and correct use of masks
           • P hysical d i stanci ng
           • Ha ndwashing and respi ratory etiquette
           • Contact tracing i n combination with isolation and quarantine
           • Testing fo r COVI D-19
           • Maintaining healthy envi ronments (increased venti l ation and cleaning)


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           • Maintaining healthy operations (communications, supportive pol icies and hea lth equity)

       These prevention strateg ies remain critical i n I H E a nd com munity setti ngs with m ixed populations of
        both people who are fu l ly vaccinated and people who a re not fu l ly vaccinated .

        Particularly i n a reas of substa ntial to high transmission, I H Es in col la boration with their local or state
        health department may consider mai ntai n i ng or i mplementing add itional prevention strategies
        including physical d i sta nci ng and mask u se i ndoors by all students, facu lty, staff, and other people
        such as visitors, including those who a re ful ly vacci nated.

       Wea ri ng a Mask
       When people who a re not fu l ly vaccinated correctly wear a mask, they protect others a s wel l as
       themselves. Consistent and correct mask use by people who a re not ful ly vaccinated is especia l ly
        i m portant indoors and i n crowded setti ngs, when physical dista ncing cannot be maintai ned. G iven
       evidence of l i m ited transmission of COVI D-19 outdoors, 1 ,2, 3A 5, 6 C D C has u pdated its g uida nce for
       outdoor mask use a mong people who a re not fu l ly vaccinated .

       Ad ministrators should enco u rage people who a re not ful ly vaccinated and those who might need to
       take extra precautions to wea r a mask consistently and correctly:

           • I ndoors. Mask use is recommended for people who a re not fu l ly vacci nated including
               child ren. C h i l d ren u nder the age of 2 should not wea r a mask.
           • Outdoors. I n genera l, people do not need to wear masks when outdoors. However,
                pa rticularly i n a reas of substantial to high transmission, CDC recommends that people who a re
                not fu lly vaccinated wear a mask i n c rowded outdoor setti ngs or d u ring activities that involve
                sustai ned close contact with other people who are not fu l ly vaccinated .

       Although people who a re fu l ly vaccinated do not need to wear masks, I H E s should be supportive of
       vaccinated people who choose to wear a mask.

        I H Es that conti nue to requ i re universal mask pol icies should make exceptions for the following
       categories of people:

           • A person with a disability who cannot wea r a mask, or cannot safely wear a mask, because of
               a d isabi l ity as defi ned by the Americans with Disa bi l ities Act (42 U.S.C. 1 2101 et seq .).
           • A person for whom wearing a mask wou l d create a risk to workplace health, safety, or job
               d uty as determined by the relevant workplace safety g u idelines or fede ral reg u l ations.

        Physica l Distancing
        P hysical distancing means keeping space of at least 6 feet (about 2 arm lengths) between people who
       a re not from you r household in both indoor and outdoor spaces. People who are not fu l ly vacci nated


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        should conti nue to practice physical distancing.

         P romote physical distancing by

           • Hosti ng vi rtual-only activities, events, and gatheri ngs (of all sizes).
           • Holding activities, events, and g atheri ngs outdoors i n areas that can accommodate p hysica l
             distanci ng, when possi ble.
           • Spaci ng out or blocking off rows, chai rs, a nd/or table seating positions i n com m u nal u se
             shared spaces (such as classrooms, din ing halls, locker rooms, laboratory facilities, libraries,
                student centers, and lecture rooms) .
           • Limiti ng occupancy and req uiring mask u se by people who are not fu lly vaccinated, i ncluding
             drivers, and on campus buses/shuttles or other vehicles. Alternate or block off rows a nd
                i ncrease venti lation (i.e., open windows if possi ble) .

        H a nd Hygiene and Respi ratory Etiq uette
        I H Es should facilitate health-promoti ng behaviors such as hand washing and respi ratory etiquette to
        reduce the spread of i nfectious ill n esses i ncluding COVI D-19.

        I H Es can place visual cues such as ha ndwash i ng posters, stickers, and other materials in hig hly visible
        areas. They can download and pri nt ha ndwashing materials or order handwashing materials from
        CDC for free using CDC- I N FO on Demand.

        H ousing a nd Communal S paces
        Shared housi ng i ncl udes a broad range of setti ngs, such as a partments, condomi n iu ms, student o r
       facu lty/staff housing, a n d fraternity a n d sorority housin g . I H E administrators should refer t o CDC's
        Guida nce for Shared and Congregate Housing.

       Additionally consider:

           • If the I H E desig nates ful ly vaccinated dorms, floors or complexes, those areas should follow
                C DC's I nteri m Public Health Recommendations for Fully Vaccinated People.
           • Housing students who are not ful ly vacci nated i n single rooms i nstead of shared rooms when
             feasible.7
           • Establishing cohorts, such as g roups of dorm rooms or dorm floors that do not mix with other
             cohorts to minimize transmission across cohorts and facilitate contact tracing. All u nits that
                share a bathroom should be i ncluded in a cohort. Roommates/su ite-mates can be considered
                a household and do not need to use masks or physically distance withi n the household "unit"
                (e.g., dorm room or suite) u n less someone in the household is i l l .
           • Close or limit the ca pacity of comm unal use shared spaces such as d i ni ng areas, game room s,


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                exercise rooms, and lounges, if possi ble, to decrease m ixing among non-cohort people who
                are not ful ly vacci nated. Consider l i m iting use of communal u se shared space to people who
                a re ful ly vacci nated.

           • Limit b u i ld i ng access by non-residents, i ncluding outside g uests and non-essentia l visitors, to
                dorms and residence halls.


        Contact Traci ng i n Combination with I solation a nd Qua ra nti ne
        Case I nvestigation a nd Contact Tracing
        A l l COVI D-1 9 case i nvestigation and contact tracing should b e done i n coordi nation with state, local,
       triba l and territorial public health authorities and in accordance with local req u i rements and guida nce.
        I H Es should conti nue to support i nvestig ation and contact tracing detai led in CDC's G u idance for Case
        I nvestigation and Contact Tracing in I H Es. I H E administrators shou ld take a p roactive role in prepa ri ng
       for COVID-19 case i nvestigation and contact tracing detai led in C DC's Guidance for Case I nvestigation
        and Contact Tracing i n I H Es. It i s i m portant that case i nvestig ations and contact tracing are cond ucted
        i n a culturally appropriate manner consistent with appl icable privacy, public hea lth, healthcare, and
        workplace laws and reg u l ations.

           • Case i nvestigation a nd contact tracing a re essentia l i nterventions in a successfu l, m u ltipronged
                response to COVI D-19, and should be implemented a long with other p revention strategies
                such as offering and promoti ng vaccination, consistent and correct u se of masks and physical
                d istancing among people who are not fu l ly vacci nated . 8
           • Contact tracing with students, facu lty, a nd staff associated with the cam pus should be
                antici pated as a crucial strategy to reduce further tra nsmission once a case i s identified
                consistent with applicable privacy, public health, healthcare, and workplace l aws and
                reg u l ations.

        Consistent with a pplicable privacy laws, I H E officials should plan to provide i nformation and records to
        aid in the identification of exposu res, and notify close contacts, as appropriate, of exposu re as soon
        as possible after the I H E is notified that someone in the I H E has tested positive or been d iag nosed
       with COVI D-1 9.

        Quaranti ne a nd I solation
        Some students, facu lty, a n d staff might develop sym ptoms of COVI D-19 while on campus. I H E
        ad ministrators should b e prepa red for this possi bility a n d should clearly com m u nicate to students,
       facu lty, and staff actions to take when responding to someone who is sick with COVI D-19. I H E
        ad ministrators should col la borate with local public hea lth authorities to create a plan for quarantine
        and isolation to p rotect persons by preventi ng exposu re to people who have or m ig ht have COV I D -
       1 9 . I H Es should faci litate i solation of students, staff, educators, contractors, or vol u nteers with



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        suspected or confi rmed COVI D-19 and prompt reporting to the health department a nd follow
        Considerations for Case Investigation and Contact Tracing i n K-12 Schools a nd I nstitutions of Higher
        Education.


        Testi ng for COVI D -1 9
        Testi ng can slow a nd stop the spread of COVI D-19. Testing mu st be carried out in a way that protects
        individ uals' privacy a nd confidentiality, is consistent with a pplicable laws and reg u lations, and
        integ rates with state, loca l, a nd tribal public health systems.

        I H Es should conduct diagnostic or screening testing of students, faculty, a nd staff for purposes of
        surveilla nce or i n the context of an outbreak; however, the recommendations vary based on whether
        or not a person is ful ly vaccinated .

           • Diag nostic testing is i ntended to identify cu rrent i nfection i n individu als and is performed when
                a person has signs or symptoms consistent with COVI D-1 9, or when a person who is not fully
                vacci nated is asymptomatic but has recent known or suspected exposure to SARS-CoV-2.
                    - Students, faculty, a nd staff who are fu lly vacci nated can refrai n from testing following a
                      known exposure if they a re asym ptomatic. People who are fully vacci nated should
                      continue to get tested if experiencing COVI D-19 symptoms.
           • Screening testi ng is intended to identify i nfected people who are asymptomatic and do not
             have known, suspected, or reported exposure to SARS-CoV-2. Screening helps to identify
             u nknown cases so that measures can be taken to prevent fu rther transmission.
                    - Students, facu lty, and staff who are fu lly vacci nated can refrain from routine screen ing
                        testing, if feasible.

        I H E officials should determine in collaboration with local hea lth department officials the natu re of a ny
        testi ng strategy to be im plemented for pu rposes of diagnosis, screeni ng, or outbreak response, and if
        so, how to best do so. Testi ng strategies i mplemented should be done as part of a larger COVI D-19
        prevention plan. IHE testi ng guidance can be found at CDC's I nteri m Guidance for SARS-CoV-2
        Testing and Screening at I nstitutions of Higher Ed ucation (I H E s).

        I H Es may consider maintaining documentation of individuals' vaccination status to inform testi ng,
        contact tracing efforts, a nd qua ra nti ne/isolation practices. It is recommend ed that fu l ly vaccinated
        people with no COVI D-19-like sym ptoms and no known exposu re should be exempted from routi ne
        screening testing progra ms. Vaccination i nformation s hould be obtained with a ppropriate safeguards
       to protect personal ly identifiable i nformation and H I PAA-sensitive i nformation from u nlawful release.

        Sym ptom Screening
        Symptom screening wil l fai l to identify some people who have the virus that causes COVI D-19.


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        Sym ptom screening cannot identify people with COVI D-19 who are asym ptomatic (i .e., do not have
        symptoms) or pre-sym ptomatic (have not developed sig ns or sym ptoms yet but wi l l later). Othe rs
        might have symptoms that a re so m i ld that they might not notice them.

            • E ncou rage students, facu lty, and staff to perform daily hea lth screenings at home for
                infectious i l lnesses, i ncluding COVI D-19. Encourage students, facu lty, a nd staff with signs or
                sym ptoms of infectious i l l ness, including COVI D-19, to stay home when sick a nd/or seek
                medical care. A COVID-19 self-checker may be u sed to hel p decide when to seek COVI D-1 9
                testi ng o r medical care.
            • If sym ptom screening is conducted, ensure that sym ptom screening is done safely,
                respectfu l ly, and i n accord ance with a ny applicable federal or state p rivacy a nd confidentiality
                laws.




                                     Communicati ng P revention Strategies
            • Desig n ate staff member(s) or a specific office to be official ly responsible for replying to
                COVI D-1 9 concerns. When students, faculty, or staff develop symptoms of COVI D-19, test
                positive for COVI D-19, or a re exposed to someone with COVID-19, they shou ld report to the
                I H E designated staff or office.

            • Post sig ns i n highly visi ble locations (such as b u i ld i ng e ntra nces, restrooms, and d ining a reas)
                and commu nicate with students, facu lty, and staff via email a nd socia l medi a about preventio n
                strategies, such as getti ng a COVI D-19 vaccine, consistent a nd correct u s e o f masks, physical
                distanci ng, handwashi ng (or use of hand sanitizer), covering their mouths a nd noses with a
                tissue or use the inside of their elbow or mask if they coug h or sneeze. Signs s hould i nclude
                visual cues. U se CDC's pri nt com m u nication mate rials developed to su pport COVI D-1 9
                recommendations. Materials a re available in m u ltiple l a ng u ages and free for download and
                may be pri nted on a standard office p rinter.
            • Use s i m ple, clear, and effective la nguage (for exam ple, i n videos) about behaviors that reduce
                the spread of COVI D-19 when com mu nicating with students, facu lty, a nd staff (such as o n I H E
                websites, i n emails, and o n I H E social media accounts).
            • Students, facu lty, a nd staff should attend a virtua l training on a l l campus prevention strategies,
                policies, and procedu res. This type of traini ng can be u seful for i ncoming students who were
                not in attenda nce d u ring the p revious academic yea r.
            • Use comm u nication methods that a re accessible for a l l students, facu lty, staff, and other
                essentia l visitors (such as pare nts o r gua rd ia ns) . E nsure materials can accom modate d iverse
                a udiences, such as people who have limited English proficiency (LE P) and people with


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               disabi l ities. Partnerships to provide public service a n nouncements (PSA) might be usefu l, such
               as The Corporation for P u blic Broadcasting (C P B) PSA to Houston-based tri ba l and Historically
                Black Colleges and Universities.               o    The CPB       o    campaig n i s expected to provide trusted,
               l ife-savi ng i nformation to popu lations that have been disproportionately affected by the
               pandemic. 9



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        Sectio n 4: Genera l Considerations for Al l I H Es
       This section i s i ntended for a l l l H Es rega rd less of policy on COVI D -19 vaccination. The considerations
       incl uded here wi l l help I H Es to p revent a ny infectious i l l ness tra nsmission a mong students, facu lty,
       staff, and visitors.


        Clea n i ng, I mprovi ng Venti lation, a nd M a i nta i n i ng Hea lthy
        Faci l ities
       When to Clean
       C leaning with products containing soap o r detergent red uces germs o n s u rfaces and objects by
        removing conta m i nants and may wea ken or damage some of the vi rus particles, which decreases risk
       of i nfectio n from su rfaces.

       C leaning high touch su rfaces and sha red o bjects once a day is usually enough to sufficiently remove
       vi rus that may be on su rfaces u n less someone with confirmed or suspected COVI D-19 has been i n
       you r facility. Disi nfecti ng (using disi nfectants o n U . S . E nvironmenta l P rotection Agency [E PA]'s List D          l
        removes any remaining germs on su rfaces, which fu rther reduces any risk of spread ing infection. For
        more i nformation on cleaning you r facility regularly a nd cleaning you r faci lity when someone i s sick,
        see Clea n i ng and D isinfecti ng You r Facility.

       When to Disi nfect
       You may want to either clean more frequently or choose to disi nfect (in addition to cleani ng) i n
        shared spaces i f certain conditions apply that ca n increase the risk of i nfection from touching su rfaces,
        such as:

           • High transmission of COVI D-19 i n you r community
           • I nfrequent hand hygiene
           • The space is occupied by people at increased risk for severe i l l ness from COVID-19

        If there has been a sick person or someone who tested positive for COVI D-19 i n you r facility within the


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        last 24 hou rs, you should clean A N D disi nfect the space.

        Use Disi nfectants Safely
        Always read a nd fol low the d i rections o n how to u se a nd store clean i ng and disinfecti ng
        prod ucts. Venti late the space when using these products.

        Always follow standard practices and appropriate reg u l ations specific to you r facility for minimum
        standards for clean i ng and disinfection. For more i nformation on cleaning and disi nfecti ng,
        see Clea n i ng and Disi nfecting Your Facility.

        I m provi ng Venti lation
        Improvin g ventil ation is a n i m portant COVI D-19 prevention strategy for I H Es. Along with other
        preventive strategies, protective venti l ation practices a nd i nterventions can red uce the airborne
        concentration of viral particles and reduce the overall vira l dose to occu pants. For more specific
        i nformatio n a bout maintenance and u se of venti lation equ i pment a nd other ventilation
        considerations, refer to CDC's Venti lation in Buildings webpage. C DC's Ventilation FAQs and
       Improvi ng Ventilation in Your Home webpage further describe actions to i mprove ventilatio n .
       Additional ventilation recommendations for different types of I H E buildings can b e found i n the
       America n Society of Heati ng, Refrigerating, and Air-Condition i ng Engi neers (ASH RAE) schools and
        un iversities guidance document                □ □.

        Food Service and Communal Dining
        C u rrently, there is no evidence to suggest that COVI D-19 is spread by handling or eating food.
        However, consuming refreshme nts, snacks, a nd meals with persons not from the same household
        may i ncrease the risk of getti n g and spreading COVI D-19 a mong people who a re not fu lly vacci nated
        because masks a re removed when eati ng or drinki ng.

           • Promote p revention measures. Require staff and volu nteers to wash their hands and
                encourage diners to wash their hand or use a n alcohol-based hand sanitizer (before a nd after
                serving or eati ng). In i ndoor d i n i ng areas, people who are not fu lly vacci nated should wear a
                mask when not actively eating or drinking and physically distance.
           • I ncrease a i rflow and venti lation. P rioritize outdoor dining and i m proved venti lation i n
                i ndoor d i n i ng spaces.
           • Avoid crowd ing. Particularly i n a reas with su bstantial to high levels of community
               transmission, red uce seati ng capacity, use markers and g u ides to ensure that people remain at
               least 6 feet apart in a mixed campus when waiti ng in line to order or pick up. Stagger u se of
               d i ni ng a reas.
           • Consider offering to-go optio ns and serve i ndivid ually plated meals. If traditional self-serve
                stations are offered, C D C provides recommendations to reduce the risk of getting and


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                spread i ng COVI D-19.
           • Clea n regularly. For food contact su rfaces, conti nue following a l l routi ne req uirements for
                cleaning and sanitization. Non-food contact su rfaces should be c leaned at least daily. If
                someone with COVI D-19 has been in the faci l ity in the previous 24 hou rs, non-food contact
                surfaces s hou ld be disinfected. See C DC's Food a nd COVID-19 for more d etailed information.
                Food service operators can fi nd more detai led recommendations relevant to food service
                establishments in Considerations for Restaurant and Bar Operators and FAQs for I nstitutional
                Food Service Operators. For more i nformatio n on COVI D-19 ada pted community food serving
                and distri bution models, visit Safely Distributi ng School Meals d u ri ng COVI D-19.

        IHE admini strators can a lso refer to C DC's Guidance for School Nutritio n P rofessionals and Volu nteers
       for safe operations of food service and communal d i n i ng.

        Water Systems
       The temporary shutdown                or red uced operation of I H Es a nd reductions i n normal water use ca n create
        hazards for retu rni ng students, facu lty, a nd staff. C heck for hazards such as mold, Legionel!a (the
        bacteria that causes Legionnaire's Disease), and lead a nd copper conta mination □ from pl u m bi ng
       that has corroded.

           • For more i nformation, refer to the AS H RAE Guidance for Building Operations During the
                COVI D -19 Pandemic             □ □ , CDC Guidance for Reopeni ng Buildings After Prolonged
                Shutdown or Reduced Operation a nd the E nvironmental P rotection Agency's Information on
                Ma inta ining or Restoring Water Qu al ity in B u ildings with Low or No Use D

        Service Animals a nd Other Animals i n Campus Build i ngs
           • At this ti me, there is no evidence that animals play a significant role i n spreading SARS-CoV-2,
               the virus that causes C OVID-19, to people. We a re stil l learning a bout this virus, but we know
                that it can spread from people to animals in some situations, especia l ly d u ring close contact.
           • Refer to C DC's Guidance for Hand lers of Service a nd Therapy Animals a nd the American
                Veterinary Medical Association (AVMA) services, emotional support a nd therapy animals D
                page when making decisions a bout a l lowi ng therapy animals i n campus buildings on a case­
                by-case basis.


        Hea lth Equity
        Long-standing systemic health and social i nequities have put many racia l and ethnic minority groups
        at increased risk of getting sick a nd dyi ng from COVI D-19. American I ndian/Alaska N ative, B l ack, and
        H ispanic persons a re disproportionately affected by COVI D-19; these d ispa rities exi st among all age
       grou ps, including school -aged children a nd you ng adults. Beca use of these d ispa rities, i n - person
        instructio n on ca m puses might pose a g reater risk of COVI D-19 to disproportionately affected


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       popu lations. For these reasons, health eq u ity considerations related to i n- pe rson instruction a re an
       i nteg ral part of decision-making.

       Add ressing social and racial i nj u stice and i neq u ity is at the forefront of public health. Ad ministrators
       can help to protect people at increased risk for severe COVI D-19 and promote health equity by
       i mplementing the fol lowi ng strategies:

           • E ncou rage and su pport people to get vaccinated as soon as they can.
           • Offer options for accom modations, modifications, a nd assistance to students, facu lty, and staff
               at i ncreased risk for severe i l l ness that l imit their exposu re risk and allow for education and or
               work opportu nities (such as virtual learning, telework, and modified job responsibilities) to
                rema i n available to them.
           • P rovide inclusive prog ramming and make o ptions available for people with special healthca re
                needs and d isabi l ities that allow on-site or vi rtual pa rtici pation with appropriate
               accommod ations, mod ifications, and assistance (for example, people with disabi l ities may
                need add itional su pport to access and use technology for virtual learni ng).
           • P ut i n place pol icies to protect the privacy and health i nformation of a l l people, consistent with
                appl icable laws.
           • Train people at a l l levels of the organization to identify and add ress a l l forms of discri mination
               consistent with applicable laws and I H E pol icies.
           • Work with others to connect people with resou rces (for example, healthy foods and stable and
                safe housi ng) and services to meet their physical, spiritual, and mental health needs.
           • Identify students who might be experiencing homelessness or food insecurity, and identify
                resou rces □         and strateg ies to add ress these and othe r needs rel ated to COV I D -19.

        Su pport Coping and Resi lience
           • E ncou rage employees a nd students to take breaks from watchi ng, readi ng, or listening to
                news stories, including social med ia if they a re feel i ng overwhel med or distressed.
           • P romote employees and students to eat healthy, exercise, get sleep, and fi nd time to u nwind.
           • E ncou rage employees and students to ta l k with people they trust a bout their concerns and
                how they are feeling.
           • Communicate with facu lty, staff, and students a bout menta l health su pport services available
                at the I H E.
           • Offer a n employee assistance prog ram (EAP) through which facu lty and staff can get
                cou nseling.
           • Share facts about COVI D-19 regu l a rly with students, facu lty, and staff th roug h trusted sou rces
                of i nformation to cou nter the spread of misi nformation, red uce stig ma, and lessen fea r.


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           • Positive, pro-active messagi ng, education, and role- modeling i s e ncouraged . Consistent with
                applicable l aws and I H E pol icies, add ress negative behaviors that stig matize individ uals who
               test positive for or a re exposed to COVI D-19, i ncluding negative statements on socia l med ia,
                by p romoting positive messaging that does not discou rage vacci nation, prevention behaviors,
                and testi ng.
           • Consider posting signs for the national distress hotline: 1 -800-985-5990, or text Tal kWithUs to
                66746.
           • Ensure continu ity of mental health services, such as offering remote cou nseling.
           • Encou rage students, facu lty, a nd staff to cal l 911 or the N ationa l S uicide P revention Life l i ne at
                1 -800-273-TALK (1 -800-273-8255), 1 -888-628-9454 for S panish, or Lifeline C risis D                   if they
                a re feel i ng overwhel med with emotions like sadness, depression, a nxiety, or feel l i ke wanti ng
               to harm themselves or others.


        Considerations for Students, Facu lty, and Staff with Disa bi l ities
           • People with d isabil ities should be hig hly encou raged to get vaccinated and be fully i nteg rated
                i nto the most appropriate learning e nvironment with the proper accom modations.
           • Disability resou rce centers should review pol icies a nd procedu res to assess/qualify students for
                new accom modations, modifications, a nd assistance that might be needed due to changes i n
                response to the COVI D-19 pandemic.
           • Consider the individ u a lized approaches for COVI D-19 p reventio n that may be needed for
                some people with disabilities.
           • P rovide accom modations for people who might have d ifficu lty with mask use, such as some
                people with disabi l ities or certai n medical conditions. Allow exceptions in the I H Es mask use
                policy. People concerned a bout their ability to consistently a nd correctly use a mask s hould
               consult with their healthcare provider or I H E d i sability resource center, for suggested
                adaptations a nd alternatives.
           • Ensure education remains accessible for students with d isabi lities as p revention strategies to
                red uce cases of COVI D-1 9 a re implemented .
           • E ncou rage a l l students, faculty, and staff to d i scuss a ny accommodations they might need with
               the I H E 's disability resource center.


        Gatheri ngs, Events, a nd Visitors
       Crowded settings sti l l present a g reater risk of tra ns mission a mong people who have not been ful ly
       vaccinated, especially when they bring together people of u n known vaccinatio n status from d iffere nt
       communities where com munity transmission is su bsta ntial to high. People who a re not fu l ly vaccinated
       should conti nue to avoid l a rge gatheri ngs, but if they choose to attend, they should wear wel l -fitting



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       masks that cover the mouth and nose, maintai n physical distanci ng, and p ractice good hand hygiene.
       For mixed campus I H Es, i n - person instruction should be prioritized over extracurricular activities,
       including sports and school events, to mini mize risk of tra nsmission i n schools and to protect in­
       person learning. M ixed campus I H Es may consider limiting the size of gatherings to maintai n p hysical
       distance as an additiona l measure.


       Sports
       People who a re ful ly vaccinated no longer need to wea r a mask or p hysica l ly distance in a ny setting
       including while partici pati ng in sports. People who a re ful ly vaccinated can also refrain from
       qua ra ntine following a known exposure if asymptomatic, faci l itating conti n ued partici patio n in in­
       person learning a nd sports. Due to increased exhalation that occurs d u ri ng p hysical activity, many
       .s.pQ.t1s. put players, coaches, trainers, etc. who a re not fu l ly vaccinated at i ncreased risk for getti ng a nd
       spreading COVI D-19. Close contact and i ndoor sports a re particul a rly risky. 10

       I H Es should follow CDC Guidance for S ports as long as it does not confl ict with state, local, tri bal, or
       territorial requ i rements and guidance. I H E ad ministrators should a lso:

           • Offer a nd promote vaccination to a l l athletes, coaches, trainers, etc.
           • P rior to travel i ng, establish testi ng protocols for sport team members includ ing coaches a nd
               support staff who a re not fu l ly vacci nated . P hysical distanci ng can be d ifficult when flying or
               traveling by bus. Follow C DC guida nce for travel d u ri ng the COVI D-19 pandemic.
           • P rior to hosting large sporti ng events, establish policies for athletes, coaches, staff, and
               spectators.
           • Learn more a bout N CAA's recommendations to p rotect health and safety of col lege athletes
               from COVI D-19: https://www.ncaa.org/sport-science-institute/covid-19-coronavirus                         □

        Study Abroad a n d Travel
       I H Es planning study-abroad p rog rams should check C DC's desti nation-specific Travel Health N otices
       (TH N) for information a bout the COVI D-19 situation in the destination or host cou ntry D . I H Es should
       postpone prog rams i n desti n ations with very high COVI D-19 levels (Level 4 Travel Health N otice). I H Es
       shou l d h ave plans i n place to take action if situations i n the desti nation change and COVI D-19 level s
       become very high d u ring t h e p rog ram . I H Es may consider req u i ring vaccination as a condition o f a
       study-abroad prog ram.

        I H E s planning study-abroad prog ra ms should advise a nd strongly encourage students to

           • Get fu l ly vacci nated against COVI D-19 before traveling.
           • Follow C DC guida nce for i nternational travel .

                Follow general public hea lth considerations such as h andwashi ng, cleaning/disinfectio n and

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           •
                respiratory etiquette.


           Students may face u npred ictable circumstances accessi ng medical care if they get sick or inj u red
           in the i r host country. Routine healthcare and emergency medical services may be impacted by
           COVI D-19 at the destination.


        Study-abroad programs should ensure that students are aware of a nd fol low all a irline a nd destin ation
       entry requi rements, such as testi ng, vaccination, mask wearing and q u a ra ntine. They should be aware
       that if they d o not fol low the desti nation's requ i rements, they may be denied e ntry a nd req u i red to
       return to the U nited States. Programs and students should check with the Office of Foreign Affa irs or
       M i ni stry of H ea lth or the US Depa rtment of State. Bureau of Consular Affai rs. Cou ntry I nformation □
       page for desti n ation-specific entry requirements. Before studying abroad, prog rams and students
        should consider obtaining i nsura nce to cover health care and emergency evacuation while abroad.

       P rog ra m s should advise students who a re at increased risk for severe COVI D-19 to discuss a ny study
       abroad plans with their healthcare provider. For more i nformation and g u id ance on safety precautions
       for stud ents before, duri ng, and after travel, please visit C DC's Studyi ng Abroad webpage or C DC's
       Yellow Book section Study Abroad a nd Other I nternational Student Travel.


        I nternational Students
       I nternational students vaccinated outside of the Un ited States should refer to I nterim C l i nical
       Consideration s for Use of COVI D-19 Vaccines Curre ntly Authorized i n the Un ited States for the need
       for vacci nations u pon arrival in the United States.


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        Key Terms
       Campus: The g rounds and buildings of a u n iversity, col lege, or school (inclu ding com m u nity colleges
       and tech nical schools). The g rounds i nclude classrooms, li braries, outdoor and i ndoor common a reas,
       sports stadi u m s, auditori u ms, dorms and other housing, campus recreatio n centers, cafeterias, d i n i ng
       halls, etc.

       People who a re not fu l ly vaccinated: People who a re not fu lly vaccinated are individuals of all ages,
       i nclud i ng children, that have not completed a vaccination series to protect against COVI D-19.

        Fully vaccinated people/People who are fu l ly vaccinated: People a re considered fu lly vaccinated


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       for COVI D-19 � 2 weeks after they have received the second dose i n a 2 -dose series (Pfizer- BioNTech
       or M oderna), or �2 weeks after they have received a sing le-dose vaccine (Joh nson and Johnson
       [J &J]/J anssen) ± .

       tThi s g u id a nce a pplies t o COVI D-19 vaccines cu rrently a uthorized for emerg ency use by the U . S . Food
       and D ru g Ad ministration: Pfizer- BioNTech, M oderna, and Johnson and Johnson (J&J)/J anssen COV I D -
       19 vaccines. This g uidance c a n a l so be applied to COVI D-19 vaccines that have been a uthorized for
       emergency u se by the World Health Organization D D (e.g. AstraZeneca/Oxford).

        Mixed campus: A mixed cam pu s i ncludes people who have completed their COVI D-19 vaccination
        series and people who have not com pleted their vaccinatio n series to protect against COVI D-19.

        Fully vaccinated campus: I H Es where all students, faculty, and staff have completed
       their vacci n ation series to p rotect against COVI D-19 prior to returning to cam pus except those people
       who a re u nable to get the COVI D-19 vaccine due to medical or other reasons.




       Add itional Resources
           • Coronavi rus Disease 2 01 9 (COVI D-19) Pandemic
           • Resources for Colleges. U niversities and Higher Learning
           • Health Equity
           • Worker Safety a nd S upport
           • Communication Resources
           • CDC COVI D-19 Vaccination P rogram Provider Requirements and Support
           • G u idance for Businesses and E mployers Responding to Coronaviru s Disease 2019 (COVI D-19)
           • Workplace Vacci nation P rogra m
           • G u idance for U .S . Healthca re Facil ities a bout Coro navi rus (COVI D-19)
           • COVI D-19 Behaviors E ncouragi ng Protective Among College Students D
           • The Department of Education COVID-19 H a nd book Volu me 3 : Strategies for Safe Operatio n
               and Add ressing the I mpact of COVI D-19 on Higher Ed ucatio n Students, Faculty. and Staff) u
                D




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https://www.cdc.gov/coronavirus/20 1 9-ncov/community/colleges-universities/considerations.html[8/2/202 1 3 :30: 45 PM]
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    Previous Updates

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                                                                                                                         Last Updated July 23, 2021


        D   Community, Work, & School


         Vacc i nation


         Health Equ ity - P romoti ng Fair Access to Hea lth


         Clea n i ng , Disi nfecting, & Ventilation


         Workplaces & Busi nesses


         Schools & Child Care


    I    Col leges & Universities

             Considerations for I nstitutions of Higher Education

             Testing in I nstitutions of H igher Education


         Pa rks, Sports, & Recreation


         Com mu nity O rg a nizations & Gatherings


         R etirement & Shared Housing


         Homeless Populations


         Correctional & Detention Faci l ities




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         Tri bal Commu nities


         Guidance for COVI D-19


         Communication Resources


         What's New


         Archive




            □ Get Email U pdates
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       LANGUAGE ASSISTANCE

       Espanol

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       Tieng Viet

       □□□
       Tagalog

       PyccKv1f;i



       Kreyol Ayisyen

       Fran�ais

       Polski

       Portug ues

       Italiano



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       Deutsch

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